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                       Exhibit 1
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                                       #:318


 1     Michael J. Avenatti, Bar No. 206929
 2     AVENATTI & ASSOCIATES, APC                                       CONFOi1MEO COpy
                                                                           OAtGINAL FIL&D
       mavenatti@eoalaw.com                                           Su.,or/or CO\.Jrt of Callfornl
                                                                        ~filll'\+\! "'f I f'\t:l A."ClIilI~... ..
 3     520 NewpOli Center Drive, Suite 1400
       NewpOli Beach, CA 92660                                                 MAR 062018
 4     Tel:  (949) 706-7000                                                       .           \

       Fax: (949) 706-7050                                       Sharrl R, Carter, t:.(seuiilli ~tlICQl'/(;lerk
 5                                                                 9y: CltJJII9'tla Roillnsoa. Deputy
       Attorneys for Plaintiff Stephanie Clifford
 6     a.k.a. Stormy Daniels a.k.a. Peggy Peterson
 7

 8
                           SUPERIOR COURT OF THE STATE OF CALIFORNIA
 9
                                    FOR THE COUNTY OF LOS ANGELES
10

11     STEPHANIE CLIFFORD a.k.a. STORMY
       DANIELS a.k.a. PEGGY PETERSON, an
                                                          Case No.
                                                                                      C6 96 5 6 8
12     individual,
                                                          COMPLAINT FOR DECLARATORY
13
                     Plaintiff,                           RELIEF
14
                     vs.
15
       DONALD J. TRUMP a.k.a. DAVID DENNISON,
16     an individual, ESSENTIAL CONSULTANTS,
17     LLC, a Delaware Limited Liability Company, and
       DOES 1 through 10, inclusive
18
                      Defendants.
19

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                                                     COMPLAINT
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 1
               Plaintiff Stephanie Clifford a.k.a. Stormy Daniels a.k.a. Peggy Peterson ("Ms. Clifford" or
 2
       "Plaintiff') hereby alleges the following:
 3

 4
                                                    THE PARTIES
 5
               1.      Plaintiff Ms. Clifford, an individual, is a resident of the State of Texas.
 6
               2.      Defendant Donald J. Trump a.k.a. David Dennison ("Mr. Trump"), an individual, is a
 7
       resident of the District of Columbia (among other places).
 8
               3.      Defendant Essential Consultants, LLC ("EC") is a Delaware limited liability company
 9
       formed on October 17,2016.
10
               4.      Mr. Trump and EC together shall be referred to hereafter as "Defendants."
11
               5.      The true names and capacities of the defendants DOES 1 through 10, inclusive,
12
       whether individual, plural, corporate, partnership, associate or otherwise, are not known to Plaintiff,
13
       who therefore sues said defendants by such fictitious names. Plaintiff will seek leave of court to
14
       amend this Complaint to show the true names and capacities of defendants DOES 1 through 10,
15
       inclusive, when the same have been ascertained.
16
               6.      Plaintiff is also informed and believe and thereon alleges that DOES 1 to 10 were the
17
       agents, principals, and/or alter egos of Defendants, at all times herein relevant, and that they are
18
       therefore liable for the acts and omissions of Defendants.
19

20
                                           JURISDICTION AND VENUE
21
               7.      Jurisdiction for this matter properly lies with this Court because Plaintiff seeks
22
       declaratory relief.
23
               8.      Venue is appropriate in the County of Los Angeles, and this Court has personal
24
       jurisdiction over Defendants and each of them, by reason of the fact that, among other things, (a) the
25
       alleged agreement that is at issue in this Complaint was purportedly made and negotiated, at least in
26
       substantial part, in the County of Los Angeles, and (b) many of the events giving rise to this action
27
       arose in California, including within the County of Los Angeles.
28

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                                                      COMPLAINT
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 1
                                          FACTUAL BACKGROUND
 2
                9.    Ms. Clifford began an intimate relationship with Mr. Trump in the Summer of 2006 in
 3
     Lake Tahoe and continued her relationship with Mr. Trump well into the year 2007. This relationship
 4
     included, among other things, at least one "meeting" with Mr. Trump in a bungalow at the Beverly
 5
     Hills Hotel located within Los Angeles County.
 6
                10.   In 2015, Mr. Trump announced his candidacy for President of the United States.
 7
                11.   On July 19,2016, Mr. Trump secured the Republican Party nomination for President.
 8
                12.   On October 7, 2016, the Washington Post published a video, now infamously known as
 9
     the Access Hollywood Tape, depicting Mr. Trump making lewd remarks about women. In it, Mr.
10
     Trump described his attempt to seduce a married woman and how he may start kissing a woman that
11
     he and his companion were about to meet. He then added: "I don't even wait. And when you're a
12
     star, they let you do it, you can do anything ..."
13
                13.   Within days of the publication of the Access Hollywood Tape, several women came
14
     forward publicly to tell their personal stories about their sexual encounters with Mr. Trump.
15
                14.   Around this time, Ms. Clifford likewise sought to share details concerning her
16
     relationship and encounters with Mr. Trump with various media outlets.
17
                15.   As a result of Ms. Clifford's efforts aimed at publicly disclosing her story and her
18
     communications with various media outlets, Ms. Clifford's plans came to the attention of Mr. Trump
19
     and his campaign, including Mr. Michael Cohen, an attorney licensed in the State of New York. Mr.
20
     Cohen worked as the "top attorney" at the Trump Organization from 2007 until after the election and
21
     presently serves as Mr. Trump's personal attorney. He is also generally referred to as Mr. Trump's
22
     "fixer."
23
                16.   After discovering Ms. Clifford's plans, Mr. Trump, with the assistance of his attorney
24
     Mr. Cohen, aggressively sought to silence Ms. Clifford as part of an effort to avoid her telling the
25
     truth, thus helping to ensure he won the Presidential Election. Mr. Cohen subsequently prepared a
26
     draft non-disclosure agreement and presented it to Ms. Clifford and her attorney (the "Hush
27
     Agreement"). Ms. Clifford at the time was represented by counsel in California whose office is
28
     located in Beverly Hills, California within the County of Los Angeles.
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                                                   COMPLAINT
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 1
             17.    The paliies named in the Hush Agreement were Ms. Clifford, Mr. Trump, and Essential
 2
     Consultants LLC. As noted above, Essential Consultants LLC ("EC") was fOlmed on October 17,
 3
     2016, just weeks before the 2016 presidential election. On infOlmation and belief, EC was created by
 4
     Mr. Cohen with Mr. Trump's knowledge for one purpose - to hide the true source of funds to be used
 5
     to pay Ms. Clifford, thus further insulating Mr. Trump from later discovery and scrutiny.
 6
             18.    By design of Mr. Cohen, the Hush Agreement used aliases to refer to Ms. Clifford and
 7
     Mr. Trump. Specifically, Ms. Clifford was referred to by the alias "Peggy Peterson" or "PP." Mr.
 8
     Trump, on the other hand, was referred to by the alias "David Dennison" or "DD."
 9
             19.    Attached hereto as Exhibit 1 is a true and correct copy of the Hush Agreement, titled
10
     Confidential Settlement Agreement and Mutual Release; Assignment of Copyright and Non-
11
     Disparagment [sic] Agreement. Exhibit 1 is incorporated herein by this reference and made a part of
12
     this Complaint as if fully set forth herein.
13
             20.    Attached hereto as Exhibit 2 is a true and correct copy of the draft Side Letter
14
     Agreement, which was Exhibit A to the Hush Agreement. Exhibit 2 is incorporated herein by this
15
     reference and made a part of this Complaint as if fully set forth herein.
16
             21.    Importantly, the Hush Agreement imposed various conditions and obligations not only
17
     on Ms. Clifford, but also on Mr. Trump. The agreement also required the signature of all parties to the
18
     agreement, including that of Mr. Trump. Moreover, as is customary, it was widely understood at all
19
     times that unless all of the parties signed the documents as required, the Hush Agreement, together
20
     with all of its terms and conditions, was null and void.
21
             22.    On or about October 28,2016, only days before the election, two of the paliies signed
22
     the Hush Agreement - Ms. Clifford and Mr. Cohen (on behalf of EC). Mr. Trump, however, did not
23
     sign the agreement, thus rendering it legally null and void and of no consequence. On information and
24
     belief, despite having detailed knowledge of the Hush Agreement' and its terms, including the
25
     proposed payment of monies to Ms. Clifford and the routing of those monies through EC, Mr. Trump
26
     purposely did not sign the agreement so he could later, if need be, publicly disavow any knowledge of
27
     the Hush Agreement and Ms. Clifford.
28

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                                                    COMPLAINT
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 1
            23.    Despite Mr. Trump's failure to sign the Hush Agreement, Mr. Cohen proceeded to
 2
     cause $130,000.00 to be wired to the trust account of Ms. Clifford's attorney. He did so even though
 3
     there was no legal agreement and thus no written nondisclosure agreement whereby Ms. Clifford was
 4
     restricted from disclosing the truth about Mr. Trump.
 5
            24.    Mr. Trump was elected President of the United States on November 8, 2016.
 6
            25.     In January 2018, certain details of the draft Hush Agreement emerged in the news
 7
     media, including, among other things, the existence of the draft agreement, the parties to the draft
 8
     agreement, and the $130,000.00 payment provided for under the draft agreement. Also in January
 9
     2018, and concerned the truth would be disclosed, Mr. Cohen, through intimidation and coercive
10
     tactics, forced Ms. Clifford into signing a false statement wherein she stated that reports of her
11
     relationship with Mr. Trump were false.
12
            26.     On or about February 13, 2018, Mr. Cohen issued a public statement regarding Ms.
13
     Clifford, the existence of the Hush Agreement, and details concerning the Hush Agreement. He did so
14
     without any consent by Ms. Clifford, thus evidencing Mr. Cohen's apparent position (at least in that
15
     context) that no binding agreement was in place. Among other things, Mr. Cohen stated: "In a private
16
     transaction in 2016, I used my own personal funds to facilitate a payment of $130,000 to Ms.
17
     Stephanie Clifford. Neither the Trump Organization nor the Trump campaign was a party to the
18
     transaction with Ms. Clifford, and neither reimbursed me for the payment, either directly or
19
     indirectly." Mr. Cohen concluded his statement with lawyer speak: "Just because something isn't
20
     true doesn't mean that it can't cause you harm or damage.        I will always protect Mr. Trump."
21
     (emphasis added).
22
            27.    Importantly, at no time did Mr. Cohen claim Ms. Clifford did not have an intimate
23
     relationship with Mr. Trump. Indeed, were he to make such a statement, it would be patently false.
24
            28.    Because the agreement was never formed and/or is null and void, no contractual
25
     obligations were imposed on any of the parties to the agreement, including any obligations to keep
26
     information confidential. Moreover, to the extent any such obligations did exist, they were breached
27
     and/or excused by Mr. Cohen and his public statements to the media.
28

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                                                 COMPLAINT
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 1
               29.   To be clear, the attempts to intimidate Ms. Clifford into silence and "shut her up" in
 2
     order to "protect Mr. Trump" continue unabated. For example, only days ago on or about February
 3
     27, 2018, Mr. Trump's attorney Mr. Cohen surreptitiously initiated a bogus arbitration proceeding
 4
     against Ms. Clifford in Los Angeles. Remarkably, he did so without even providing Ms. Clifford with
 5
     notice of the proceeding and basic due process.
 6
               30.   Put simply, considerable steps have been taken by Mr. Cohen in the last week to
 7
     silence Ms. Clifford through the use of an improper and procedurally defective arbitration proceeding
 8
     hidden from public view.      The extent of Mr. Trump's involvement in these efforts is presently
 9
     unknown, but it strains credibility to conclude that Mr. Cohen is acting on his own accord without the
10
     express approval and knowledge of his client Mr. Trump.
11
               31.   Indeed, Rule 1.4 of New York Rules of Professional Conduct governing attorneys has
12
     required Mr. Cohen at all times to promptly communicate all material information relating to the
13
     matter to Mr. Trump, including but not limited to "any decision or circumstance with respect to which
14
     [Mr. Trump's] informed consent [was] required" and "material developments in the matter including
15
     settlement or plea offers." Moreover, this same Rule required Mr. Cohen at all times to "reasonably
16
     consult with [Mr. Trump] about the means by which [his] objectives are to be accomplished" and to
17
     "keep [Mr. Trump] reasonably informed about the status of the matter."
18
               32.   Accordingly, unless Mr. Cohen flagrantly violated his ethical obligations and the most
19
     basic rules governing his license to practice law (which is highly unlikely), there can be no doubt that
20
     Mr. Trump at all times has been fully aware of the negotiations with Ms. Clifford, the existence and
21
     terms of the Hush Agreement, the payment of the $130,000.00, the use of EC as a conduit, and the
22
     recent attempts-to intimidate and silence Ms. Clifford by way ofthe bogus arbitration proceeding.
23
               33.   Because there was never a valid agreement and thus, no agreement to arbitrate, any
24
     subsequent order obtained by Mr. Cohen and/or Mr. Trump in arbitration is of no consequence or
25
     effect.
26

27

28

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                                                  COMPLAINT
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 1
                                             FIRST CAUSE OF ACTION
 2
                                                  Declaratory Relief
 3
                                               (Against all Defendants)
 4
               34.     Plaintiff restates and re-alleges each and every allegation in Paragraphs 1 through 33
 5
       above as if fully set forth herein.
 6
               35.     This action concerns the legal significance, if any, of the documents attached hereto as
 7
       Exhibit 1, entitled Confidential Settlement Agreement and Mutual Release; Assignment of Copyright
 8
       and Non-Disparagment [sic] Agreement, and Exhibit 2, entitled Side Letter Agreement.
 9
               36.     California Code of Civil Procedure section 1060 authorizes declaratory relief for any
10
       person who desires a declaration of rights or duties with respect to one another. In cases of actual
11
       controversy relating to the legal rights and duties of the respective parties, such a person may seek a
12
       judicial declaration of his or her rights and duties relative to an instrument or contract, or alleged
13
       contract, including a determination of any question of construction or validity arising under the
14
       instrument or contract, or alleged contract. This includes a determination of whether a contract was
15
       ever formed.
16
               37.     An actual controversy exists between Plaintiff and Defendants as to their rights and
17
       duties to each other. Accordingly, a declaration is necessary and proper at this time.
18
               38.     Specifically, Plaintiff seeks an order of this Court declaring that the agreements in the
19
       forms set out in Exhibits 1 and 2 between Plaintiff and Defendants were never formed, and therefore
20
       do not exist, because, among other things, Mr. Trump never signed the agreements. Nor did Mr.
21
       Trump provide any other valid consideration.. He thus never assented to the duties, obligations, and
22
       conditions the agreements purportedly imposed upon him. Plaintiff contends that, as a result, she is
23
       not bound by any of the duties, obligations, or conditions set forth in Exhibits 1 and 2. Moreover, as a
24
       further result, there is no agreement to arbitrate between the parties.
25
               39.    In the alternative, Plaintiff seeks an order of this COUli declaring that the agreements in
26
       the forms set out in Exhibits 1 and 2 are invalid, unenforceable, and/or void under the doctrine of
27
       unconscionability.    Plaintiff contends that, as a result, she is not bound by any of the duties,
28

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                                                      COMPLAINT
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 1
       obligations, or conditions set forth in Exhibits 1 and 2. Moreover, as a further result, there is no
 2
       agreement to arbitrate between the parties.
 3
               40.    In the further alternative, Plaintiff seeks an order of this Court declaring that the
 4
       agreements in the forms set out in Exhibits 1 and 2 are invalid, unenforceable, and/or void because
 5
       they are illegal and/or violate public policy. Plaintiff contends that, as a result, she is not bound by
 6
       any ofthe duties, obligations, or conditions set forth in Exhibits 1 and 2. Moreover, as a further result,
 7
       there is no agreement to arbitrate between the parties.
 8
              41.     Defendants dispute these contentions.
 9
               42.    Accordingly, Ms. Clifford desires a judicial determination of her rights and duties with
10
       respect to the alleged agreements in the forms set out in Exhibits 1 and 2.
11

12
                                               PRAYER FOR RELIEF
13
              WHEREFORE, Plaintiff prays for judgment against Defendants, and each of them, declaring
14
       that no agreement was formed between the parties, or in the alternative, to the extent an agreement
15
       was formed, it is void, invalid, or otherwise unenforceable.
16

17
                                      ON THE FIRST CAUSE OF ACTION
18
               1.     For a judgment declaring that no agreement was formed between the parties, or in the
19
       alternative, to the extent an agreement was formed, it is void, invalid, or otherwise unenforceable.
20
              2.      For costs of suit; and
21
              3.      For such other and further relief as the Court may deem just and proper.
22

23
       ATED: March 6, 2018                           AVENATTI & ASSOCIATES, APC
24

25

26                                                   MICHAEL J. AVENATTI
27                                                   Attorneys for Plaintiff

28

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                                                     COMPLAINT
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                                     · Exhibit 1
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                      CONFIDENTUL SETTLEMENT AGREEMENT
                       AND MUTUAL RELEASE; ASSIGNMENT OF
                        COPYRIGHT AND NON-DISPARAGMENT
                                  AGREEMENT

         1.0    THE PARTIES

         1.1     This Settlement Agreement and Mutual Release (hereinafter, this "Agreement") is
 made and deemed effective as of the L {.( day of October, 2016, by and between "EC,
 LLC" and/or DAVID DENNISON,~n the one part, and PEGGY PETERSON, (PP), on
 the other part. ("Ee, LLC," "DD" and "PP" are pseudonyms whose true identity "Will be
 aclmowledged in !l Side Letter Agreement attached hereto as "EXHIBIT A") This Agreement is
 entered into with reference to the facts and circumstances contained in the following recitals.

         2.0    RECITALS

         2.1    Prior to entering into this Agreement, PP came into possession of certain
 "Confidential Infonnation" pertaining to DD, as more fully defmed below, only some ofwhich is
 in tangible fonn, which includes, but is not limited to information, certain still images and/or text
 messages which were authored by or relate to DD (collectively the "Property", each as more
 fully defined below but which all are included and attached hereto as Exhibit "1" to the Side
 Letter Agreement).

         2.2    (a)     PP claims that she has been damaged by DD's alleged actions against her,
 including but not limited to tort claims proximately causing injury to her person and other related
 claims. DD denies all such claims. (Hereinafter 'IPP Claims").

                 (b)    DD claims that he has been damaged by PP's alleged actions against him,
 including but not limited to the alleged threatened selling, transferring, licensing, publicly
 disseminating and/or exploiting the Images and/or Property and/or other Confidential
 Infonnation relating to DD, all without the knowledge, consent or authorization ofDD. PP
 denies all such claims. (Hereinafter "DD Claims").

                (c)     The PP Claims and the DD Claims are hereinafter collectively referred to
 as "The Released Claims."
         2.3     DD desires to acquire, and PP desires to sell, transfer and tum-over to DD, any
 and all tangible copies of the Property and any and all physical and intellectual property rights in
 and to all ofthe Property. As a condition ofDD releasing any claims against PP related to this
 matter, PP agrees to sell and transfer to DD all and each of her rights in and to such Property. PP
 agrees to deliver each and every existing copy of all tangible Property to DD (and permanently
 delete any electronic copies that can not be transferred), and agrees that she shall not possess, nor
 directly nor indirectly disclose convey, transfer or assign Property or any Confidential
 Infonnation to any Third Party, as more fully provided herein.

         2.4    It is the intention of the Parties that Confidential Information, as defined herein,
 shall remain confidential as expressly provided hereinbelow. The Parties expressly
 acknowledge, agree and understand that the Confidentiality provisions herein and the


                                               Page 0                                             ~
                                                                                                       DD
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  representations and warranties made by PP herein and the execution by her ofthe Assignment &
  Transfer ofCopyright are at the essence ofthis Settlement Agreement and are a material
  inducement to DD's entry into this Agreement, absent which DD would not enter into this
  Agreement. DD expects and requires that PP never communicate with him or his family for any
  reason whatsoever.
            2.5     The Parties wish to avoid the time, expense, and inconvenience ofpotential
   litigation, and to resolve any and all disputes and potential legal claims which exist or may exist
   between them, as of the date of this Agreement including but not limited to the PP Claims and/or
   the DD Claims. The Parties agree that the claims released include but are not limited to DD's
   Claims against PP as relates to PP having allowed, whether intentionally, unintentionally or
   negligently, anyone else other than those listed in section 4.2 herein below to become aware of
   the existence of and content ofthe Property, to have gained possession of the Property, and to
   PP's having allegedly engaged in efforts to disclose, disseminate and/or commercially exploit the
   Images and/or Property and/or Confidential Information, and any harm suffered by DD
   therefrom. The Parties agree that the claims released include but are not limited to PP's Claims
   against DD as relates to DD having allowed, whether intentionally, unintentionally or
   negligently, anyone else to have interfered with PP's right to privacy or any other right that PP
   may possess.

           2.6    These Recitals are essential, integral and material terms ofthis Agreement, and
   this Agreement shall be construed with respect thereto. The Parties enter into this Agreement in
   consideration of the promises, covenants and conditions set forth herein, and for good and
   valuable consideration, the receipt of which is hereby acknOWledged. It is an essential element of
   this Settlement Agreement that the Parties shall never directly or indirectly communicate with
   each other or attempt to contact their respective families. This matter, the existence of this
   Settlement Agreement and its terms are strictly confidential.
           NOW, THEREFORE, the Parties adopt the foregoing recitals as a statement oftheir
   intent and in consideration of the promises and covenants contained herein, and further agree as
   follows;




  III



   III



  III




                                                Pag<; 1
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       3.0     SETTLEMEl"'IT TERMS

             3.0.1.1 Be, LLC SHALL FAY TO PP $130,000.00 U.S.D. AS FOLLOWS:

                3.0.1.1.1   $130,000.00 USD shall be wired into PP's Attorney's Attorney Client
                            Trust Account on or before 1600 hrs. PST on 1O/27/16.(Hereinafter
                            "Gross Settlement Amount"). PP's Attorney's Wiring Instructions are:

                            Bank Name:                      City National Bank
                            Bank Address:                   8641 Wilshire Blvd.
                                                            Beverly Hills, CA 90211
                            ABA Routing No:                 122016066
                            Beneficiary Account Name:       Keith M. Davidson & Associates,
                                                            PLC, Attorney Client Trust Account
                            Beneficiary AccolU1t No:         600106201
                            Beneficiary Address:             8383 Wilshire Blvd. Suite 510
                                                             Beverly Hills, CA 90211
                            SWIFT Code:                      CINA US6L


                3.0.1.1.2   Keith M. Davidson, Esq. shall receive the Gross Settlement Amount in
                            Trust. No portion of the Gross Settlement Amount shall be disbursed
                            by Attorney for PP unless and until PP executes all required
                            Settlement Documents.

       3.1      Undertalcings & Obligations by PP. PP will do each of the following by 11/01/16:

                (a)     PP shall execute this Agreement and return a signed copy to DD:

               (b)     PP shall transfer and!or assign any and all rights in and to the Property to
DD (as set forth hereinbelow), and execute an Assignment & Transfer of Copyright, in the form
attached hereto, and return a signed copy of same to DD's counsel~

                (c)    PP shall deliver to DD every existing copy of all tangible Property. PP
shall completely divest herself of any and all artistic media, impressions, paintings, video
images, still images, e-mail messages, text messages, Instagram message, facebook posting or
any other type of creation by DD. PP shall transfer all physical, ownership and intellectual
property rights to DD;

                                    (1)    PP shall deliver to DD any and all non-privileged
correspondence concerning or related to DD between PP and any 3rd party.

                (d)     PP shall not, at any time from the date of this Agreement forward, directly
or indirectly disclose or disseminate any of the Property or any Confidential Information
(including confirmation of the fact that it exists or ever existed, and/or confIrming any rumors as
to any such existence) to any third party, as more fully provided herein.

               (e)     PP shall provide to DD (to the extent not already done so and set forth in
paragraph 4.2 hereinbelow), sununary details disclosing to whom PP (or anyone else on PP's
be ali) disclosed, displayed to, disseminated, transferred to, provided a copy to, and/or

                                              Page 2                                             ~
                                                                                                   DD
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       distributed, sold, licensed or otherwise sought to have commeroiallyexploit, the Images and/or
       Property and/or any Confidential Information.

                      (f)    PP shall provide to DD's counsel the names and contact information of
       each an~ any perso~s ~r entities who: (1) PP has provided to or who otherwise obtained
       pOSsessIOn ofthe ongmal and/or any copies of any ofthe Images and/or any Property, ifany, (li)
       to whom PP has scanned the ~ages and/or any Property at any time, and (ill) to whom PP
       knows ~ad, ~as or ~y potentially have possession of a copy ofthe Images and/or any Property
       at any time, mclu~g ~ut not limited to the present time (and specify with detail to which ofthe
       referenced categohes (I.e., possession, shown, past; present, etc.) any name corresponds, the
       name so relates).

                  . \g) ,PP shallpfovide to DD's counse,t copies of any agreements andlor other
       do~umentation m PP s possesslOn, custody or control, lfany, :regarding (e) and/or (t) above, that
       eVIdences who has or may have been provided a copy of any ofthe Property.

                 3.2 . Transfer of Property Rights to DD. In further consideration for the promises,
       covenants and consideration herein, PP hereby transfers and conveys to DO all ofPP;s
       respective rights, title and interest in and to the Property, and any and all physical and intellectual
       property rights related thereto. Without limiting the generality ofthe foregoing, PP does hereby
       sell, assign, and transfer to DD. his successors and assigns, throughout the universe in perpetuity,
       all ofPP's entire right, title, and interest (including, without limitation, all copyrights and all
       extensions and renewals of copyrights), ofwhatever kind or nature in and to the Property,
       without reservation, condition or limitation, whether or not such rights are now known,
       recognized or contemplated, and the complete, unconditional and unencumbered ownership and
       all possessory interest and rights in and to the Property; which includes, but is not limited to the
       originals, copies, negatives, prints; positive, proof sheets, CD-roms, DVD-roms, duplicates,
       outtake and the results of any other means of exhibiting, reproducing, storing, recording and/or
       archiving any of the Property or related material, together with all rights of action and claims for
       damages and benefits arising because of any infringement ofthe ~opyright to the Property, and
       assigns and releases to DD any and all other proprietary rights and usage rights PP may own or
       hold in the copyright and/or Property, or any other right in or to the Property. PP assigns and
       transfers to DD all of the rights herein granted, without reservation, condition or limitation, and
       agrees that PP reserves no right of any kind, nature or description related to the Property and
       contents therein. Notwithstanding the foregoing, if any of the rights herein granted are subject to
       termination under section 203 of the Copyright Act, or any similar pr:ovisions ofthe Act or
       subsequent amendments thereof, PP hereby agrees to re-grant such rights to DD immediately
       upon such termination, All rights granted herein or agreed to be granted hereunder shall vest in
       DD immediately and shall remain vested in perpetuity. DD shall have the right to freely assign,
       sell, transfer or destroy the Property as he desires. DD shall have the right to register sale
       copyright in and to any ofthe Property with the US Copyright Office. DD shall also have the
       right, in respect to the Property, to add to, subtract from, change, arrange, revise; adapt, into any
       and all fonn of expression or tangible communication, and the right to combine any ofthe
       Property with any other works ofany kind and/or to create derivative works with any of~e
       Property, and to do with it as she so deems. To the fullest extent allowable under the applicable
       law, PP shall irrevocably waive and assign to DD any ofPP's so-called "moral rights" or ':dr?it
       moral" (laws for the protection of copyrights outside ofthe United States), if any, or any s~
       rights under any principles of law which PP may now have or later have in the Property. With
   .    es
       r o w .  •. and In furtherance ofthe above, PP agrees to and shan execute and deliver to DD an
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   "Assignment & Transfer of Copyrighf', in the form attached hereto as Exhl'bit "B". For greater
   certainty the foregoing assignment shall be applicable worldwide.

                  3.2.1 Notwithstanding the foregoing paragraph 3.2, and without in anyway
   limiting or diminishing from the full transfer and assignment of rights therein without
   reservation, the Parties understand the purpose of the transfer of rights is to provide DD the
   fullest possible ability and remedies to prevent and protect against any publication and/or
   dissemination ofthe Property.

             3.3     Delivery ofthe Property to DD. ConcU11'ently upon execution of this Agreement,
   PP, as applicable, shall deliver to DD, by delivery to his counsel herein, aU of the Property which
   is embodied in tangible fonn (all originals and duplicates), whether documents, canvasses, paper
    art, digital copies, letters, prints, electronic data, films, tapes, CD-Roms, DVD-Roms, Images
   recording tapes, photographs, negatives, originals, duplicates, contact sheets, audio recordings,
   Images recordings, magnetic data, computerized data, digital recordings, or other recorded
   medium or any other format of embodying information or data. Without limiting the generality
   ofthe foregoing, such tangible Property shall include all documents as dermed by California
   Evidence Code §250 which contain any of the Property. PP represents and warrants that the
   materials delivered pursuant to the terms ofthis Paragraph 3.3 comprise the totality of all
   existing originals and duplicates of all Property in any tangible fo:nn, whether within their
   possession, custody or control.; and including othelWise (and that PP knows ofno other copies or
   possible or potential copies not in PP's possession and control and delivered pursuant to this
   paragraph), and that upon such delivery to DD, PP shall not maintain possession, custody or
   control of any copy of all or any portion of any tangible Property. The Property Delivered under
   this Paragraph shall become Exhibit I to the Side Letter Agreement. For avoidance of any doubt,
   PP, nor her attorney are entitled to retain possession of saidProperty after execution of this
   Agreement. The retention of said Property by PP is a material breach ofthis agreement.

                   3.3.1 This Agreement i$ conditioned on PP's compliance with each and every
   tenn of the Settlement Agreement including Paragraph 3.3 and the personal verification by DD
   or his attorney of the Images and that the Images are comprised of and captures the content
   previously represented to his counsel to exist and be captured therein (i.e., text messages
   between PP and DD), all ofwhich terms are essential and material.

          4.0     CONFIDENTIALITY & REPRESENTATIONS & WARRANTIES.

          4.1     Definition of Confidential Information. "Confidential Information" means and
   includes each and all ofthe following:

      .           (a)      All intangible information pertaining to DD andlor his family, (including
   but not limited to his children or any alleged children or any ofhis alleged sexual partners,
   alleged sexual actions or alleged sexual conduct or related matters ),and/or friends learned,
   obtained, or acquired by PP, including without limitation information contained in letters, e-
   mails, text messages, agreements, documents, audio or Images recordings, electronic data, and
   photographs;            .

                  (b)    All intangible infomiation pertaining to the existence and content ofthe
   Property;


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                   (c)    AlL intangible private infonnation (i. e., information not generally available
   to andlor known by the general public) relating and/or pertaining to DD, including without
   limitation OD's business information, familial infonnation, any of ills alleged sexual partners,
   alleged sexual actions or alleged sexual conduct, related matters or paternity information, legal
   matters, contractual information, personal information, private social life, lifestyle, private
   conduct, (all information/items in 4.1 "(a)", 'I(b)" and "(c)" are sometimes collectively referred
   to as, «Intangible Confidential Information");

                    (d)      All tangible materials of any kind containing information pertaining to DD
   learned, obtained, participated or acquired by PP, including without limitation letters,
   agreements, documents, audio or Images recordings, electronic data, and photographs, canvas
   art, paper art, or art in any other form on any media. The Images and Photos and all
   information/items in 4.1 (d) are collectively referred to as, the "Property" and/or the ''Tangible
   Confidential Information");

           4.2     PP's Representations & Warranties Regarding Prior Disclosures ofTangible
   Confidential Information. PP represents and warrants that prior to entry into this Agreement, PP
   has directly or indirectly disclosed any Tangible anJor Intangible Confidential Infonnation (i.e"
   any ofthe Property), to any Third Party, including without limitation disclosure or indirect
   disclosure of the content of such Confidential Infonnation in tangible form, other than the
   following persons or entities to whom PP has made such prior disclosures (herein "PP Disclosed
   IndividualslEntities"):

          a)

          b)

          c)

          d)

          e)

          f)

          g)

          h)

          i)

          PP shall not be responsible for any subsequent public disclosure ofany of the
  Confidential Information (a) attributable directly to each ofthem; andlor (b) not disclosed
  hereinabove as a previously disclosed PP Disclosed IndividualslEntities, and any such disclosure
  shall be deemed a breach of this Agreement by PP. For greater clarity, PP must not induce,
  promote or actively inspire anyone to disclose Confidential Information.




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          4.3     Representations & Warranties and Agreements.

                   (a)   Representations & Warranties and Agrevments By DD. The following
   agreements, warranties and representations are made by DD as material inducements to PP to
   enter into this Agreement, and each Party acknowledges that shelhe is executing this Agreement
   in reliance thereon:

                  (b)      DD warrants and represents that, as relates to or in.connection with any of
   pp'g attempts to sell, exploit andlor disseminate the Property prior to the date of this Agreement,
   DD and his counsel will refrain (i) from pursuing any civil action againstPP, and/or (ii) absent a
   direct inquiry from law enforcement, from disclosing PP's name to the authorities.
   Notwithstanding the foregoing, if DD is informed that or should or if it is believed that either of
   PP has possession, custody andlor control of any of the Property after the date ofthis Agreement
   andlor transferred any copies to any Third Party, andlor it is believed that any ofPP, whether
   directly or indirectly, intends the release, use, display, dissemination, disclosure or exploitation,
   whether actual, threatened or rumored, of any for the Property, then DD and his counsel shall be
   entitled to, at DD's sole discretion, (i) contact the respective member ofPP, including with legal
   demands and related statements of liability and legal action, andlor (ii) advance a civil action
   against the respective member ofPP, and/or (iii) disclose any ofPP,s name to the authorities.
                               ,
                  4.3.2  Representations & War:ranties and Agreements By PP. The following
   agreements, warranties and representations are made by PP as material inducements to DD to
   enter into this Agreement, without which DD would not enter into this Agreement and without
   which DD would not agree to pay any monies whatsoever hereunder, and with the express
   acknoWledgment that DD is executing this Agreement in reliance on the agreements, warranties,
   and representations herein which are at the essence of this Agreement, including, the following;

                   (a)     PP agrees and warrants and represents that PP will permanently cease and
   desist from any efforts to andlor attempting to andlor engaging in andlor arranging the use,
   License, distribution, dissemination or sale of any of the Confidential Information and/or
   Property, including any Tangible and/or Intangible Confidential information created by or
   relating to DD;

                  (b)     PP agrees and warrants and represents that PP will permanently cease and
   desist from any posting or dissemination or display of the Confidential Information, Tangible
   and/or Intangible Confidential information created by or relating to DD andlor Property,
   including the Images (including, but not limited to, to any form media outlet, on any blog or
   posting board, on the Internet, or otherwise);

                   (c)     PP agrees and warrants and represents that PP will permanently cease and
   desist from using or disseminating or disclosing any information to any Third Persons (including,
   but not limited to, to any media outlet, on any blog or posting board, on the Internet, or
   otherwise) about any details of or as to the contents of the Confidential Information, Tangible
   and/or Intangible Confidential information created by or relating to DD and/or Property,
   including any Text Messages, and/or as to any other personal details of or about or pertaining to
   DD andlor his familyandlor friends and/or social interactions;

                  (d)     PP agrees and warrants and represents that PP will permanently cease and
   desist from and will not, at any time, make any use of or reference to the name, image or likeness

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   of DD many manner whatsoever, including without limitation; through any print or' electronio
   media of any kind or nature for any purpose, including, but not limited to, on any websites;

                   (e)    PP agrees and warrants and represents that any and all existing copies of
   the Images, Text Messages and any Property (other than as expressly specified in paragraphs 3.2
   and 3.3 herein) have been turned over and provided to counsel; and pp further warrants and
   represents that the only copy of the Images and Property that has ever existed, at any time, has
   been turned over to DD's counsel pursuant to this Agreement, and the Images and any Property
   has never been transferred to or existed in any other form, including not in electronic form, nor
   on any computer, or electronic device and other storage media;

                   (f)     PP warrants and represents that PP has not provided any copies, whether
   hard~copy or electronic copies, ofthe Property to anyone other than as specified in paragraph 4.2
   herein);

                  (g)     PP warrants and represents that the information PP is obligated to provide
   pursuant to the terms herein will be complete and truthful;

                   (h)    PP warrants and represents that PP has not omitted or withheld any
   information that PP is obligated to provide pursuant to the terms herein;

                  (i)    PP warrants and represents that PP has not contracted to earn and/or
   collect any monies as compensation from the sell, license andlor any other exploitation ofthe
   Images andlor any Property and/or any Confidential Information, Tangible and/or Intangible
   Confidential information created by or relating to DD nor any monies as compensation or an
   advance for any efforts to sell, license and/or any other exploitation of the Images and/or any
   Property andlor any Confidential Information or any Tangible and/or Intangible Confidential
   infonnation created by or relating to DD;

                   G)      PP warrants and represents that PP has not assigned nor transferred, either
   in whole or in part. any purported rights in or to the hnages andlor any Property to any other
   person or entity, other than to DD pursuant to this Agreement.
                   4.3.3 Agreement By PP Not to Disc10selUse Confidential Information. Tangible
    and/or Intangible Confidential information created by or relating to DD. As further material
   inducements for DD to enter into this Agreement, PP agrees, represents and warrants that she
   shall not directly or indirectly, verbally or otheIWise, publish, disseminate, disclose, post or cause
   to be published, disseminated, disclosed, or posted (herein "disclose"), any Confidential
   Information or Tangible andlor Intangible Confidential information created by or relating to DD
   to any person, group, finn or entity whatsoever, including, but not limited to, family members,
   friends, associates, journalists, media organizations, newspapers, magazines, publications,
   television or radio stations, publishers, databases, blogs, websites, posting boards, and any other
   enterprise involved in the print, wire or electronic media, including individuals working directly
   or indirectly for, or on behalfof, any ofsaid persons or entities ("Third Parties" and/or Third
   Party"). In no event shall PP be relieved of such party's confidentiality obligations herein by
   virtue of any breach or alleged breach of this Agreement. In no event shall any dispute in
   connection with this Agreement relieve PP ofher confidentiality obligations arising pursuant to
   this Agreement, and any disclosure of Confidential Information and/or Tangible and/or
  ' E l e Confidential infurmation created by or relating to DD in connection with any such

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   proceeding or dispute shall constitute a breach of this Agreement. PP shall use their best efforts
   to prevent the unauthorized disclosure of Confidential Information in connection with any such
   proceeding or dispute.

                    4.3.4 Any direct or indirect disclosure of Confidential Information or Tangible
   and/or Intangible Confidential information created by or relating to DD to any Third Party by PP
   and/or any ofher representatives, heirs, agents, children, family members, relatives, confidents,
   advisors, employees, attorneys, transferors, transferees, successors or assigns, and/or any friend
   ofany of PP (collectively "PF GrOUpH), after the date ofthis Agreement, shall be deemed a
   disclosure by PP in breach of the terms ofthis Agreement, entitling the non-breaching Party to
   all rights and remedies set forth herein.

                   4.3.5 PP separately and further warrants and represent that, prior to entering into
   this Agreement, that she has not written, published, caused to be published, or authorized the
   writing, publication, broadcast, transmission or public dissemination of any interview, article,
   essay, book, memoir, story, photograph, film, script, Images tape, biography, documentary,
   whether written, oral, digital or visual, whether fictionalized or not, about the opposing party to
   this Agreement or their family, whether truthful, laudatory, defamatory, disparaging, deprecating
   or neutral, which discloses any Confidential Information and/or which includes any description
   or depiction of any kind whatsoever whether fictionalized or not, about any party to this
   agreement or their respective family, other than as expressly disclosed by PP hereto in writing
   and as set forth herein in paragraph 4.2 above.

                 4.3.6 Agreement By PP Not to DiSJlarage DD. PP hereby irrevocably agrees
  and covenants that she shall not, directly or indirectly, publicly disparage DD, nor write, publish,
  cause to be published, or authorize, consult about or with or otherwise be involved in the writing,
  publication, broadcast, transmission or dissemination of any book, memoir, letter, story,
  photograph, film, script, Images, interview, article, essay, biography, diary, journal,
  documentary, or other written, oral, digital or visual account or description or depiction of any
  kind whatsoever whether fictionalized or not, about DD or his family, whether truthful,
  laudatory, defamatory, disparaging, deprecating or neutral pp further warrants and represents
  that PP has not and will not enter into any written or oral agreement with any third party
  purportedly requiring or obligating PP to do so. Fore greater clarity PP will never discuss with
  anyone the contents ofthis Settlement Agreement, nor will she voluntarily confirm the existence
  ofthis Settlement Agreement.

          4.4     Disclosure Of Confidential Information Is Prohibited: The Parties to this
  Agreement hereby recognize and agree that substantial effort and expense have been dedicated to
  limit the efforts of the press, other media, and the public to learn ofpersonal and business affairs
  involving DD. pp further acknowledges that any future disclosure of Confidential Information
  to any Third Party would constitute a serious and material breach of the terms ofthis Agreement,
  and shall constitute a breach of trust and confidence, invasion ofprivacy, and a misappropriation
  of exclusive property rights, and may also constitute fraud and deceit. Some of the Confidential
  Infonnation may also constitute and include proprietary business information and trade secrets
  which have independent economic value. The Parties hereto acknowledge that any unauthorized
  use, dissemination or disclosure of Confidential Information, or the fabrication and
  dissemination of false and/or misleading infonnation, about DD would result in irreparable

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  injury to him, and would be injurious to a reasonable person, and/or would constitute an
            violation of the right ofprivacy or publicity, and'or would be injurious to his business,
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   profession, person, family and/or career. The Parties acknowledge that substantial and valuable
   property rights and other proprietary interests in the exclusive possession, ownership and use of
   Confidential Information, and recognizes and acknowledges that such Confidential Infonnation
   is a proprietary, valuable, special and unique asset which belongs to DD and to which the PP has
   no claim of ownership or other interest.
                   4.4.1 Disclosures Permitted By PP. Notwithstanding the foregoing, PP shall
   only be permitted to disclose Confidential Infonnation to another person or entity only if
   compelled to do so by valid legal process, inclUding without limitation a subpoena duces tecum
   or similar legal compulsion, provided that PP shall not make any such disclosure unless PP has
   first provided 00 with notice of such order or legal process not less than ten (10) days in
   advance ofthe required date of disclosure pursuant to the Written Notice provisions set forth
   hereinbelow, providing DO with an opportunity to intervene and with full and complete
   cooperation should she choose to oppose such disclosure. PP agrees that if the valid legal process
   can be stopped by her consent or at her behest then PP shall agree to use best efforts to avoid the
   disclosure ofthe Confidential Infonnation.



           5.0    REMEDIES
            5.1    DO's Remedies for Breach of Agreement. Each breach or threatened breach (e.g.,
   conduct by PP reflecting that said person intends to breach the AgreemenO t including without
   limitation by breach of any representation or warranty, by failing to deliver to DD all tangible
   Property as required, by the disclosure or threatened disclosure of any Confidential Information
   to any Third Party by PP (herein "Prohibited Communication"), or otherwise, shall render PP
   liable to DD for any and all damages and injuries incurred as a result thereof; including but not
   limited to the iollowing,all of which rights and remedies shall be cumulative:

                  5.1.1 Disgorgement of Monies: In the event an Arbitrator determines there has
   been a breach or threatened breach of this Agreement by PP, PP shall be obligated to account to,
   and to disgorge and turn over to OD any and all monies, profits, or other consideration, or
   benefits, which PP, or anyone on PP's behalf or at PP's direction, directly or indirectly derive
   from any disclosure or exploitation of any ofthe Confidential Information; and
                  5.1.2 Liquidated Damages: PP agrees that any breach or violation of this
   Settlement Agreement by either ofPP individually or the PP Group by hislher/their unauthorized
   disclosure of any ofthe Confidential Information (as defined in paragraphs 4.l(a), (b), (c), and
   (d» to any Third Partyt and/or any unauthorized exploitation or prohibited use of the same,
   andlor by the breach of andlor by any false representations and warranties set forth in this
   Agreement, andlor any public disparagement of DD by PP (collectively, the "LD Breach
   Terms"), shall result in substantial damages and injury to DDt the precise amount ofwhich
   would be extremely difficult or impracticable to determine, even after the Parties have made a
   reasonable endeavor to estimate fair compensation for such potential losses and damages to DD.
   Therefore, in addition to disgorgement ofthe full amount of all monies or other consideration
   pursuant to paragraph 5.1.2, in the event an Arbitrator determines there has been a breach of the
   LD Breach Terms of this Agreement by PP individually or the PP Group, PP shall also be
   obligated to pay, and agree to pay to DD the sum of One-Million Dollars ($1,000,000.00 as a
   reasonable and fair amount of liquidated damages to compensate DD for any loss or damage

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   resulting from each breach1 it being understood that the Liquidated damages calculation is on a
   per item basis. The Parties agree that such sum bears a reasonable and proximate relationship to
   the actual damages which DD will or might suffer from each breach ofthe terms of this
   Agreement and that this amount is not a penalty. Alternatively, at DD's sole discretion1 DD may
   seek to recover actual damages proximately caused by each such breach, according to proof.
   Any other breaches not a LD Breach Terms shall be subject to a claim for actual damages
   according to proof; furthermore, any monies held in Trust by PP's Attorney shall be frozen and
   shall not be disbursed to PP until the Arbitrator finally resolves the allegation ofBreach.

                   5.1.3 Injunctive Relief. PP aclmowledges and agrees that any unauthorized
   disclosure to Third Parties of any Confidential Information will cause irreparable harm to DD,
   which damages and injuries will most likely not be measurable or susceptible to calculation. PP
   further acknOWledges and agrees that any breach or threatened breach ofthis Agreement due to
   the unauthorized disclosure or threatened disclosure by PP to Third Parties, of any Confidential
   Information shall entitle DD to immediately obtain, either from the Arbitrator and! or from any
   other court of competent jurisdiction, an ex parte issuance of a restraining order and preliminary
   injunction or other similar relief (herein "Injunctive Relief') without advance notice to any of
   PP, preventing the disclosure or any further disclosure of Confidential Information protected by
   the terms hereof, pending the decision of the Arbitrator or Court.. The Parties further
   acknowledge and agree that in connection with any such proceeding, any Party may obtain from
   the Court or Arbitrator on an ex parte application or noticed motion without opposition, an order
   sealing the file in any such proceeding, and the Parties stipulate to the factual and legal basis for
   issuance of an order sealing the file in any such proceedings. The rights and remedies set forth
   in this Injunctive Relief Section are without prejudice to any other rights or remedies, legal or
   equitable, that the Parties may have as a result of any breach of this Agreement.

            5.2     Dispute Resolution. In recognition ofthe mutual benefits to DD and PP of a
   voluntary system of alternative dispute resolution which involves bmding confidential arbitration
   ofall disputes which may arise between them, it is their intention and agreement that any and all
   claims or controversies arising between DD on the one hand, and PP on the other hand, shall be
   resolved by binding confidential Arbitration to the greatest extent permitted by law. Arbitration
   shall take place before JAMS ENDISPUTE ("JAMS") pursuant to JAMS Comprehensive
   Arbitration Rules and Procedures (including Interim Measures) ("JAMS Rules") and the law
   selected by DD, (such selection shall be limited to either, California, Nevada or Arizona), or
   before ACTION DISPUTE RESOLUTION SERVICES ("ADRS") pursuant to the ADRS Rules
   (including Interim Measures) and the law selected by DD (whichever the claimant elects upon
   filing an arbitration), in a the location selected by DD, and will be heard and decided by a sole,
   neutral arbitrator e'Arbitrator'~) selected either by agreement ofthe Parties, or if the Parties are
   unable to agree, then selected under the Rules ofthe selected arbitration service. The costs and
   fees associated with any Arbitrator and/or Arbitration service shall be split equally among the
   parties to any such dispute. The Parties shall have the right to conduct discovery in accordance
   with the California Code of Civil Procedure Section 1283.05 et. seq. or any similar provision
   existing in the jurisdiction selected by DD and the written discovery requests and results of
   discovery shall be deemed to constitute Confidential Infonnation. The Arbitrator shall have the
   right to impose all legal and equitable remedies that would be available to any Party before any
   governmental dispute resolution forum or court of competent jurisdiction, including without
   limitation temporary, preliminary and permanent injunctive relief, compensatory damages,
   liquidated damages, accounting, disgorgement, specific performance, attorneys fees and costs,

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   and punitive damages. It is understood and agreed that each of the Parties shall bear his/its own
   attorneys ~ fees; expert fees~ consulting fees; and other litigation costs (if any) ordinarily
   associated with legal proceedings taking place in a judicial forum, subject to the Arbitrator's
   reassessment in favor of the prevailing party to the extent permitted by law. Each of the Parties
   understands, acknowledges and agrees that by agreeing to arbitration as provided herein,
   each of the Parties is giving up any right that helshelit may have to a trial by judge or jury
   with regard to the matters which are required to be submitted to mandatory and binding
   Arbitration pursuant to the terms hereof. Each of the Parties further understands,
   acknowledges and agrees that there is no right to an appeal or a review of an Arbitrator's
   award as there would be a right of appeal or review of a judge or jury's decision.

           6.0    MUTUAL RELEASES

            6.1    Except for the rights and obligations ofthe Parties set forth in this Agreement,
   DD, for himself, and each ofhis representatives; agents, assigns, heirs; partners, companies,
   affiliated companies, employees, insurers and attorneys, absolutely and forever releases and
   discharges PP; individually, and all ofPP's heirs, and PP's attorneys, and each of them ("pp
   Releasees"), of and from any and all claims, demands; damages, debts, liabilities, aCCOlmts,
   reckonings, obligations; costs (including attomey's fees), expenses, liens, actions and causes of
   actions of every kind and nature whatsoever, whether known or unknown, from the beginning of
   time to the effective date ofthis Agreement, including without limitation any and all matters,
   facts, claims and/or defenses asserted or which could have been asserted in the Matter, or which
   could have been asserted in any other legal action or proceeding, except as may be provided
   herein (the "DD Released Claims").
            6.2    Except for the rights and obligations ofthe Parties set forth in this Agreement, PP,
   for herself, and her representatives, agents, assigns, heirs; partners, companies~ affiliated
   companies, employees, insurers and attorneys, absolutely and forever release and discharge DD,
   individually, and each ofhis representatives; agents; assigns, heirs, partners, companies,
   affiliated companies; subsidiaries, employees, attorneys, successors, insurers, and each ofthem
   ("DD Releasees"), of and from any and all claims, demands, damages, debts, liabilities~
   accounts, reckonings~ obligations, costs (including attorney's fees); expenses~ liens; actions and
   causes ofactions of every kind and nature whatsoever, whether known or unknown, from the
   beginning oftime to the date of this Agreement, including without limitation any and all matters,
   facts, claims and/or defenses asserted or which could have been asserted in the Action, or which
   could have been asserted in any other legal action or proceeding (the "PP Released Claims").,

         6.3    The subject matter referred to in paragraphs 6.1 and 6.2, above (i.e., the DD
  Released Claims and PP Released Claims), are collectively referred to as the "Released Matters."

          6.4   The Parties hereto, and each ofthem; hereby warrant, represent and agree that
  each ofthem is fully aware of §1542 of the Civil Code of the State of California; which provides
  as follows:

                 "A general release does not extend to claims which the creditor
                 does not know or suspect to exist in his favor at the time of
                 executing the release, which if known by him must have materially
                 affected his settlement with the debtor."


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    The Parties, and each of them, voluntarily waive the provisions of California Civll Code
    § 1542, and any other similar federal and state law as to any and all claims, demands,
    causes of action, or charges of every kind and nature whatsoever, whether known or
    unknown, suspected or unsuspected.

                        6.4.1     For avoidance of any doubt, by virtue of this Settlement and this
                        Settlement Agreement, the parties hereby waive any unknown claims
                        against each other individually, and each of their representatives, agents,
                        assigns, heirs, partners, companies, affiliated companies, subsidiaries,
                        employees, attorneys, successors, insurers, and each of them.

           6.5     Each ofllie Parties hereto acknowledges and agrees that this Agreement
   constitutes a settlement and compromise of claims and defenses in dispute, and shall not be
   construed in any fashion as an admission ofliability by any party hereto.

           7.0     CONFIDENTlAUTY OF TillS AGREEMENT

           7.1     The Parties, respectively, shall not to disclose the tenns of this Agreement, either
   directly or indirectly, to the media or to anyone else other than their respective attorneys and
   representatives and/or as may be required by law. PP may not comment or make any press
   releases or otherwise discuss the resolution of the subject of this Agreement.

           8.0    MISCELLANEOUS TERM,S

           8.1     Entire Agreement. This Agreement constitutes the entire agreement and
   understanding concerning the Released Matters hereof between the Parties hereto and supersedes
   any and all prior negotiations and proposed agreement and/or agreements, written and/or oral,
   between the Parties. Each ofthe Parties hereto aclmowledges that neither they, nor any other
   party, nor any agent or attorney of any other party has made any promise, representation, or
   warranty whatsoever, expressed or implied, written or oral, which is not contained herein,
   concerning the subject matter hereof, to induce it to execute this Agreement, and each oftbe
   Parties hereto acknowledges that shelhe has not executed this Agreement in reliance on any
   promise, representation, and/or warranty not contained herein. This Agreement shall be binding
   on and inure to the benefit of the Parties, the Releasees, and each of their respective successors
   and assigns and designees.

           8.2     DD's Election of either California. Nevada or ArlzonaLaw & Venue. This
   Agreement and any dispute or controversy relating to this Agreement, shall in all respects be
   construed, interpreted, enforced and governed by the laws ofthe State of Califamia, Arizona or
   Nevada at DD's election. Attorneys' Fees in the case of a Dispute. In the event of any dispute,
   action, proceeding or controversy regarding the existence, validity, interpretation, perfonnance,
   enforcement, claimed breach or threatened breach of this Agreement, the prevailing party in any
   resulting arbitration proceeding and/or cowt proceeding shall be entitled to recover as an element
   of such Party's costs of suit, and not as damages, all attorneys' fees, costs and expenses inclUTed
   or sustained by such prevailing Party in connection with such action, including, without
   limitation, legal fees and costs,




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           8.3     Attorney Fees and Costs in Fonnation of this Agreement. The Parties shall each
   bear their own costs, expert fees, attorneys' fees and other fees incurred in connection with the
   creation this Settlement Agreement.

           8.4     Waivers; Modification. This Agreement cannot be modified or changed except
   by written instrument signed by all of the Parties hereto. No waiver of any of the provisions of
   this Agreement shall be deemed to constitute a waiver of any other provision, whether or not
   similar, nor shall any waiver constitute a continuing waiver. No waiver shall be binding unless
   executed in writing by the party making the waiver.

           8.5      Seoue oiProvisions/SeverabilitylHea<lings. None of the Parties hereto shall be
   deemed to be the drafter ofthis Agreement, but it shall be deemed that this Agreement was
   jointly drafted by each of the Parties hereto. Should any provision ofthis Agreement be found to
   be ambiguous in any way, such ambiguity shall not be resolved by construing this Agreement in
   favor of or against any party herein, but rather construing the tenns ofthis Agreement as a whole
   according to their fair meaning. In the event that any provision hereof is deemed to be illegal or
   unenforceable, such a detennination shall not affect the validity or enforceability ofthe
   remaining provisions thereof, all of which shall remain in full force and effect. Notwithstanding
   the foregoing, if a provision is deemed to be illegal the Parties agree to waive any defense on
   said grounds. In the event that such any provision shall be deemed invalid due to its scope or
   breadth, such provision shall be deemed valid to the extent of the scope or breadth permitted by
    law. The captions appearing at the commencement of certain paragraphs herein are descriptive
    only and for convenience ofreference. Should there be any conflict between any such caption or
    heading and the paragraph at the caption of which it appears, the paragraph, and not such
    caption, shall control and govern.

           8.6     Advice of Counsel and Understanding ofthis Binding Agreement. Each ofthe
   Parties represents, acknowledges, and declares that shelhe has received the advice of legal
   counsel ofhis/her own choosing regarding the form, substance, and effect of this Agreement.
   Each ofthe Parties represents, acknowledges, and declares that she/he has carefully read this
   Agreement, knows and understands this Agreement's contents, and signs this Agreement freely,
   voluntarily, and without either coercion or duress. Each ofthe Parties represents and warrants
   that shelhe is fully competent to manage hislher business affairs, and that sheJhe has full power
   and authority to execute this Agreement, and to do any and all ofthe things reasonably required
   hereunder; and that this Agreement, when signed by all Parties, is a valid and binding agreement,
   enforceable in accordance with its tenus.

          8.7    Further Execution. In order to carry out the tenns and conditions of this
   Agreement, PP agrees to promptly execute, upon reasonable request, any and all documents and
   instruments necessary to effectuate the terms ofthis Agreement.

           8.8    Nonce Provi~ions. Any notice; demand or request that one Party desires, or is
   required to give (including service of any subpoe~ court pleadings, summons and/or
   complaint), to the other Party must be promptly communicated to the other Party by us.ing their
   respective contact information below, by both (i) e-mail or facsimile; and (li) telephone. Either
   Party may change his or her conta.ct information by notifying the other Party of said change(s)
   pursuant to the applicable terms herein.



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                 8.8.2 To PP. as follows:

                        c/o KEITH M. DAVIDSON, ESQ.
                        8383 Wilshire Boulevard, Suite 510
                        Beverly Hills, CA 90211
                        teL 323.658.5444
                        fax. 323-658-5444
                        e~mail: keith@KmdLaw.com

           8.9. This Agreement may be executed with one or more separate cmUlterparts. each of
   which, when so executed shall be deemed to be an original and, together shall constitute and be
   one and the same instrument. Any executed copies or signed counterparts of this Agreement, the
   Declaration. and any other documentation may be executed by scanned/printed pdf copies of
   signatures and/or facsimile signatures, which shall be deemed to have the same force and effect
   as if they were original signatures.

          IN WITNESS WHEREOF, by their signatures below, the Parties each have approved
   and executed this Agreement as ofthe effective date first set forth above.




   DATED:                   -',2016
                                                    DD


    DATED:   !J'd: ZK        ,2016
                                                                                   :\1"111111          .                -
                                                                        "'~.,.~.,:tJ/;,,,    ERICA JACKSON
                                                                       f ~(::,.a:;'{6.§ Notary PUbllc, Stota or Texos
                                                                       ,,~.                     ..::
                                                                              r~./ ...~ Com m. Expfres 01 ·04-2020
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                                                                          "11,,,,,\\\"     otary ID 130483626
    DATED:                   ,2016



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   DATED:   /1 ,  b II b
                    I
                           ,2016
                             --




   DATED: ~             -J;   2016        As to Fonn:




                                          Attorney for DD




   DATED:   10/28>         ,2016          As to Fonn:
              /



                                           ~P'~4Q.
                                          Attorney for_
                                                                     , aC
                                                ~"",,IAot... ~tJ<~N?'S




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                                        Exhibit 2
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                  EXHmIT "A~' TO THE CONFIDENTIAL
            SETTLEMENT AGREEMENT AND RELEASE;
             ASSIGNMENT OF COPYRIGHT AND NON-
                 DISPARAGMENT AGREEMENT

                           SIDE LETTER AGREEMENT

                              DATED /0              / d-~ /2016.
    To Whom It May Concern:

            This Side Letter agreement is entered into by and on behalf of the Parties with
    respect to the Confidential Settlement AgJ:eement and Mutual Release entered into by and
    between them on or about ·!?if ;). 27 ,2016 (II Settlement Agreement"), in which
    Stephanie Gregory Clifford a.k.a. Stor         " , is referred to by the pseudonym,
    "PEGGY PETERSON/' and                              is referred to by the pseudonym
    "DAVID DENNISON."

            It is understood and agreed that the true name and identity of the person referred
    to as " PEGGY PETERSON" in the Settlement Agreement is Stephanie Gregory Clifford
    a.k.a. Stormy Daniels and that any reference or designation to PEGGY PETERSON shall
    be deemed the same thing as referring to Stephanie Gregory Clifford a.k.a. Stormy
    Daniels by her true name as identified herein.

           It is understood and agreed that the true name and i d e _ f e r r e d
   to as !IDAVID DENNISON" in the Settlement Agreement is                         , and
   that any refere       d'   ! 1I . . , . DAVrD DENNISON shal be deemed the same thing
   as referring to                         by his true name as identified herein.

           It is understood and agreed that the
   as "Ee, LLC" in the Settlement Agreement is
   and that any reference or desi ation to EC L
   refeningto
   identified herem.

          It is further acknowledged and agreed by the parties that notwithstanding the
   provisions of Paragraph 7.1 of the Settlement Agreement (which provides that the
    Settlement Agreement constitutes the entire agreement between the Parties with respect
   to the matters herein and in supersedes all prior and contemporaneous oral and written
   agreements and discussions pertaining to the matters herein), this Side Letter agreement
   shall be deemed part of the agreement between the Parties. Accordingly, Paragraph 7.1 of
   the Settlement Agreement is hereby amended via supplanting to provide as follows:

                  "y.1.1 Integration. The Side Letter agreement entered
                  into by the Parties concurrently with their entry into this
                  Agreement shall be deemed prot of this Agreement. and
                  this Agreement and the Side Letter agreement together
                  constitute the entire agreement between the Parties with
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                      respect to the matters herein and supersedes all prior
                      and contemporaneous oral and written agreements and
                      discussions pertaining to the matters herein. fI

              For avoidance of doubt, it is further agreed that this Side Letter agreement shall
      constitute Confidential InfOrmation as defined in the Settlement Agreement, that neither
      this Side Letter agreement nor any portion hereof may be disclosed to anyone except as
      and to the extent expressly provided in the Settlement Agreement, and that any
      unauthorized disclosure or usc ofthis Side Letter agreement or any portion hereof shall
      constitute a material breach of the confidentiality provisions ofthe Settlement
      Agreement.

              It is further agreed that neitb                                s document, and that
      only Keith M. Davidson, Esq. AND                                       counsel for the parties
      herein), shall maintain possession of It or access to this S1de Letter agreement. FOR
      AVOllJANCE OF DOUBT, THE PARTIES HERETO AGREE AND CONFlRM THAT
      TIllS SIDE LETTER AGREEMENT IS DEEMED "ATTORNEY'S EYES ONLY."

             This Side Letter agreement may be executed in counterparts and when each Party
      has signed and delivered one such counterpart to the other Party, each counterpart shall
      be deemed an original, and all counterparts taken together shall constitute one and the
      same Agreement, which shall be binding and effective as to the Parties. The Agreement
      may be executed by facsimile or electronic PDF signatures, which shall have the same
      force and effect as if they were originals.




      PEG Y PETERSON a a. Stephanie Gregory                          ~,
                                                                               J
                                                                      i.~ /:7f~' Ill!
      Clifford a.k.s. Slonny Daniels
                                                                                  _,\\\'\~'~'q",                   ERICA JACKSON
                                                                                 ~ 1II..t-!, ••   !'9 :r;
                                                                                g~ •.•*,~~ Notarv PUblic. Stole 01 Texas
                                                                                ~",.                •   'II' ...
                                                                                ~'"         .... ~§ Comrn. Expires 01-04-20.20
                                                                                 ~'Y'~ ••• ;t.~~
                                                                                  "","?,~,\\\\"       Notary 10 13D483626

     DAVID DENNISON a.k.a.                        _                  date



                                                                     /OjpP6
                                                                     date



                                                                     lo/?A/;,L
                                                                     ~
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1    Michael J. Avenatti, Bar No. 206929
2    AVENATTI & ASSOCIATES, APC
     mavenatti@eoalaw.com
3    520 Newport Center Drive, Suite 1400
4    Newport Beach, CA 92660
     Tel: (949) 706-7000
5    Fax: (949) 706-7050
6
     Attorneys for Plaintiff Stephanie Clifford
7    a.k.a. Stormy Daniels a.k.a. Peggy Peterson
8

9

10
                           UNITED STATES DISTRICT COURT

11
                          CENTRAL DISTRICT OF CALIFORNIA

12
   STEPHANIE CLIFFORD a.k.a. STORMY Case No. 2:18-CV-02217-SJO-FFM
13 DANIELS a.k.a. PEGGY PETERSON, an

14
   individual,                       FIRST AMENDED COMPLAINT
                                     FOR:
15             Plaintiff,
16
                                     (1) DECLARATORY
               vs.                   RELIEF/JUDGMENT; AND
17

18
   DONALD J. TRUMP a.k.a. DAVID                    (2) DEFAMATION
   DENNISON, an individual, ESSENTIAL
19 CONSULTANTS, LLC, a Delaware                    DEMAND FOR JURY TRIAL
20
   Limited Liability Company, MICHAEL
   COHEN, an individual, and DOES 1
21 through 10, inclusive

22
                 Defendants.
23

24

25

26

27

28


                                   FIRST AMENDED COMPLAINT
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1
           Plaintiff Stephanie Clifford a.k.a. Stormy Daniels a.k.a. Peggy Peterson (“Ms.
2
     Clifford” or “Plaintiff”) hereby alleges the following:
3

4
                                            THE PARTIES
5
           1.       Plaintiff Ms. Clifford, an individual, is a resident of the State of Texas.
6
           2.       Defendant Donald J. Trump a.k.a. David Dennison (“Mr. Trump”), an
7
     individual, is a resident of the District of Columbia (among other places).
8
           3.       Defendant Essential Consultants, LLC (“EC”) is a Delaware limited
9
     liability company formed on October 17, 2016.
10
           4.       Defendant Michael Cohen (“Mr. Cohen”), an individual, is a resident of
11
     the State of New York.
12
           5.       Mr. Trump, EC, and Mr. Cohen together shall be referred to hereafter as
13
     “Defendants.”
14
           6.       The true names and capacities of the defendants DOES 1 through 10,
15
     inclusive, whether individual, plural, corporate, partnership, associate or otherwise, are
16
     not known to Plaintiff, who therefore sues said defendants by such fictitious names.
17
     Plaintiff will seek leave of court to amend this Complaint to show the true names and
18
     capacities of defendants DOES 1 through 10, inclusive, when the same have been
19
     ascertained.
20
           7.       Plaintiff is also informed and believe and thereon alleges that DOES 1 to
21
     10 were the agents, principals, and/or alter egos of Defendants, at all times herein
22
     relevant, and that they are therefore liable for the acts and omissions of Defendants.
23

24
                                   JURISDICTION AND VENUE
25
           8.       Pursuant to 28 U.S.C. § 1332, this Court has original jurisdiction over
26
     Plaintiff’s claims based on the parties’ diversity of citizenship and because the amount
27
     in controversy exceeds $75,000.
28

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1
           9.     Venue is appropriate in this judicial district pursuant to 28 U.S.C. § 1391,
2
     and this Court has personal jurisdiction over Defendants and each of them, by reason of
3
     the fact that, among other things, (a) the alleged agreement that is at issue in this
4
     Complaint was purportedly made and negotiated, at least in substantial part, in the
5
     County of Los Angeles, and (b) many of the events giving rise to this action arose in
6
     California, including within the County of Los Angeles.
7

8
                                  FACTUAL BACKGROUND
9
           10.    Ms. Clifford began an intimate relationship with Mr. Trump in the summer
10
     of 2006 in Lake Tahoe and continued her relationship with Mr. Trump well into the
11
     year 2007. This relationship included, among other things, at least one “meeting” with
12
     Mr. Trump in a bungalow at the Beverly Hills Hotel located within Los Angeles
13
     County.
14
           11.    In 2015, Mr. Trump announced his candidacy for President of the United
15
     States.
16
           12.    On July 19, 2016, Mr. Trump secured the Republican Party nomination for
17
     President.
18
           13.    On October 7, 2016, the Washington Post published a video, now
19
     infamously known as the Access Hollywood Tape, depicting Mr. Trump making lewd
20
     remarks about women. In it, Mr. Trump described his attempt to seduce a married
21
     woman and how he may start kissing a woman that he and his companion were about to
22
     meet. He then added: “I don’t even wait. And when you’re a star, they let you do it,
23
     you can do anything . . .”
24
           14.    Within days of the publication of the Access Hollywood Tape, several
25
     women came forward publicly to tell their personal stories about their sexual
26
     encounters with Mr. Trump.
27
           15.    Around this time, Ms. Clifford likewise sought to share details concerning
28
     her relationship and encounters with Mr. Trump with various media outlets.
                                               -2-
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1
           16.    As a result of Ms. Clifford’s efforts aimed at publicly disclosing her story
2
     and her communications with various media outlets, Ms. Clifford’s plans came to the
3
     attention of Mr. Trump and his campaign, including Mr. Michael Cohen, an attorney
4
     licensed in the State of New York. Mr. Cohen worked as the “top attorney” at the
5
     Trump Organization from 2007 until after the election and presently serves as Mr.
6
     Trump’s personal attorney. He is also generally referred to as Mr. Trump’s “fixer.”
7
           17.    After discovering Ms. Clifford’s plans, Mr. Trump, with the assistance of
8
     his attorney Mr. Cohen, aggressively sought to silence Ms. Clifford as part of an effort
9
     to avoid her telling the truth, thus helping to ensure he won the Presidential Election.
10
     Mr. Cohen subsequently prepared a draft non-disclosure agreement and presented it to
11
     Ms. Clifford and her attorney (the “Hush Agreement”). Ms. Clifford at the time was
12
     represented by counsel in California whose office is located in Beverly Hills, California
13
     within the County of Los Angeles.
14
           18.    The parties named in the Hush Agreement were Ms. Clifford, Mr. Trump,
15
     and Essential Consultants LLC. As noted above, Essential Consultants LLC (“EC”)
16
     was formed on October 17, 2016, just weeks before the 2016 presidential election. On
17
     information and belief, EC was created by Mr. Cohen with Mr. Trump’s knowledge for
18
     one purpose – to hide the true source of funds to be used to pay Ms. Clifford, thus
19
     further insulating Mr. Trump from later discovery and scrutiny.
20
           19.    By design of Mr. Cohen, the Hush Agreement used aliases to refer to Ms.
21
     Clifford and Mr. Trump. Specifically, Ms. Clifford was referred to by the alias “Peggy
22
     Peterson” or “PP.” Mr. Trump, on the other hand, was referred to by the alias “David
23
     Dennison” or “DD.”
24
           20.    Attached hereto as Exhibit 1 is a true and correct copy of the Hush
25
     Agreement, titled Confidential Settlement Agreement and Mutual Release; Assignment
26
     of Copyright and Non-Disparagment [sic] Agreement. Exhibit 1 is incorporated herein
27
     by this reference and made a part of this Complaint as if fully set forth herein.
28

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1
             21.     Attached hereto as Exhibit 2 is a true and correct copy of the draft Side
2
     Letter Agreement, which was Exhibit A to the Hush Agreement.                Exhibit 2 is
3
     incorporated herein by this reference and made a part of this Complaint as if fully set
4
     forth herein.
5
             22.     Importantly, the Hush Agreement imposed various conditions and
6
     obligations not only on Ms. Clifford, but also on Mr. Trump. The agreement also
7
     required the signature of all parties to the agreement, including that of Mr. Trump.
8
     Moreover, as is customary, it was widely understood at all times that unless all of the
9
     parties signed the documents as required, the Hush Agreement, together with all of its
10
     terms and conditions, was null and void.
11
             23.     On or about October 28, 2016, only days before the election, two of the
12
     parties signed the Hush Agreement - Ms. Clifford and Mr. Cohen (on behalf of EC).
13
     Mr. Trump, however, did not sign the agreement, thus rendering it legally null and void
14
     and of no consequence. On information and belief, despite having detailed knowledge
15
     of the Hush Agreement and its terms, including the proposed payment of monies to Ms.
16
     Clifford and the routing of those monies through EC, Mr. Trump purposely did not sign
17
     the agreement so he could later, if need be, publicly disavow any knowledge of the
18
     Hush Agreement and Ms. Clifford.
19
             24.     Despite Mr. Trump’s failure to sign the Hush Agreement, Mr. Cohen
20
     proceeded to cause $130,000.00 to be wired to the trust account of Ms. Clifford’s
21
     attorney. He did so even though there was no legal agreement and thus no written
22
     nondisclosure agreement whereby Ms. Clifford was restricted from disclosing the truth
23
     about Mr. Trump.
24
             25.     Mr. Trump was elected President of the United States on November 8,
25
     2016.
26
             26.     In January 2018, certain details of the draft Hush Agreement emerged in
27
     the news media, including, among other things, the existence of the draft agreement, the
28
     parties to the draft agreement, and the $130,000.00 payment provided for under the
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1
     draft agreement. Also in January 2018, and concerned the truth would be disclosed,
2
     Mr. Cohen, through intimidation and coercive tactics, forced Ms. Clifford into signing a
3
     false statement wherein she stated that reports of her relationship with Mr. Trump were
4
     false.
5
              27.   On or about February 13, 2018, Mr. Cohen issued a public statement
6
     regarding Ms. Clifford, the existence of the Hush Agreement, details concerning the
7
     Hush Agreement, and an attack on Ms. Clifford’s truthfulness. He did so without any
8
     consent by Ms. Clifford, thus evidencing Mr. Cohen’s apparent position (at least in that
9
     context) that no binding agreement was in place. Among other things, Mr. Cohen
10
     stated: “In a private transaction in 2016, I used my own personal funds to facilitate a
11
     payment of $130,000 to Ms. Stephanie Clifford. Neither the Trump Organization nor
12
     the Trump campaign was a party to the transaction with Ms. Clifford, and neither
13
     reimbursed me for the payment, either directly or indirectly.” Mr. Cohen concluded his
14
     statement by stating: “Just because something isn’t true doesn’t mean that it can’t
15
     cause you harm or damage. I will always protect Mr. Trump.” (emphasis added). This
16
     statement was made in writing by Mr. Cohen and released by Mr. Cohen to the media
17
     with the intent that it be widely disseminated and repeated throughout the United States.
18
     Attached hereto as Exhibit 3 is a true and correct copy of Mr. Cohen’s statement.
19
     Exhibit 3 is incorporated herein by this reference and made a part of this Complaint as
20
     if fully set forth herein.
21
              28.   Importantly, at no time did Mr. Cohen make a direct assertion that Ms.
22
     Clifford did not have an intimate relationship with Mr. Trump. Indeed, were he to
23
     make such a statement, it would be patently false. Mr. Cohen’s statement was not a
24
     mere statement of opinion, but rather has been reasonably understood to be a factual
25
     statement implying or insinuating that Ms. Clifford was not being truthful in claiming
26
     that she had an intimate relationship with Mr. Trump.
27
              29.   Because the agreement was never formed and/or is null and void, no
28
     contractual obligations were imposed on any of the parties to the agreement, including
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1
     any obligations to keep information confidential. Moreover, to the extent any such
2
     obligations did exist, they were breached and/or excused by Mr. Cohen and his public
3
     statements to the media.
4
           30.   To be clear, the attempts to intimidate Ms. Clifford into silence and “shut
5
     her up” in order to “protect Mr. Trump” continue unabated. For example, only days
6
     ago on or about February 27, 2018, Mr. Trump’s attorney Mr. Cohen surreptitiously
7
     initiated a bogus arbitration proceeding against Ms. Clifford in Los Angeles.
8
     Remarkably, he did so without even providing Ms. Clifford with notice of the
9
     proceeding and basic due process.
10
           31.   Put simply, considerable steps have been taken by Mr. Cohen in the last
11
     week to silence Ms. Clifford through the use of an improper and procedurally defective
12
     arbitration proceeding hidden from public view.          The extent of Mr. Trump’s
13
     involvement in these efforts is presently unknown, but it strains credibility to conclude
14
     that Mr. Cohen is acting on his own accord without the express approval and
15
     knowledge of his client Mr. Trump.
16
           32.   Indeed, Rule 1.4 of the New York Rules of Professional Conduct
17
     governing attorneys has required Mr. Cohen at all times to promptly communicate all
18
     material information relating to the matter to Mr. Trump, including but not limited to
19
     “any decision or circumstance with respect to which [Mr. Trump’s] informed consent
20
     [was] required” and “material developments in the matter including settlement or plea
21
     offers.” Moreover, this same Rule required Mr. Cohen at all times to “reasonably
22
     consult with [Mr. Trump] about the means by which [his] objectives are to be
23
     accomplished” and to “keep [Mr. Trump] reasonably informed about the status of the
24
     matter.”
25
           33.   Further, Rule 1.8(e) of the New York Rules of Professional Conduct
26
     provides that attorneys “shall not advance or guarantee financial assistance to the
27
     client[.]” Although the Rule provides for certain exceptions, such as permitting lawyers
28
     to pay court costs and expenses for indigent clients, plainly, none of these exceptions
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1
     apply to Mr. Cohen’s purported financial assistance of $130,000 on behalf of his client,
2
     Mr. Trump.
3
           34.    Accordingly, unless Mr. Cohen flagrantly violated his ethical obligations
4
     and the most basic rules governing his license to practice law (which is highly
5
     unlikely), there can be no doubt that Mr. Trump at all times has been fully aware of the
6
     negotiations with Ms. Clifford, the existence and terms of the Hush Agreement, the
7
     payment of the $130,000.00, the use of EC as a conduit, and the recent attempts to
8
     intimidate and silence Ms. Clifford by way of the bogus arbitration proceeding.
9
           35.    Because there was never a valid agreement and thus, no agreement to
10
     arbitrate, any subsequent order obtained by Mr. Cohen and/or Mr. Trump in arbitration
11
     is of no consequence or effect.
12

13
                                  FIRST CAUSE OF ACTION
14
                                  Declaratory Relief/Judgment
15
                           (Against Defendants Mr. Trump and EC)
16
           36.    Plaintiff restates and re-alleges each and every allegation in Paragraphs 1
17
     through 35 above as if fully set forth herein.
18
           37.    This action concerns the legal significance, if any, of the documents
19
     attached hereto as Exhibit 1, entitled Confidential Settlement Agreement and Mutual
20
     Release; Assignment of Copyright and Non-Disparagment [sic] Agreement, and Exhibit
21
     2, entitled Side Letter Agreement.
22
           38.    California Code of Civil Procedure § 1060 authorizes declaratory relief for
23
     any person who desires a declaration of rights or duties with respect to one another. In
24
     cases of actual controversy relating to the legal rights and duties of the respective
25
     parties, such a person may seek a judicial declaration of his or her rights and duties
26
     relative to an instrument or contract, or alleged contract, including a determination of
27
     any question of construction or validity arising under the instrument or contract, or
28
     alleged contract. This includes a determination of whether a contract was ever formed.
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1
            39.   28 U.S.C. § 2201 creates a remedy for the entry of a declaratory judgment
2
     in cases of “actual controversy”, whereby the court may declare the rights and other
3
     legal relations of any interested party seeking such declaration. Any such declaration
4
     shall have the force and effect of a final judgment or decree.
5
            40.   An actual controversy exists between Plaintiff and Defendants as to their
6
     rights and duties to each other. Accordingly, a declaration is necessary and proper at
7
     this time.
8

9
     A.     No Agreement Was Formed – Lack of Signature, Consideration, or Consent
10
            41.   Specifically, Plaintiff seeks an order of this Court declaring that the
11
     agreements in the forms set out in Exhibits 1 and 2 between Plaintiff and Defendants
12
     were never formed, and therefore do not exist, because, among other things, Mr. Trump
13
     never signed the agreements (which was an express condition of the Hush Agreement
14
     that had to occur for the formation of a valid and binding agreement). Nor did Mr.
15
     Trump provide any other valid consideration. He thus never assented to the duties,
16
     obligations, and conditions the agreements purportedly imposed upon him, which
17
     included express obligations imposed on Mr. Trump to provide Plaintiff with releases, a
18
     covenant not to sue, and representations and warranties (all of which were separate and
19
     apart from the $130,000 payment). Plaintiff contends that, as a result, no agreement
20
     was ever formed or ever existed and, consequently, she is not bound by any of the
21
     duties, obligations, or conditions set forth in Exhibits 1 and 2. Moreover, as a further
22
     result, there is no agreement to arbitrate between the parties.
23

24
                            B.     The Agreement Is Unconscionable
25
            42.   In the alternative, Plaintiff seeks an order of this Court declaring that the
26
     agreements in the forms set out in Exhibits 1 and 2 are invalid, unenforceable, and/or
27
     void under the doctrine of unconscionability.        By way of example only (and not
28
     limitation), the Hush Agreement contains a “Liquidated Damages” provision in favor of
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 1
     “DD” (Mr. Trump) purporting to require Plaintiff to pay $1 Million for “each breach”
 2
     calculated on a “per item basis.” However, $1 Million for “each breach” bears no
 3
     reasonable relationship to the range of actual damages that the parties could have
 4
     anticipated would flow from a breach. Instead, the liquidated damages clause was
 5
     intended to inflict a penalty designed to intimidate and financially cripple Plaintiff. It is
 6
     therefore void as a matter of law.
 7
           43.        By way of further example, while on the one hand, the Hush Agreement
 8
     purports to impose astonishingly broad restrictions on speech and disclosure upon
 9
     Plaintiff (including prohibiting disclosure of matters that are of public record), on the
10
     other hand, Defendants, with few exceptions, have no such restrictions imposed upon
11
     them and are thus permitted to disclose matters covered by the Agreement, and publicly
12
     disparage Plaintiff and impugn her credibility. As but one illustration of the one-sided
13
     nature of the Hush Agreement, EC, through Mr. Cohen, violated paragraph 7.1 of the
14
     Agreement by disclosing terms of the Agreement to the Wall Street Journal on or about
15
     January 12, 2018.          Although the Agreement attempts to impose astonishingly
16
     Draconian consequences and penalties upon Plaintiff for a breach of the Agreement, no
17
     such remedies are available to Plaintiff for Defendants’ breach of the Agreement. An
18
     agreement that sanctions such overly-harsh, one-sided results without any justification
19
     and which allocates risks of the bargain in such an objectively unreasonable and
20
     unexpected manner is unconscionable as a matter of law. Plaintiff contends that, as a
21
     result, she is not bound by any of the duties, obligations, or conditions set forth in
22
     Exhibits 1 and 2. Moreover, as a further result, there is no agreement to arbitrate
23
     between the parties.
24

25
                 C.       The Agreement Is Void Ab Initio Because It Is Illegal and
26
                                         Violates Public Policy
27
           44.        In the further alternative, Plaintiff seeks an order of this Court declaring
28
     that the agreements in the forms set out in Exhibits 1 and 2 are invalid, unenforceable,
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 1
     and/or void because they are illegal, or that they violate public policy. Essential to the
 2
     “existence” of a contract is that the contract have a “lawful object” or lawful purpose.
 3
     See, e.g., Cal. Civ. Code § 1550.           No such lawful purpose existed in the Hush
 4
     Agreement for at least the following reasons.
 5
            45.   First, the Hush Agreement was entered with the illegal aim, design, and
 6
     purpose of circumventing federal campaign finance law under the Federal Election
 7
     Campaign Act (FECA), 52 U.S.C. §§ 30101, et seq., and Federal Election Commission
 8
     (FEC) regulations. The purposes and aims of the FECA include the promotion of
 9
     transparency, the complete and accurate disclosure of the contributors who finance
10
     federal elections, and the restriction on the influence of political war chests funneled
11
     through the corporate form.
12
            46.   In order to effectuate these purposes, FECA imposes various contribution
13
     limits, and reporting and public disclosure requirements, on candidates for Federal
14
     office, including the office of President of the United States. With regards to the 2016
15
     Presidential Election, FECA required that the maximum any “person”—defined to
16
     include “an individual, partnership, committee, association, corporation, labor
17
     organization, or any other organization or group of persons” —was permitted to
18
     contribute to any candidate was $2,700. 52 U.S.C. §§ 30101(11); 30116(a)(1)(A), (c);
19
     see also FEC, Price Index Adjustments for Contribution and Expenditure Limitations
20
     and Lobbyist Bundling Disclosure Threshold, 82 Fed. Reg. 10904, 10906 (Feb. 16,
21
     2017). Mr. Trump and his campaign for the presidency were subject to FECA and its
22
     contribution limit at all relevant times.
23
            47.   The term “contribution” is defined broadly to include “any gift,
24
     subscription, loan, advance, or deposit of money or anything of value made by any
25
     person for the purpose of influencing any election for Federal office[.]” 52 U.S.C. §
26
     30101(8)(A) (emphasis added); see also 11 C.F.R. §§ 100.51-100.56. The phrase
27
     “anything of value” includes “all in-kind contributions.” 11 C.F.R. § 100.52(d)(1). In
28
     other words, “the provision of any goods or services without charge or at a charge that
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 1
     is less than the usual and normal charge for such goods or services is a contribution.”
 2
     Id.
 3
           48.    In addition, under FECA, Mr. Trump and his campaign for the presidency
 4
     were required to report the identification of each person who made a contribution to his
 5
     campaign with an aggregate value in excess of $200 within an election cycle. 52
 6
     U.S.C. § 30104(b)(3)(A). Mr. Trump and his campaign for the presidency were also
 7
     required to report the name and address of each person to whom an expenditure in an
 8
     aggregate amount in excess of $200 within the calendar year was made by his campaign
 9
     committee.
10
           49.    FECA    also   imposes    similar   requirements   on the reporting of
11
     “expenditures.” 52 U.S.C. § 30104(b)(4)-(5). The term “expenditure” includes “(i) any
12
     purchase, payment, distribution, loan, advance, deposit, or gift of money or anything of
13
     value, made by any person for the purpose of influencing any election for Federal
14
     office; and (ii) a written contract, promise, or agreement to make an expenditure.” 52
15
     U.S.C. § 30101(9) (emphasis added). As with “contributions,” the phrase “anything of
16
     value” in the context of “expenditures” includes “all in-kind contributions.” 11 C.F.R.
17
     § 100.111(e)(1).
18
           50.    Moreover, “contributions from the candidate” or “expenditures” from the
19
     candidate must also be reported.      11 C.F.R. § 104.3(a)(3)(ii); see also, e.g., FEC
20
     Advisory Opinion 1990-09.
21
           51.    Here, the Hush Agreement did not have a lawful object or purpose. The
22
     Hush Agreement, and the $130,000 payment made pursuant to the agreement, was for
23
     the “purpose of influencing” the 2016 presidential election by silencing Plaintiff from
24
     speaking openly and publicly about Mr. Trump just weeks before the 2016 election.
25
     Defendants plainly intended to prevent American voters from hearing Plaintiff speak
26
     about Mr. Trump. This $130,000 payment was a thing “of value” and an “in-kind”
27
     contribution exceeding the contribution limits in violation of FECA and FEC
28
     regulations. It was also a violation of FECA and FEC regulations because it was not
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 1
     publicly reported as a contribution. Further, it was a violation of FECA and FEC
 2
     regulations because it was a thing “of value” and an “in-kind” expenditure that was
 3
     required to be reported as such. Therefore, because the Hush Agreement did not have a
 4
     lawful object or purpose, the Agreement was void ab initio. Plaintiff contends that, as a
 5
     result, she is not bound by any of the duties, obligations, or conditions set forth in
 6
     Exhibits 1 and 2. Moreover, as a further result, there is no agreement to arbitrate
 7
     between the parties.
 8
            52.   Second, the Hush Agreement is also void ab initio because it violates
 9
     public policy by suppressing speech on a matter of public concern about a candidate for
10
     President of the United States, mere weeks before the election. Agreements to suppress
11
     evidence are void as against public policy, both in California and in most common law
12
     jurisdictions.   “A bargain that has for its consideration the nondisclosure of
13
     discreditable facts, or of facts that the promisee is under a fiduciary duty not to disclose,
14
     is illegal.” Restatement (First) of Contracts § 557 (1932). Remarkably, illustration 1 in
15
     the official comments to section 557 provides the following example of a bargain that is
16
     illegal:
17
                  1. A, a candidate for political office, and as such advocating
18
                  certain principles, had previously written letters to B, taking a
19
                  contrary position. B is about to publish the letters, and A
20
                  fearing that the publication will cost him his election, agrees
21
                  to pay $1000 for the suppression of the letters. The bargain is
22
                  illegal.
23
     Restatement (First) of Contracts § 557, Illustration 1 (1932)(emphasis added).
24
            53.   Third, the Hush Agreement is also without a lawful object or purpose and
25
     thus void ab initio based on illegality because it was entered for the purpose of
26
     covering-up adulterous conduct, a crime in New York, Mr. Trump’s home state at the
27
     time of the Hush Agreement and at the time of the intimate relationship between
28
     Plaintiff and Mr. Trump. N.Y. Penal Law § 255.17 (“A person is guilty of adultery
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 1
     when he engages in sexual intercourse with another person at a time when he has a
 2
     living spouse, or the other person has a living spouse.           Adultery is a class B
 3
     misdemeanor.”).
 4
           54.    Fourth, the Hush Agreement is also without a lawful object or purpose and
 5
     thus void ab initio based on illegality because it was entered into by Defendant EC at
 6
     the behest of Defendant Cohen, a New York attorney then subject to the New York
 7
     Rules of Professional Conduct. If Mr. Cohen’s public statements are true (which is
 8
     unlikely), he violated Rule 1.4 of the New York Rules of Professional Conduct by
 9
     entering into an agreement on his client Mr. Trump’s behalf without notifying him of
10
     the agreement, including, among other things, the fact that the agreement required a
11
     payment of $130,000 to be made, that he was making the payment for Mr. Trump on
12
     Mr. Trump’s behalf, that Mr. Trump was being encumbered with various duties and
13
     obligations under the Agreement, that the Agreement and $130,000 payment would
14
     possibly subject Mr. Trump to violations of federal campaign finance laws, and that the
15
     Agreement would raise questions about whether he had an adulterous affair that Mr.
16
     Trump apparently now denies ever occurred.
17
           55.    Moreover, if Mr. Cohen’s public statements are true, he also violated Rule
18
     1.8(e) of the New York Rules of Professional Conduct by advancing or guaranteeing
19
     financial assistance to a client by paying $130,000 from his own personal funds to
20
     benefit his client Mr. Trump.
21

22
           D.     There Was No Agreement to Arbitrate Between Plaintiff and EC
23
           56.    Separate and apart from Plaintiff’s request for an order declaring that no
24
     agreement was ever formed between the parties, or that the entirety of the Hush
25
     Agreement be declared void ab initio, all as set forth above, Plaintiff alternatively seeks
26
     an order of this Court declaring that no agreement to arbitrate exists between Plaintiff
27
     and EC. Under paragraph 5.2 of the Hush Agreement, entitled “Dispute Resolution,”
28
     only those “claims and controversies arising between DD [Mr. Trump] on the one hand,
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 1
     and PP [i.e., Plaintiff] on the other hand” are subject to arbitration. To be clear, there is
 2
     not presently nor has there ever been any agreement to arbitrate between Plaintiff and
 3
     EC.
 4

 5
        E.     The Arbitration Clause Is Void Ab Initio Because It Is Unconscionable,
 6
                                Illegal, and Violates Public Policy
 7
             57.   Moreover, also separate and apart from Plaintiff’s request for an order
 8
     declaring that no agreement was ever formed between the parties, or that the entirety of
 9
     the Hush Agreement be declared void ab initio (as set forth above), Plaintiff
10
     alternatively seeks an order of this Court declaring that no agreement to arbitrate exists
11
     because no agreement was formed (see Complaint, ¶41, supra), and further, that no
12
     agreement to arbitrate exists because paragraphs 5.2 of the Agreement (which contains
13
     the arbitration clause) along with various parts of paragraph 5.1 of the Agreement
14
     (describing “DD’s” remedies that Defendants would presumably argue are available to
15
     them in a confidential arbitration proceeding) are void ab initio because they
16
     unconscionable, illegal, and violates public policy.
17
             58.   First, the arbitration clause is unconscionable, particularly when combined
18
     with the remedies section of the Agreement. The clause is extremely one-sided by
19
     conferring significant rights exclusively to Mr. Trump (as “DD” referred to in the
20
     Agreement), provided he is a party to the agreement. Among other things, (a) Mr.
21
     Trump is given the right to seek injunctive relief either in court or arbitration, while
22
     Defendants contend Plaintiff must pursue all rights in arbitration, (b) Mr. Trump is
23
     given the exclusive right to elect which state’s laws will apply to the arbitration
24
     (California, Nevada, or Arizona) and he is not required to provide notice of which
25
     state’s laws he elects will be applied until after he has filed an arbitration proceeding,
26
     and (c) Mr. Trump is given the exclusive right to choose venue in any location (i.e.,
27
     anywhere in the country) he selects and is permitted to elect which of two arbitration
28

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 1
     agencies the arbitration proceeding may be initiated in (either JAMS or Action Dispute
 2
     Resolution Services).
 3
           59.    Second, the arbitration clause is illegal and without lawful object or
 4
     purpose because it was entered with the purpose of keeping facts concerning federal
 5
     campaign contributions and expenditures secret and hidden from public view by using a
 6
     confidential arbitration proceeding in violation of FECA’s mandates to publicly report
 7
     campaign contributions and expenditures. In other words, the principal aim and design
 8
     of the arbitration clause is to keep confidential that which, by law, must be publicly
 9
     disclosed. Indeed, the clause plainly is designed to prevent the public disclosure of an
10
     illegal campaign contribution by mandating that disputes between Plaintiff and Mr.
11
     Trump be resolved in a confidential arbitration proceeding shielded from public
12
     scrutiny.
13
           60.    Third, the arbitration clause is void because it violates public policy by
14
     suppressing speech on a matter of enormous public concern about a candidate for
15
     President of the United States mere weeks before the election. See Restatement (First)
16
     of Contracts § 557.
17
           61.    Fourth, the arbitration clause is illegal and without lawful object or
18
     purpose because it was designed to cover up adulterous conduct, a crime in New York,
19
     Mr. Trump’s home state at the time of the Hush Agreement and at the time of Plaintiff
20
     and Mr. Trump’s intimate relationship. N.Y. Penal Law § 255.17. It is also illegal and
21
     without lawful object or purpose because it was designed to cover up Mr. Cohen’s
22
     ethical violations, including his violations of Rule 1.4 and 1.8(e) of the New York
23
     Rules of Professional Conduct.
24
           62.    Defendants dispute all of the foregoing contentions.
25
           63.    Accordingly, Ms. Clifford desires a judicial determination of her rights and
26
     duties with respect to the alleged agreements in the forms set out in Exhibits 1 and 2.
27

28

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 1
                                 SECOND CAUSE OF ACTION
 2
                                            Defamation
 3
                                 (Against Defendant Mr. Cohen)
 4
           64.    Plaintiff restates and re-alleges each and every allegation in Paragraphs 1
 5
     through 64 above as if fully set forth herein.
 6
           65.    On or about February 13, 2018, Mr. Cohen issued a public statement. The
 7
     entirety of the statement is attached hereto as Exhibit 3. In it, he states in part: “Just
 8
     because something isn’t true doesn’t mean that it can’t cause you harm or damage. I
 9
     will always protect Mr. Trump.” (emphasis added). Mr. Cohen’s statement was made
10
     in writing and released by Mr. Cohen to the media with the intent that it be widely
11
     disseminated and repeated throughout California and across the country (and the world)
12
     on television, on the radio, in newspapers, and on the Internet.
13
           66.    It was reasonably understood by those who read or heard the statement that
14
     Mr. Cohen’s defamatory statement was about Ms. Clifford.
15
           67.    Both on its face, and because of the facts and circumstances known to
16
     persons who read or heard the statement, it was reasonably understood Mr. Cohen
17
     meant to convey that Ms. Clifford is a liar, someone who should not be trusted, and that
18
     her claims about her relationship with Mr. Trump is “something [that] isn’t true.” Mr.
19
     Cohen’s statement exposed Mr. Clifford to hatred, contempt, ridicule, and shame, and
20
     discouraged others from associating or dealing with her.
21
           68.    Mr. Cohen’s defamatory statement was false.
22
           69.    Mr. Cohen made the statement knowing it was false or had serious doubts
23
     about the truth of the statements.
24
           70.    As a result, Plaintiff Ms. Clifford has suffered damages in an amount to be
25
     proven at trial according to proof, including but not limited to, harm to her reputation,
26
     emotional harm, exposure to contempt, ridicule, and shame, and physical threats of
27
     violence to her person and life.
28

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 1
           71.    In making the defamatory statement identified above, Mr. Cohen acted
 2
     with malice, oppression, or fraud, and is thus responsible for punitive damages in an
 3
     amount to be proven at trial according to proof.
 4

 5
                                     PRAYER FOR RELIEF
 6
           WHEREFORE, Plaintiff prays for judgment against Defendants, and each of
 7
     them, declaring that no agreement was formed between the parties, or in the alternative,
 8
     to the extent an agreement was formed, it is void ab initio, invalid, or otherwise
 9
     unenforceable.
10

11
                  ON THE FIRST CAUSE OF ACTION (DECLARATORY
12
                                     RELIEF/JUDGMENT)
13
           1.    For a judgment declaring that no agreement was formed between the
14
                 parties, or in the alternative, to the extent an agreement was formed, it is
15
                 void, invalid, or otherwise unenforceable;
16
           2.    For a judgment declaring that no agreement to arbitrate was formed
17
                 between the parties, or in the alternative, to the extent an agreement was
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                 formed, it is void, invalid, or otherwise unenforceable;
19
           3.     For costs of suit; and
20
           4.     For such other and further relief as the Court may deem just and proper.
21

22
                 ON THE SECOND CAUSE OF ACTION (DEFAMATION)
23
           1.     For damages in an amount to be proven at trial;
24
           2.     For punitive damages;
25
           3.     For pre-judgment and post-judgment interest;
26
           4.     For costs of suit; and
27
           5.     For such other and further relief as the Court may deem just and proper.
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 1                            DEMAND FOR TRIAL BY JURY
 2         Plaintiff demands a trial by jury on all causes so triable. Said demand includes a
 3 demand, pursuant to 9 U.S.C. § 4, for a trial by jury concerning whether the parties

 4 entered into the agreement at issue by which EC, Mr. Trump, or both, will seek to compel

 5 arbitration.

 6 DATED: March 26, 2018                  AVENATTI & ASSOCIATES, APC
 7

 8
                                          /s/ Michael J. Avenatti
 9
                                          MICHAEL J. AVENATTI
10                                        Attorneys for Plaintiff
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                          CONFIDENTIAL SETTLEMENT AGREEMENT
                           AND MUTUAL RELEASE; ASSIGNMENT OF
                            COPYRIGHT AND NON-DISPARAGMENT
                                      AGREEMENT

                1.0    THE PARTffiS

                1.1     This Settlement Agreement and Mutual Release (hereinafter, this "Agreement") is
        made and deemed effective as of the "'ut' day of October, 2016, by and between "EC,
        LLC" and/or DAVID DENNISON~n the one part, and PEGGY PETERSON, (PP), on
        the other part, ("BC, LLC," "DO" and uPP" are pseudonyms whose true identity will be
        acknowledged in a Side Letter Agreement attached hereto as "EXHIBIT A") This Agreement is
        entered into with reference to the facts and circumstances contained in the following recitals.
                2.0    RECITALS

                2.1     Prior to entering into this Agreement, PP came into possession of certain
        "Confidential Information" pertaining to DO, as more fully defined below, only some ofwhich is
        in tangible form, which includes, but is not limited to information, certain still images and/or tcxt
        messages which were authored by or relate to DO (collectively the ''Property'', each as more
        fully dermed below but which all are included and attached hereto as Exhibit "I" to the Side
        Letter Agreement).

                2.2    (a)     PP claims that she has been damaged by OD's alleged actions against her,
        including but not limited to tort claims proximately causing injury to her person and other related
        claims. DO denies all such claims. (Hereinafter "PP Claims").

                        (b)    DO claims that he has been damaged by PP's alleged actions against him,
        including but not limited to the alleged threatened selling, transferring, licensing, publicly
        disseminating and/or exploiting the Images and/or Property andlor other Confidential
        Information relating to DO, all without the knowledge, consent or authorization ofDO. PP
        denies all such claims. (Hereinafter "OD Claims").

                      (c)    The PP Claims and the DO Claims are hereinafter collectively referred to
        as "Tbe Released Claims,"

                2.3     DO desires to acquire. and PP desires to sell, transfer and turn-over to DO. any
        and all tangible copies oftbe Property and any and all physical and intellectual property rights in
        and to all ofthe Property. As a condition of DO releasing any claims against PP related to this
        matter, PP agrees to sell and transfer to DO all and each of her rights in and to such Property. PP
        agrees to deliver each and every existing copy ofall tangible Property to DO (and permanently
        delete any electronic copies that can not be transferred), and agrees that sbe sball not possess. nor
        directly nor indirectly disclose convey. transfer or assign Property or any Confidential
        Information to any Third Party, as more fully provided herein.

                2.4    It is the intention oflbe Parties that Confidential Information, as defined herein,
        shall remain confidential as expressly provided hereinbelow. Thc Parties expressly
        acknowledge, agree and understand thai the Confidentiality provisions herein and the



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          rqnsentations BDd wmnnIies made by PP h....iA BDd the oxecution by her of the Assigoment &;
          Traosfer of Copyriabt are at tho esoenco of this Settlement AgreemontaDd are a mau:rial
          inducement to DO'' entry into this Agroomenl, aboent which DO would DOt enler into this
          Agreement. DO expects ODd requinla that PP never communicate with him or hi. filmiJy for lOy
          reason wbatsoever.
                   2.5     Tho Partie. wi... to avoid tho time, expense, ood ineODveoieDce of pOleDtial
          litigation, and to resolve any BDd all dispute. and poteDtiallegal claims which oxiot or may ex.Ist
          botwOOD them. as of the date ofthi. Agreement includiog but DOt limited to the PP Cwms ood/or
          the DD Claims. The Partio. agree that the claims re1eaaed include but are not limited to DO',
          Claims against PP as relates to PP having allowed, whether intentionally, uniotentiooally or
          oegligentIy, ooyone elae othar than those listed in section 4.2 herein below to become aware of
          tho existence of aDd content of the Property, to have gainad pos....ion ofthe Property,aDd to
          PP'. having aIIeiOd!y _ a d in effur1s 10 disclose, disseminate and/or commm;ially exploit tho
          Images and/or Property andIor Confidential InfonDation, and any harm suffered by DD
          thoreliom. Tho Partie. agree that the cwms rel....ed include but are DOt limited to PP's Claims
          againot DD as relates to DO having allowed, wbcthcr intentionally, uniotentionally or
          oegligentIy, anyone elae to have intetfered with PP's right to privscy or ...y other right thai PP
          may possess.

                  2.6    The.. Recitals are essential, integral and material terms of this Agreement, and
          this Agreemenl shall be construed with respect therelO. The Parties enter into this Agreement in
          consideration of the promises. covenants and conditions set forth herein. and for good and
          vahlOble consideration. the receipt of which is hereby acknowledged n is an essential element nf
          this Settlement Agreement that th. Parties shall never directly or indirectly communicate with
          each other or attempt to contact their respective families. This matter, the existence of this
         .Settlement Aireement and itS terms are strictly confidential.

                  NOW, THEREFORE, the Parties adopl tho foregoing recitals as a 'tatemenl of thoir
          intent and in consideration of the promises BDd covenants contained herein, and further agree as
          follows:




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              3.0     SETILEMENT TERMS
                    3.0.1.1 EC. LLC SHALL PAY TO PP $130.000.00 U.S.D. AS FOLLOWS:

                       3.0.1.1.1   S130,OOO.00 USD shall be wired into PP's Attorney's Attorney Client
                                   Trost Account on or before 1600 lus. PST on I 0127/1 6.(Hercinafler
                                   "Gross Sel1lement Amount''). PP's Attorney's Wiring tnstruCtiODO lll'e:

                                   Bank Name:                        City National Bank
                                   Bank Address:                     8641 Wilshire Blvd.
                                                                     Beverly Hills, CA 90211
                                   ABA Routing No:                   122016066
                                   Beneficiary Account Name:         Keith M. Davidson & Associates,
                                                                     PLC, Attorney Client Trost Account
                                   Beneficiary Account No:           600106201
                                   Beneficiary Address:              8383 Wilshire Blvd Suite 510
                                                                     Beverly Hills, CA 90211
                                   SWIFT Code:                       CINAUS6L


                       3.0.1.1.2   Keith M. Davidson, Esq. shall receive the Gross Settlement Amount in
                                   Trust. No portion ofthe Gross Settlement Amount shall be disbursed
                                   by Attorney for PP unless and until PP executes all required
                                   Settlement Documents.

              3.1      Undertakings & Obligations by PP. PP will do each oflbe following by 11/01/16:

                       (a)     PP shall execute this Agreement and retum a signed copy to DD:

                      (b)     PP shall transfer andlor assign any and all rights in and to the Property to
       DO (as set forth hereinbelow), and execute an Assignment & Transfer of Copyright, in the form
       anaehed hereto, and return a signed copy of same to DO's counsel;

                       (c)     PP shall deliver to DO every existing copy of all tangible Property. PP
       shall completely divest herself of any and all artistic media, impressions, paintings, video
       images, still images, ...mail messages, text messages, lnstagram message, faeebook posting or
       any other type of creation by DO. PP shall transfer all physical, ownership and intellectual
       propertY rights to DO;

                                           (I)    PP shall deliver to DD any and all non.privileged
       correspondence concerning or related to OD between PP and any 3,4 party.

                       (d)     PP shall nol, at any time from the date ofthis Agreement forward, directly
       or indirectly disclose or disseminate any of the Property or any Confidential Information
       (including confirmation of the fact that it exists or ever existed, andlor COnfumiDg any rumors as
       to any such existeDce) to any third party, as more fully provided herein.

                      (e)     PP shall provide to DD (to the exteDt Dot already dODe so and set forth in
       paragraph 4.2 hereinbelow), summary details disclosing to whom PP (or anyone else on PP's
          ali) disclosed, displayed to, disseminated, transferred to, provided a copy to, and/or
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          distributed, sold, licensed or otherwise SOU&ht to have commercially exploi~ the IlDages and/or
          Property andlor any ConfidentiallnfolIlllltioa.

                          (t)     PP   'h8!1 provide to DO'' counsel the name, and CODtact iofonnation of
          each an~ any perso~s ~ entities who: (I) PP has provided to or who otherwise obtained
          PO_IOD ofthe original andIor any copies ofany of the IlDages and/or any Property, ifany, (ii)
          to whom PP has SC1IIDled the ~ and/or any Property at any time, and (iii) to whom I'P
          knows ~ has or ~ potellli~~ have possession ofa copy of the Images and/or any Property
          at any tIme. InCluding but DOt limited to the preoeot timo (and specify with detail to which of the
          refcreoccd categories (i.e, posse..iOD, shown, ~ prescot, etc.) any name corresponds, the
          namc so relates).

                     . <,g> • PP shaUprovide to DO's counsel copies ofany agreements and/or other
          ~umeolatlon m PP s possemon, custody or contro~ if any. regardine (e) and/or (f) above, that
          evtdences who has or may have been provided a copy of any oflbe Property.

                   3.2     DJnsfer of Property Rights to DO. In further COIISideration for Ibe promi....
          covenants and consideration herein, PP hereby transfers and conveys to DO all of pP's
          respective ri&hts, title and interest in aad to tho Property. and any and all physical and intellectoal
          property righll relatOO thereto, Without limiting the generality of tho foregoing, PP does hereby
          sel~ assign, and transfer to DO. his ,,,,ceoSSOlS and assigns, throughout tho UDiverse in peIJlClUity,
          all of PP'o entire right, title, and interest (including. without limitatioo, oil copyrighll and all
          oxtensions and renewals ofcopyrights), of whatever kind or nature in and to the Property,
          without reservation, condition or limitation, whether 01 Dot such rights are now known,.
          recognized or contemplated, and the complete, unconditiooal and unencumbered ownership and
          all possessory interest and rights in and to the Property, whicb includes, but is DOt limited to the
          origina1s, copieo, negative" prints, positive. proofsheets, CD-roms, OVD.roms, duplicates.
          outtake and the reaulll of any other mcam of exhihiting, reproducing, storing, recordina andlor
          archiving any of the Property or related material, together with all rights of action and claims for
          damages and benefits arising because ofany infiiDgement ofthe copyright to the PlOperty. and
          assigns and releases to DO any and all other proprietary riibts and usage righu PP may own or
          hold in the copyriiht and/or Property, or any other right in or to the Property. PP assigr>s and
          transfers to OD aU of the rigbts bereiD graated, without reservation, condition or limitation, and
          agrees that PP reserve, no right ofany kind, IlatUre or description related 10 the Property and
          cooteots therein. Notwithatanding the foregoing, if any of the rightB bereiD granted ore aubjcet to
          torminatioo under section 203 ofthc CopyrIght Act, or any similar p'!'visions oflbe Act or
          subsequent amendments tbenx>f, PP hereby agrees to rc-graat such rights to DD immedi1tely
          upon such termination. AU rights granted herein or agrcod to be graated hereunder sball vest in
          DO immMiately and shall remain vcstod in perpetuity. DO shall have the rieht to freely assign,


                                                       su_
          sell, transfer or destroy the Property ss he desires. DO sball have the rillblto registor 8010
          copyright in and to any of the Property with the US Copyright Office, DO shall also have tho
          right, in respect to the Property, to add to,           from. change, mange, revise, sdap~ into any
          8Dd all fonn of expression or tangible commUDication, and the riiht to combine any oflbe
          Property with any otbcr works ofany ltind and/or So create derivative works with any ofthc
          Property. and to do with it as she so deems. To the fullest extent allowable under the applicable
          law, PP sball irrevocably waive and a"ign to DO any ofPP's so-called ""'oral rights" or "droit
          moral" (laws for the protection ofcopyrights outside of the United Stales), ifany, or any similar
          riihll WIder any principles of law which PP may now have or later have in tho Property. With
          ."W         and in furtherance of the above, PP agrees to and sha1l execute and deliver to DO an
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          "Assigmnent & Transfer ofCopyrigbt", in the furm allached bmto as Exhjhit "B". For glC81er
          certainty !be fo",going assigmnent shall be applicable worldwide.

                           3.2.1 Notwitbstandillg the foregoing paragraph 3.2, and wilbout in anyway
          limiting or diminitbing from the full traosfct and as.igwncnt of rights therein without
          ....erv.tioo, the Putieslllld«sland the pwpose of the transfct ofrights is to provide DO 1be
          fullest posaible .bility ..d remedies to prevent and procect opinst any publication and/or
          dissemination of the Property.

                   3.3     Deliverv of the Propertv to DO. ConcurRntlyupon execution ofthis Agreement,
          PP, as .pplicable, sba1I deliver 10 DO, by delivery to his counsel herein, all of the Property which
          is embodied in tangible furm (all originals and duplicslos), whether documeots, canvasses, paper
          art, digital copies, leue"" prints, electronic data, films, tapes, CD-RollLS, DVD-RollLS,1ma&es
          recording taPes. photographs. ""gatives, original.. duplicatea, contact sheets, audio recordings,
          Images recor:IiDgs, magnetic dais, computerized data, digital recordings, or other reoorded
          medium or any other format ofembodying information or data. Witbouilimiting the eenerality
          of the foregoing, such tangible Property sball include aU documents as defined by C.lifornia
          Evideoce Code §250 which oootain any of!be Property. PP rep",seots and Womlllls !bat the
          matoriala delivered pursuant to the terms of this Paragmph 3.3 comprise !be 10tality of all
          existing originals and duplicate. of all Property in any tangible form, whether within 1beir
          possession, custody or contro~ and including otherwise (and that PP knows of no other copies or
          possible or potential copies not in PP's posaessioo and control and delivered pumumt 10 this
          ~h), and !bat upon such delivery to DO, PP sball not maintain pos....ion, custody or
          cootrol ofany copy ofall or any portion of.oy tangible Property. The Property Delivered under
          this Paragmph shall become Exhibit 1 to the Side Letter Ag>eement For avoidance ofany doubt,
          PP, nor her attorney are entitled to retain poss.ssion of said Property after execution of this
          Agreement. The retention of said Property by PP is a matorial breach of this '8"'erD811t

                         3.3.1   This Agreement is cooditiooed 00 PP', compliance with each and every
          term of the Settlement Ag>eeroent including Paragmph 33     .m   the personal verificatiotl by DD
          or his attorney ofthe Images and !bat the Images .... comprised of and captures the conleIll
          previously represented to his counsel 10 exist and be caP!Ured th....in (i.e., text JlleSlaaea
          between PP and DO»), all of which term, are essential and material.

                 4.0     CONFIDENIIALIT¥ 8< REPRESENTATIONS 8< WAWUeNTTJ!'1:l
                 4.1     Definition ofCoDfideoual !nfonpatjoo. "ConfideDtiaIlnformation" me_ and
          includes each and all of!be following;

            .           (a)      All Intangible information pertaining to DO and/or his _Iy. (including
         but not limited to his cbildml or any alleged cbildml or any of his alleged sexual partners,
         alleged sexual actions or alleged sexual conduct or related matters ),andlor friends learned,           I,
         obtained, or acquired by PP, including without limitstion information contained in letters, e-          I
         mails, toou messages, ageeemenlll, dOlllllMOls, audio or Images recordings, electronic dala, and
         photogmpbs;
                                                                                                                 I
                         (b)     All Intangible infonnation pertaining to the existence and content ofthe



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                         (c)     All intangible private information (Le.. information not generally available
          to and/or known by the general public) re1ating and/or pcnaining to DO. including without
          limitation DO's business information. familia1 information, anyofhis alleged sexual partners.
          alleged solWlll actions or alleged sexual cOllduct, reJated matters or patemity information. l.gal
          matters. ooolr1lctual information, personal information, private social life, lifestyle. private
          conduc~ (all information/ilmns in 4.1 "(a)", "(b)" and "(c)" arc sometimes collectively referred
          to as, "lntanglbl. Coofidcntial Information"};

                           (d)      All tangible material. ofany kind containing information pcnaining to DO
          leamed, oblained, participated or acquired by PP. including without limitation letters.
          agreements, documenla, audio or Images nlcordinga. electronic data, and photographs, canvas
          art, paper art, or art in any other form on any media. Th. Images and Photo. and all
          informatioDlitems in 4.I(d) arc collectively referred to as. the "Property" and/or the "Tangible
          Confidcntia1lnformation"};

                  4.2     pp's RepTMQllalions 8< Warramjes Reaardjng Prior PisclO5l!te8 ofTangible
          Copfjdcptia1 IDfmmatjon. PP represents and warrants that prior 10 entry into this Agreement, PP
          bas directly or indirectly disclosed any Tangible anlor Intangible Confidontiallnfonnation (i.•.•
          any of the Property). to any Third Party. including withnut limitation disclosUnl or indirect
          disclosure of the conlent ofsuch Coofidontiallnformation in tangible fonn, other than the
          following pet>nn. or entities to whom PP bas made such prior disclosures (hcnlin "PP Disclosed
          IndividualslEntiti....):

                 a)

                 b)

                 c)

                 d)

                 e)

                 t)

                 g)

                 h)

                 i)

                  PP shaD not be nlsponsibl. fnr any subsequent public disclosure ofany oftbe
          Coofidentiallnfonnation (a) attributable JIim<!!l! to .ach nftbem; and/or (h) not disclosed
          hCnlinabovo as a previously disclosed PP Disclosed JndividualslEntities. and any ouch disclosuro
          shaI1 be doomed a broach of this Agreement by PP. For greater clarity. PP must not induce.
          promote or actively inspire anyone to disclose Confidential Information.




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                 4.3     Ret>re...,tatioQS &; WI!IJII/i.. and Al"'emep".

                          (a)   Representatiops & Warraptjes and AsreemCll18 By DD. The following
          agreements, warranties and represetltatiollS are made by DD as material inckIcements to PP to
          enter into this Agreement, and _h Party acknowledges that shelhe is executing this Agreement
          in reliance thereon:

                           (b)     DD wamwts and represents that. aa relates to 0< in connection with Illy of
          PP's at1empts to sell, exploit lIldIor disseminate the Property IlIillI to the date of this Agrumeot.
          DD and his counsel will refrain (I) from pumJing any civil action against PP, and/or (ii) absent a
          din:ct inquiry from law enforcemeot, from disclosing PP's name to the authorities.
          Notwithstanding the foregoing, if DD is informed that or should or ifit is believed that either of
          PP has possession, custodyand/or control ofany of the Property after the date ofthis Agreement
          aod/or tnllISfern:d any copies to any Third Party, lOd/or it is believed that any ofPP, whether
          directly or indirectly, intends the release, use, display, dissemination, disclosure or 8Xploilalion,
          whether actual, threatened or rumored, of any for the Propeny, theo DD and his counsel sha1I be
          entitled to, at DD's sole discretion, (i) contact the reopective member ofPI', including with legal
          demands and related statements of liability and lep! action, and/or (ii) advance a civil action
          against the respective member ofPP, and/or (iii) disclose anyofl'P's name to the authorities.

                          4.3.2 Renresenlations & W8!l1l!!ties and Al!!'l!e!!ICnls By pp. The following
          agreements, WllttIDli.. and rcpn:5C1llatiOOS are made by 1'1' as materia1 inducements to DD to
          enter into this Agreement, without which DD would not enter inln this Agreement and without
          which DD would DOt agree to pay any monies whatsoever hereunder, and with the express
          acknowledgrneot that DD is executing this Agreement in reliance on the agreements, warranties,
          and representations herein which are at the essence of this Agreement, including, tho following:

                          (a)     PP agrees IIld Wartlllts and represents that PP will permanently cease and
          desist from any efforts 10 and/or attempting to and/or engaging in and/or arranging the use,
          License, distribution, dls,eminstion or ssle of any of the Confidential Information lIldIor
          Property, including any Tangible and/or Intangible Confidential information created by or
          relating to DD;

                         (b)     PP agrees and WllJTllDts andreprcseots that PI' will pennaocntly coaae and
          desist from any posting or disseroin8tion or display of the Confidential Information, Tangible
          and/or Intangible Confidential information creared by or relating to DD and/or Property,
          including the !meges (including, but not limired to, to any form media outlet, on any blog or
          posting board, on the Internet, or otherwise);

                         (c)     PI' agrees and warrants and represents that PI' will pennaoently CMIC and
          desist from using or disseminating or disclosing any information to any Third Persons (Including,
          but DOtlimired to, to any media outlet. on any blog or posting board, on the Internet, or
          otherwise) about any details ofor as to the contents of the Confidential Information, Tanlltble
          and/or Intangible Confidential information created by or relating to DD and/or Property,
          Including any Text Messages, and/or as to any other peraonaI dctai1s ofor about or pertaining to
          DD lDdIor his fami1y and/or fiiends and/or social interlIctions;

                         (d)    PP agrees and warrants and represents that PP will permanently ceaae and
          desist from and will DOl, at any time, malee any use ofor reference to the name, image or likeness

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          ofDD in any manner wballloever, including without1imilatiOD, throuih any print or electroJlic
          media of uy kind or DAtwc for any JlIIIIlO5O, including, but DOt1imited to, OlIuy websites;

                         (e)     PP agIWl and warnIIlts and represents that any and all existiD& copies of
          the Images, Text Messages and any Property (other than as expressly specified in paragraphs 3.2
          and 3.3 berein) bave been turned over and provided to counsel; and PP further wlll'lllDts and
          represents that the only copy of the Images and Property that bas ever existed, at any time, bas
          been turned over to DD'. COUIIJlel pursuant 10 Ibis AllfCement, and the Images and any.Property
          bas never been transferred 1Xl or existed in any other form, including not in electronic form, nor
          on any computer, or electronic device and other storage media;

                          (f)    PP WlIl'lllDts and represents that PP bas not provided any copies, wbether
          bard-<:opy or electronic copies, of the Property to anyone other than as specified in paragnoph 4.2
          heroin);

                         (g)     PP wammts and represents that the information PP is obligated 1Xl provide
          pursuant to the lenos herein will be complete and truthful;

                        (b)      PP .warrants and represents that PP bas not omitted or withheld any
          information that PP is obligated to provide pursuant to the terms heroin;

                         (i)    PP wammts and represents that PP has l>Ol contracted to cam and/or
          collect any monies as compensation from the sell, license and/or any other exploimtioe of the
          Images and/or any Property and/or any Confidentiallnformatioo, Tangible and/or Intangible
          Confidential infonnation created by Or rel.tiog to DD oor any monies as compensation or an
          advance for any etIorts to sell, license and/or any nther exploitation of the Images and/or any
          Property and/or any Confideotiallnformatioo or any Tangible and/or Intangible Confidential
          information <reated by Or relatiog to DD;

                          (D      PP wammts and represents that PP bas not assigned DOr transferred, either
          in whole or in pan. any pmported rights in or to the Imsges and/or any .Property to any other
          person or entity. other than to DD punuant to this Agreement.
                         4.3.3 Agreement By PP NotlO Dj.clooOJuse ConJjdentiallnfollDAljog. Tangible
         and/or Intangible Confidential information created by or relating to DD. As further material
         inducements for DD to enter into this Agnecmen~ PP agrees, represents and warrants that sbe
         shall not directly or indirectly. veJbally or otherwise, publish, disseminate. disclose. po.t or cause
         to be published, disseminated, disclosed, or posted (herein "disclosej, any Conlidential
         Information or Tangible and/or Intangible Confidential informatioe cn:sted by or relatiog 1Xl DD
         to any person, group. firm or entity whatsoever. including, but not limited to, tiImiIy rncmben,
         Ilicnds, associates, joumalists, media organizations, newapapen, magazines, publications,
         television or radio stations, publishers, datab..... blo28, website.. posting boards, and anyoth...
         entlorprise involved in lbe prin~ wire or electronic media, includioi individuals working directly
         or indirectly for. or on behalfof; any of said persons or entities ("Third Parti.... and/or Thlrd
         Party"). In no event shall PP be relieved of such party's confidentiality obligatio.. herein by
         virtue of any breacl1 or alleged breach of this Agreement. In no event sball any dispute in
         connection with Ibis Agreement relieve PP ofber confidentialily obligations arising pursuant 1Xl
         this AlllWDen~ and any disclosure ofConlidentiallnfonnation and/or Tangible and/or
         ~Ie Confidential information <reated by or relating to DD in collDCClion with any such

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         proceeding or dispute sball constitute a breach of this Agrccmcol. PP sball usc tbcit best efforts
         to prevent the \IIWllborized discloswe ofConfidcoIiallnformation in connection with any such
         proceeding or di.opute.

                            4.3.4 Any direct or iDdirect disclosure ofCoofidentia1 Infunnation or Tangible
          and/or Intanaible Confidential information created by or relating to DO to any Thin! Party by PP
          and/or any ofher repreoentatives, heirs, ~s, children, family membcn, relatives. confidents,
          advisors, emplo~cs, attDmeys, transferors, transferees, successors or assigns, andlor any friend
          of any ofPP (collectively "PP Group'~, alW the date of this Agreement, sball be deemed a
          disclosure by PP in breach ofthe termJ oflhis Agrccmco~ entitling the non-breaching Party to
          all rigblJl and remedies set forth bcrcin.

                         4.3.5 PP separately and further warrants and represent that, pm to entering into
         this Agrecmc:nt, that she has not written, puhlished, caused to be pub1isbcd, or authorized the
         writing, puhlication, broadcast, transmissioo or puhlic dissemination ofany interview, article,
         essay, book, memoir. story, photograph, film, lenpt, Images tape, hiography, documentary,
         wbetber written, oraI, digltlll or visual, whether fictionalized or not, about the opposing Party to
         this Agreement or their family, whether 1nJtbful, laudatory, defamatory, dispar2ging, deprecating
         or neutl1ll, which discloses any Confidentiallnformatioo and/or which includes any description
         or depictiOll of aoy kind wbal:locvcr whether fictionalized or not, about any party to this
         agreement or tbeirrespcctivc family, other thao as expressly disclosed by PP hereto in writing
         sed as set forth bcrcin in paragraph 4.2 above.

                         4.3.6 Agreement By PP Not to Djl!!!iragc pO. PP hereby irrevocably agrees
         and COVClWlQ that she shall oot, directly or indirectly, publicly disparage DD, nor write, pub1Wl,
         cause to be published, or authorize, cousult about or with or otherwise be involved in the writing,
         publication, broadcas~ transmission or dissemination ofany book, memoir, letter, story,
         photograph, film, script, Images, interview, article, essay. hiogrspby, diary, journal,
         documeutary, or other written, oral, digital or visual account or description or depiction ofany
         kind wbalJlocver whether fictionalized or not, shout OD or his family, whether lrutbfuJ,
         laudatory, defamatory, disparaging, deprecating or neutn\. pp further wammts and repreaelIlS
         that PP bas not and will not enter into Illy wrillen or oral aercement with any third party
         pwpcrtedly requiring or obligating PP to do so. Fore greater clarity PP will never discuu with
         anyone lhe contents of this Settlement Agreemen~ nor will ,be voluntarily confirm the oxistellCC
         of this Settlement Agreement.
               4.4    Disclosure OfConfideptiallDfurmatioA Ii Prohibited: The Parties to this
         Aareement hereby recognize and agr<e that substllDtial effort and expense bave bcal dedicated to
         limit the efforts of tbe!RSS. other media, and the public to learn of personal and business affairs
         involving DD. PP further aclmowledges that any future disclosure of Confidentiallnformatinn
         to any Thin! Party would constitnt<: a saious and material breach of the termJ of this Agreement,
         and sball constitute a breach of trust sed confidecce, invasion of privacy, and a misappropriation
         ofexclusive property rigblI, and may also constitute fraud and deceit. Some ofthe Confidential
         Information may also constitute and mclude proprietary business information sed trade ,eCrelJI
         which bave independent economic value. The Parties hereto acknowledge that any unauthorized
         000, dissemination or disclosure ofConfidential Information, or the fabricalinn and
         dioscmination of false and/or mislcadini information, about DD would result in irreparable
         injury to him, and would be injurious to a reasonable pe!1OII, and/or would constitute an
         in7lt' violation of the right ofprivacy or publicity, and/or would be injurious to his business,

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         profession, penlOIl, familyand/or...-. The Parties acknowledge !bat substlDtiaI and valuable
         property rights and otller proprietary iDlmsts in the exclusive possession, ownenhip BDd use of
         Confidential Information, and =ogoizes and acknowledges that such Confidential Informatioo
         is a proprietary, valuable, special aod UDique asset which beloog. to 00 and to which the PP has
         110 claim of ownerlhip or other intetest.

                           4.4.1 Oisc!oSl!Rs PcnniUed By pp. Notwithstanding the foregoing. PP shall
          only be permitted to disclose Co.fidential lafonDation to another perso. or ..tity only if
          compelled to do so by valid lelllll process, includiDg without limitatio. a subpoeoa duoes tt:cwn
          or simiJlr legal compu1sion, proVided that PP shsllllOt malee any sucll dillelosure WIle.. PP has
          fust provided DD with notice of such order or legal process not less thao ten (10) days in
          advance of the required date of disclosure pursuant to the Written Notice provisions set forth
          hereinbelow, providing 00 with an opportunity to interve.e and with full and complete
          cooperation should she choo.e to oppoee such ciliclosure. PP agn:es that if the valid legal process
          can be stopped by bet con...t or at bet behest then PP shall "ll"'" to use best efforts to avoid the
          ciliclosure of the Confide.tiallnfonnation.



                  5.0    REMEDIES
                  5.1     PO's Remedje. for Breach of Amement Each breach or threatened breach (e.g.,
          COl1duct by PP reflecting that said person inteods to breach the Agreeme.t), including without
          limitatio. by breach ofany repmentatio. or W8lTllllty, by failiog to deliver to DO aU tansible
          Property as required, by the ciliclosure or threatened disclosure ofany Confidential Infurmation
          to any Third Party by PP (herein "Prohibited CommUDieatio."), or otherwise, shall render PP
          liable to 00 for any and all damages aDd iqjories incurred as a result tIlereof, includiDg but DOl
          limited to the followioll, all of which rights aDd remedies shall be cumulative;

                         5.1.1 pjsgorgemeot ofMonjes: In the eveD! an Arbitrator detenniDe.1hete has
          been a brooch or threatened breach of this Agreement by PP, PP .hsl1 be obligated to account to,
          and to disgorge aod tom ovcr to DO any aDd all monies, profits, or otha coosidetation, or
          benefits, which PP, or anyone on PP's behalf or at PP's direction, directly or indirectly derive
          from any disclosure or exploitatioo ofany of the Confidential lafonnatioo; _

                          5.1.2 Liquidated PNnam; PP agree. that onybreach orviolatioo of Ibis
          Settlemeut Agreement by either of PP individually or the PP Group by hisIberIlbeir unauthorized
          ciliclosure ofany of the Confidential Information (as defined in paragraphs 4.1(8), (b), (c), aDd
          (d» to any Third Party, andlor any unauthorized exploitation or prohibited use of the same,
          and/or by the breach of and/or by any false represeotatioOB and w8lTlllltie. set forth in this
          Agreemen~ and/or any public disparagement of DD by PP (collectively, the "LD Breach
          Torma''), shall re.rolt in subsllntiai damJges and injury to OD, the precise amount ofwhich
          would he extremely difficult or impracticable to determiDe, even dler the Parties have mad. a
          reasonable codeavor to e.timate fair compensation for such poteotiallos... and damagos to DO.
          Therefuse, in addition to disgorgement of tho full amount of all monies or other conaideratioo
          pursuant to paragraph 5.1.2, in the eveot an Arbitrator detcnnlDes there has been a breach of1bc
          LD Breach Terms of this Agraement by PP individually or the PP Oroup, PP shall also be
          obligated to pay, and agree to pay to DO the sum ofOne-Million Dollars ($1,000,000.00 as 8
          reasonable and fair amount ofliquidated damages to compensate DD for any loss or damage

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          resulting from n£!l breach, it being IlIlderstood lhat the Liquidated damages calculation is on a
          per item basis. The Parties agree that auoh sum ....... a reasonable and proximate relationship to
          the actual damages which DD will or might .uffer from each breach of the terms ofthia
          Agreement and tbat this amount is not a penalty. Alternatively, at DD'. sole discrctioa, DD may
          seek to recover BC1!!&I darnam proximately caused by each such breach, according to proof
          Any other breaches not a LD Breach Terms shaIJ be subject to a claim for actual damage.
          aocording to proof, fUrthennore, any monies held in Trust by PP's Attorney shaIJ be frozen IIld
          shalJllOt be disbursed to PP until the AIbitmtor finally resolves the allegation ofBreacb.

                           S.I.3 IDjlll!ctive Reljef. PP acknowledges and agrees thst any unauthorized
          disclosure to Third Panies ofany Confidential Information will cause irreparable harm to DD,
          which damages and injw:ics will 10011 likely not be measurable or susceptible to calculation. PP
          fUrther acImowledges and agrees that any breach or thrcaIened breach of this Agreement due to
          ths \IIllIuthorizcd disclosure or thrce1med disclosure by PP to Third Partie., ofany Confidential
          Information shall entitle DD to immediately obtain, either from the Arbitmtor and! or from any
          other cowt ofcompetent jurisdiction, III t!Jt paNe issuance ofa restraining order and preliminary
          iQiunction or other similar relief(herein "Injunctive Reljer') without advance notice to any of
          PP, preventing the disclosure or Illy fUrther disclosure ofConfidential Information protected by
          the terms hereof, pending the decision of the AIbiltator or Court. The Parties fUrther
          acknowledge and agree thst in conoc:ctioo with any such proceedinllo any Party may obtain from
          the Court or AIbitmtor on an ex parte application or noticed motion without opposition, an order
          scaling the file in my mch proceeding, and the Parties stipulate to the factual and legal basis for
          isaumce of an order sealing the file in any suoh proceedings. The rights and remedies sot forth
          in this Injunctive Relief Section &Ie without prejudice to any other rights or remedies, legal or
          equitable, thst the Parties may have as a result of any breach of this Agreement

                   S.2     Dispute Resolution. In recognition of the mutual beoofits to DD and PP ofa
          voluntary system of alternative dispute resolution whieh involves binding confidential arbitmtion
          of all disputes which may arise betweeo them, it is their intention and agreement that any and all
          clAims or controver1iies ari.ing between DO on the one hand, and PP on the other hand, shall be
          resolved by binding confidential Arbitmtion to the grealEot extent permitted by law. Arbitration
          shaI1 take place before lAMS ENDISPLrIll ("JAMS") pursuant to JAMS Comprehensive
          AIbitration Rules and Procedures ('mcluding Interim Measure.) ("JAMS Ruleo") and the law
          seJected by DD, (such .election shall be limited to either, California, Nevada or Arizona), or
          before ACfION DISPUTE RESOLUTION SERVICES ("ADRS'') pursuant to the ADRS Rules
          (includinlllnterim Measures) and the law selected by DD (whichever the claimant elects upon
          filiDg an arbitmtion), in a the location selected by DD, and will be heard and decided by a sole,
          ooutra1 arbitrator ("Arbitrator") selected either by agreement of the Parties, or iftbe Parties are
          unable to agree, then selected under the RuJea of the selected arbitration service. The costs and
          fees associMed with any Arbitrator and/or Arbitmtion service shall be split equally among the
          parties to any such dispute. The Parties shall have the right 10 conduct diseovery in accordance
          with the California Code of Civil Procedure Section 1283.05 d. seq. or any similar provision
          existing in the jurisdiction selected by DD and the wri~n disoovery requesIB and resullB of
          discovery shaU be deemed to constitute Confidentia1lnformation. The Arbitmtor shall have the
          right to impose all legal and equitable remedies thst would be available to any Party before any
          governmental dispute reaolution forum or court ofcompetent jurisdiction, including without
          limitarion temporary, preliminary and permanent injunctive relief, compematory damages,
          \iquidaled damoges. accounting, disgorgemenl, specific performance, attorneys fees and oosts,


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          and punitive damages. It is understood and agreed that each of the Parties shall bear his/its own
          attomeys' fees, expert fccs, oonsulting fees, and other litigation costs (if any) omatily
          IIB80ciated with legal proceedings taking place in a judicial folUlll, subject to the Arbitrator's
          reassessment in fivor ofthe prevai1illg party to the cxteIIt pennitted by law. Each oftbe PartI..
          uDdemuds, aellllowledges ud qrees lbat by aamlag to ubllradoD as provided bereln,
          eacb of tile Parties Is giving .p uy rigbt tbat belshellt may bave to a trial by judge or jury
          wilb regard to tile matten whicb are required to be lubmltted to malldatory aDd bladlall
          Arbltradoll psnuut to lbe terms bereof, Each 01 lbe Parties furlber uudenlJlI,d..
          acllllowJedges ud agrees that tbere il DO riabt to aD appeal or a review of u Arbltrotor',
          award al Ibere would be a right of appeol or review of a judee or jury's declsloD.

                  6.0    MUTUAL RELEASES
                  6.1    Exc.pt for the rights and obligatious of the Parties s.t forth in this Agreement,
          DO, for hims.lf, and each of his representatives, agents, assigns, heirs, partn.rs, companies,
          afliIi.ted companies, employees, iusurers and attomcyo, absolutely and forever relesaes and
          discb.uges PP, individually, and all oHP's hew, and PP's attorneys, and e""h ofthem ("PP
          Rei......"), of and from any and all claims, demands, damages, d.bts,liabilities, accounts,
          reckonings, obligations, costs (including attorney's fees), expenses. liens. actions and causes of
          actions ofevery kind and nature whatsoever. whether known or unknown, from the beginning of
          time to the effective date of this Agreement, including without limitation any and all matters,
          fact>, claims andIor defenses asserted or which could have been asserted in the Matter, or whieb
          could bave been ....rted in any other l.gal action or proceeding, except as may b. provided
          herein (the "DO R.leased Claims").

                   6.2    Except for the rights and obligations ofthe Parties set forth in this Agreem.nt, PP,
          fur herself, and her repr.sentatives, agents, assigns, hew, par1nCIll, companies, afliIiated
          compani.s, employees, iusnrers and attorneys, absolutely and forev.r rei.... and discharg. DO,
          individunl1y, and each ofhis representatives, agents, assigns, h.irs, partnCIll, companies,
          affiliated companies, subsidiaries, employees, attorneys, successors, insurers, and each of them.
          ("DO Releasees"), ofand from any and all claims, demands, damages, debt>,liabilities,
          8CCOlIDIS, reckonings, obligations, costs (including attorn.y's fees), expenses, liens, actions and
          causes of actions ofevery kind and nature whatsoever, whether known or unknown, from the
          beginning oftime to the date ofthis Agreement, including without limItatiOD any and all matters,
          facts, olaims andIor defenses BBserted or which could have been asserted ill the Action, or which
          could have been ....rted in any other legal actioD or proceeding (the "PP Rel..sed Claims")..

                 6.3    The subject matter referred to in paragraphs 6.1 and 6.2, above (i.e.. the DO
          Rel.ased Claims and PP Released Claims), are collectively referred to as th. "Relesaed Matters."

                  6.4   The Parties bereto, and each of them, h.reby WBIT8Dt, represent and agree that
          each ofthem is fully aware of §1S42 ofthe Cjyjl Code ofth. StaleofCalifomia, whiebprovides
          as follows:

                        "A g.....raJ release does Dot extend to claims which the creditor
                        does DOl know or suspect to exist ill his favor at th. time of
                        executing the relesae. which If known by him must have materlaJly
                        affected his settlement with the dehtor."


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          The Partl_,       d eodl of th..... wluDtul1y waive the proYilIoDI of CailforDI. Clvll Code
          § 1~2, ...d      y other l1IIIII.r federal .Dd .tate II" .1 to ...y .nd all c1aimt, d.....nd..
          cau... of   .ctio., or chU1Ifl of every kiDd .nd ••lure Wbilioevet, whether bown or
          lIllIlno..., IUllpeded or unlDspeded.

                                6.4.1     For .voidance ofany doub~ by virtue oflhis Settlement and this
                                Settlement Agreemen~ the parties hereby walve any UIlImowo claims
                                against each other individually. and each of their tqltCllCtltatives, agents,
                                assigns, heirs, p_ers, companies, affiliated companies, subsidiaries,
                                employees, attorneys, successors, insurers, and each ofthem.

                  6.5      Each of the Parties hereto acknowledges and IgreeS that lhis Agn:ement
          COll8titutes I settlement and compromioc ofclaims and defenses in dispute, and shall not be
          construed in any fashion IS an admission oflilbility by any party hereto.

                  7.0     CONFIDENTIALITY OF THIS AGREEMENT

                  7.1     The Parties, teSj>ectively, shall not to disclose the tenns of this Agn:emen~ either
          directly or indirectly. to the medii or to anyone else other thsn their respective sttomeyI and
          rqltaentatives and/or as may bo required by law. PP may not comment or make any press
          releases or otherwise discuss the resolution of the subject of this Agreement

                  U       MISCELLANEOUS TERMS

                  8.1     Entire Agreement. This Agreemeot constitutes the entire agreement and
          understanding concerning the Released Matters hereof between the Parties hereto and SUPCllledes
          any and all prior negotiations and proposed agreement and/or agreements, written and/or oral,
          between tho Parti... Each of the Parties hereto ackDowledges 1hst neither they, nor any other
          party, nor any agent or attorney of any other party has made any promise. repRsentation, or
          warranty wbatsoev.... expressed or implied, written or ora1, which is not contained herein.
          ooocerning the subject matter hereof, to induce it to execute this Agreement, and each of the
          Parties hereto acknowledges that shoIbo has not executed lhil Agreement in reliance on any
          promise, represenllllioo, and/or wamJlty not contained bcrein. This Agreement shall bo binding
          on and inure to the bonefit of Ibe Parties, the Release.., and esch oftboir respective IlUcees,ors
          and usigns and designees.
                  8.2     PD's Election of either Cllifomja, Nevada or Arizona Law & \'enyc. This
          Agreement and any dispute or controversy relating to this Agreemen~ shall in all respects bo
          construed, in1elprated, enforced and governed by Ibe laws of the State of California, Arizona or
          Nevada at 00'1 election. Attorneys' Fe.. in the case ofa DisPute. In the event ofany dispute,
          action, proceeding or controversy regarding the exialence, validity, interpretation, perfonnance,
          enforoernen~ claimed breach or threatened breach of this Agrecmeot, Ibe prevailing party in any
          resulting arbitration proceeding and/or court prooeeding shall bo cotit1ed to recover as an element
          ofsuchPar!y's costa ofsui~ and not as damages, allattomeys' fees, costa and c:xpen5OS incurred
          or sustained by such prevailing Porty in collDOClion with such action. includin& without
          limitatioo, legal fees and costa.




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                 8.3     Attorney fces and Costs in Formation ofthjs AIVMPfr!t. The Partie, shallcach
          bear their own costs, ..pert fees, attorneys' fees and other fe.. incurred in connection with the
          creation thiB Settlement Agreemenl

                  8.4     WaiVcrl; Modjficaliop. This Agreement C8lI.IlOt be modified or cbanged ..ccpt
          by written in.slIument signed by all of the Parties bereto. No waiver ofany of the provisions of
          thiB Asr->t shall he deemed to constitulc a waiver ofany other provision, whether or DOt
          similar, nOl" shall any waiver constitulc a continuing waiver. No waiver sball be binding unl..,
          executed in writing by the party making the waiver.

                   g.s     Scope ofProyjsiopa/severabjlitvlHsadipSS. None of the Parties hereto shall be
          deemed to be the drafter of this Agn:emenl, bot it shall be deemed that this Agreement was
          joinUy drafted by ea<:h of the Parties heroto. Should any provision of this Agreemcnt be found to
          be ambiguous in any way, such ambiguity sball not be resolved by consU'Uing thiB Apema1l in
          favor ofor S&'linst any party herein, but rather cooslnling the terms of this Apement .. a whole
          according to their fair meaning. In the event that any provision herccf is deemed to he illegal or
          Ullenfon:cable, such a determinstion shall not affect the validity 01" eofon:eability of the
           remaining provisions thereof, all of which shall remain in full force and effecl Notwithstanding
           the foregoing, if a provision is deemed to be megal the Parties agree to waive any defense on
           said grounds. In the ovent that such any provi,ioo shall he deemed invalid due to its scope 01"
           breadth, such provision shall be deemed valid to the extent of the scope or breadth permi1led by
           law. The caplions appearing at the commencement of certain paragraphs herein arc descriptive
           only and for convenience of refe<ence. Should there be any conflict between any such caption or
           heading and the paragraph at the caplion ofwhich it appears, the paragraph, and notsucb
           caption, shall conb'Ol and govern.
                  8.6      Advice ofCounscl and Upcimt,gdjog of this RiMipg Amnpmt. Each of the
          Parties reprcselltS, acknowledges, ODd declares !hat sheIhc: has received the Bdvice of legal
          counsel of hislher own choosing regarding the form, substance, ODd effect of thiB Agreemcnt
          Each of the Partie. repres""ts, acknowledges, and declares that shclhc has carefully read this
          Agreement, !mows and understands this Agreement's contento, ODd signs this Agreement freely,
          volunlllrily, sod without eitber coen:ion or duress. Each of the Parties represent! and warrants
          that shei1le is fully competent to manage hislber business affairs, and thatshelbc has full power
          ODd authority 10 execute this Agreemen~ and to do any and all of the things reasonably required
          hereunder; ODd that this Agreement, when signed by all Partie., is a valid ODd bindin& agreemen~
          enforceable in accordance with ill terms.

                8.7    Further Execution. In order 10 carry out the tenos and conditio.. ofthiB
          Agreement, PP agre.. to promptly ..ecute, upon reasonable request, any and all documents and
          ins_Ill neceosary to effectuate the terms ofthiB Agreement

                  8.8     Ngtjce PmvisiollS. Any notice, demand or request that ooe Party desires, or is
          required to give (including acrvice of ouy subpoena, COWl pleadings, summons llDdIor
          complaint), to the ocher Party mUlt be prnmptly communicaled to the other Party by using their
          rcopcc:tive CCllIacl informatioo below, by both (i) e-mail or facsimile; Il!l!i (it) teJephcae. Either
          Party may cbange his or her conlset information by notifying the other Party of said change(s)
          pursuant to the applicable tenos herein.



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                        8.8.2 To PP as follows:

                               C/O KEITH M. DAVIDSON, ESQ.
                               8383 Wilshire Boulevard, Suite 510
                               Beverly Hills, CA 9021l
                               tel. 323.658.5444
                               f.... 323-658-5444
                               e-mail: keith@KmdLaw.com

                  8.9. This Agreement may be executed with one or more separate countetparlS, each of
          whlcb, when so executed shall be dcemed to be an original and, together shall COIISlitute and be
          one and the same instrument AJJ.y executed copie. or signed COUDteIJlarts of this Agreemen~ the
          Declaration, and any other documentation may be executed by .canned/printed pdf copies of
          signatures and/or facsimile aignatuRs, which·shall be deemed to have the same fon:e and effect
          as if they wete original signatures.

                 IN WITNESS W~REOF, by their signatures below, the Parties each have approved
          and executed this AgteelI1C1lt as of the cffective date first set forth above.




          DATED:                     , 2016



           DATED:   {Jd zy;          ,2016




           DATED:      lo/as         ,2016



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          DATED:




          DATBD:           ~. 2016         A!J to Form:




                                           Attorney for DO




                   IO/Z!    .2016          As to Form:


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          DATED:
                    I



                                             ~V'~'~4Q.
                                           Attorney for _

                                                 ~~"'~... ~




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                     EXHIBIT "A" TO THE CONFIDENTIAL
                  SETTLEMENT AGREEMENT AND RELEASE;
                   ASSIGNMENT OF COPYRIGHT AND NON-
                       DISPARAGMENT AGREEMENT

                                  SIDE LETTER AGREEMENT

                                    DATED if}            / ).{f /2016.
           To Whom It May Concern:

                  This Side Lener agreement is entered into by and on behalf of the Parties with
          respect to the Confidential Settlement AgJ;eement and Mutual Release entered into by and
          between them on or about    tfJd    ;;l. f{ . 2016 ("Settlement Agreement"). in which
          Stephanie Gregory Clifford a :          til. I I  , is referred to by the pseudonym,
          "PEGGY PETERSON," and                              is referred to by the pseudonym
          "DAVlD DENNISON."

                  It is understood and agreed that tbe true name and identity ofthe person referred
          to as " PEGGY PETERSON" in the Settlement Agreement is Stephanie Gregory Clifford
          a.k.a. Stormy Daniels and that any reference or designation to PEGGY PETERSON shall
          be deemed the same thing as referring 10 Stephanie Gregory Clifford a.k.a. Stormy
          Daniels by her true name as identified herein.

                  It is understood and agreed that the true name and i d l M l f e r r e d
          to as "DAVID DENNISON" in the Settlement Agreement is                            , and
          that any refere......      ,,:.,. DAVID DENNISON sh                  eemed the same thing
          as referring to                      by his true name as identified herein.

                  It is understood and agreed that the
          as "Ee, LLC" in the Settlement Agreement is
          and that any             r"            0
          referring to
          identified herem.

                  It is further acknOWledged and agreed by the parties that notwithstanding the
          provisions of Paragraph 7.1 oflbe Settlement Agreement (which provides that the
          Settlement Agreement constitutes the entire agreement between the Parties with respect
          to the matters herein and in supersedes all prior and contemporaneous oral and writtcn
          agreements and discussions pertaining to the matters herein), this Side Letter agreement
          shall be deemed part ofthe agreement between the Parties. Accordingly, Paragraph 7.\ of
          the Settlement Agreement is hereby amended via supplanting tn provide as follows:

                        ".1.1 Integration. The Side Letter agreement entered
                        into by the Parties concurrently with their entry into this
                        Agreement shall be deemed part ofthis AlUCCmenl. and
                        this Agreement and the Side Letter "llteement together
                        constitute the entire agreement between the Parties with
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                            respect to the mattcn hc~in and supersedeJ aU prior
                            and COIltcmporanoous oral and written aeroemeots llIld
                            discu.aions per1IIining to the matters berein...

                    For avol<lance of doubt, it Ii further agreed that this Side Letter Iglee""",t sball
            """,titulo Coo11dent1allDformation as defined in the SeUlemeDl Agreemeot, that neilber
            this Side Letter agn:cment nor any portion hereof may be disclosed to anyone except as
            and to the extent expressly provided in the Settlement Agreement, and that any
            unauthori2ed disclosure or use ofthis Side Letter agreement or any portion hereof sball
            constitute a ""'terial breacb of the onnfidentiality proviaioDi ofthe Settlement
            Agreement.

                    It Ii further agreed that neith                                .a document, and that
            only Keith M. Davidson, Esq. AND                                        counael for Ibe parties
            herein), sba11 maintain pos....io. 0 .t or access to this Sidi: Letter qreoment. FOR
            AVOIDANCE OF DOUBT, THE PARTIES HERETO AGREE AND CONFIRM THAT
            TIiIS SIDE LETTER AGREEMENT IS DEEMED "AITORNEY'S EYES ONLY."

                    This Side Letter agreement may be executed in counterparts and when each Party
             bas signed and delivered one sucb counterpart to the other Party, each counterpart sba11
             be deemed an original, and all counterparts taken together ,hall CODititute one and the
            same Agreement, which sball bc binding and elfective as to the Panies. The Agreement
            may be executed by facsinule or electronic PDF signatures, which sball have the &am.
            force and effect as if they were origiDals.

                    By sign· g ~~' eacb oflbe Panies signifies their agreement to the terms bereof


             ,,'erj.~cOn:', "iah';····_·da~;::·.-
            PEO Y PETERSON a            o. Stephanie Gregory
            Clifford a.k.s. Stormy OanMIIs                                           ir''''::=''''''''''''~~~~~O=O=;I
                                                                                        ~                 'RlCA JACkSON




                                                                            date
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                                                                                         ~:!"          NotOfY 10 130• .,626

            DAVID DENNISON a.k.a.




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                                                   EXHIBIT 3
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   complaint fled a the FederalEl,ection
   Commissio (FEC) by Co'mmon Cause. The
   compllaint alleges tha somehow viollated
   cam ai"g finance laws by facil·tat·ng an
   exc,ess, . -kind contribution. The allegations in
   the c,ompla-nt are factually unsupported and
   without e,gal merit, and y counsel has
   submi ted a response to 'he FEe.

   I am Mr. Trump's lo,ngtim,e speciall co nsel and
   hav,e proudly served in that rol'efor more •han a
   decade. In a private ransaction in 2016, I used
   my ow personal funds 0' facili a e a payment
   of $,130,000 to s. Stephanie C ifford. either
   the ,rump 0 981 lization lor the rumlp
   cam aj'.g was a party to the transact-on w-t                              I



   Ms. Cli ford, a d neither reimbursed: e for e
   payme t, either direct y or -ndirectly. Tie
   payme t to Ms. Clifford was awfu I and was
   not a campai,gn con ribut-on or a camlpaign
   expenditure by anyone_

   I do not plan to provide a, Iy furt er commen
   on the FEC atte or r,e,gard-ng Ms. Crfford!

   IIJust because somethi 19 isn ' true doesn't
   mea that it can't cause you har or damage. I
   wil always protect IMr. Tru p. I
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                        Exhibit 3
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                      CONFIDENTUL SETTLEMENT AGREEMENT
                       AND MUTUAL RELEASE; ASSIGNMENT OF
                        COPYRIGHT AND NON-DISPARAGMENT
                                  AGREEMENT

         1.0    THE PARTIES

         1.1     This Settlement Agreement and Mutual Release (hereinafter, this "Agreement") is
 made and deemed effective as of the L {.( day of October, 2016, by and between "EC,
 LLC" and/or DAVID DENNISON,~n the one part, and PEGGY PETERSON, (PP), on
 the other part. ("Ee, LLC," "DD" and "PP" are pseudonyms whose true identity "Will be
 acImowledged in !l Side Letter Agreement attached hereto as "EXHIBIT A") This Agreement is
 entered into with reference to the facts and circumstances contained in the following recitals.

         2.0    RECITALS

         2.1    Prior to entering into this Agreement, PP came into possession of certain
 "Confidential Infonnation" pertaining to DD, as more fully defmed below, only some ofwhich is
 in tangible fonn, which includes, but is not limited to information, certain still images and/or text
 messages which were authored by or relate to DD (collectively the "Property", each as more
 fully defined below but which all are included and attached hereto as Exhibit "1" to the Side
 Letter Agreement).

         2.2    (a)     PP claims that she has been damaged by DD's alleged actions against her,
 including but not limited to tort claims proximately causing injury to her person and other related
 claims. DD denies all such claims. (Hereinafter 'Ipp Claims").

                 (b)    DD claims that he has been damaged by PP's alleged actions against him,
 including but not limited to the alleged threatened selling, transferring, licensing, publicly
 disseminating and/or exploiting the Images and/or Property and/or other Confidential
 Infonnation relating to DD, all without the knowledge, consent or authorization ofDD. PP
 denies all such claims. (Hereinafter "DD Claims").

                (c)     The PP Claims and the DD Claims are hereinafter collectively referred to
 as "The Released Claims."
         2.3     DD desires to acquire, and PP desires to sell, transfer and tum-over to DD, any
 and all tangible copies of the Property and any and all physical and intellectual property rights in
 and to all ofthe Property. As a condition ofDD releasing any claims against PP related to this
 matter, PP agrees to sell and transfer to DD all and each of her rights in and to such Property. PP
 agrees to deliver each and every existing copy of all tangible Property to DD (and permanently
 delete any electronic copies that can not be transferred), and agrees that she shall not possess, nor
 directly nor indirectly disclose convey, transfer or assign Property or any Confidential
 Infonnation to any Third Party, as more fully provided herein.

         2.4    It is the intention of the Parties that Confidential Information, as defined herein,
 shall remain confidential as expressly provided hereinbelow. The Parties expressly
 acknowledge, agree and understand that the Confidentiality provisions herein and the


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                                                                                                       DD
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  representations and warranties made by PP herein and the execution by her ofthe Assignment &
  Transfer ofCopyright are at the essence ofthis Settlement Agreement and are a material
  inducement to DD's entry into this Agreement, absent which DD would not enter into this
  Agreement. DD expects and requires that PP never communicate with him or his family for any
  reason whatsoever.
            2.5     The Parties wish to avoid the time, expense, and inconvenience ofpotential
   litigation, and to resolve any and all disputes and potential legal claims which exist or may exist
   between them, as of the date of this Agreement including but not limited to the PP Claims and/or
   the DD Claims. The Parties agree that the claims released include but are not limited to DD's
   Claims against PP as relates to PP having allowed, whether intentionally, unintentionally or
   negligently, anyone else other than those listed in section 4.2 herein below to become aware of
   the existence of and content ofthe Property, to have gained possession of the Property, and to
   PP's having allegedly engaged in efforts to disclose, disseminate and/or commercially exploit the
   Images and/or Property and/or Confidential Information, and any harm suffered by DD
   therefrom. The Parties agree that the claims released include but are not limited to PP's Claims
   against DD as relates to DD having allowed, whether intentionally, unintentionally or
   negligently, anyone else to have interfered with PP's right to privacy or any other right that PP
   may possess.

           2.6    These Recitals are essential, integral and material terms ofthis Agreement, and
   this Agreement shall be construed with respect thereto. The Parties enter into this Agreement in
   consideration of the promises, covenants and conditions set forth herein, and for good and
   valuable consideration, the receipt of which is hereby acknOWledged. It is an essential element of
   this Settlement Agreement that the Parties shall never directly or indirectly communicate with
   each other or attempt to contact their respective families. This matter, the existence of this
   Settlement Agreement and its terms are strictly confidential.
           NOW, THEREFORE, the Parties adopt the foregoing recitals as a statement oftheir
   intent and in consideration of the promises and covenants contained herein, and further agree as
   follows;




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       3.0     SETTLEMEl"'IT TERMS

             3.0.1.1 Be, LLC SHALL FAY TO PP $130,000.00 U.S.D. AS FOLLOWS:

                3.0.1.1.1   $130,000.00 USD shall be wired into PP's Attorney's Attorney Client
                            Trust Account on or before 1600 hrs. PST on 1O/27/16.(Hereinafter
                            "Gross Settlement Amount"). PP's Attorney's Wiring Instructions are:

                            Bank Name:                      City National Bank
                            Bank Address:                   8641 Wilshire Blvd.
                                                            Beverly Hills, CA 90211
                            ABA Routing No:                 122016066
                            Beneficiary Account Name:       Keith M. Davidson & Associates,
                                                            PLC, Attorney Client Trust Account
                            Beneficiary AccolU1t No:         600106201
                            Beneficiary Address:             8383 Wilshire Blvd. Suite 510
                                                             Beverly Hills, CA 90211
                            SWIFT Code:                      CINA US6L


                3.0.1.1.2   Keith M. Davidson, Esq. shall receive the Gross Settlement Amount in
                            Trust. No portion of the Gross Settlement Amount shall be disbursed
                            by Attorney for PP unless and until PP executes all required
                            Settlement Documents.

       3.1      Undertalcings & Obligations by PP. PP will do each of the following by 11/01/16:

                (a)     PP shall execute this Agreement and return a signed copy to DD:

               (b)     PP shall transfer and!or assign any and all rights in and to the Property to
DD (as set forth hereinbelow), and execute an Assignment & Transfer of Copyright, in the form
attached hereto, and return a signed copy of same to DD's counsel~

                (c)    PP shall deliver to DD every existing copy of all tangible Property. PP
shall completely divest herself of any and all artistic media, impressions, paintings, video
images, still images, e-mail messages, text messages, Instagram message, facebook posting or
any other type of creation by DD. PP shall transfer all physical, ownership and intellectual
property rights to DD;

                                    (1)    PP shall deliver to DD any and all non-privileged
correspondence concerning or related to DD between PP and any 3rd party.

                (d)     PP shall not, at any time from the date of this Agreement forward, directly
or indirectly disclose or disseminate any of the Property or any Confidential Information
(including confirmation of the fact that it exists or ever existed, and/or confIrming any rumors as
to any such existence) to any third party, as more fully provided herein.

               (e)     PP shall provide to DD (to the extent not already done so and set forth in
paragraph 4.2 hereinbelow), sununary details disclosing to whom PP (or anyone else on PP's
be ali) disclosed, displayed to, disseminated, transferred to, provided a copy to, and/or

                                              Page 2                                             ~
                                                                                                   DD
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       distributed, sold, licensed or otherwise sought to have commeroiallyexploit, the Images and/or
       Property and/or any Confidential Information.

                      (f)    PP shall provide to DD's counsel the names and contact information of
       each an~ any perso~s ~r entities who: (1) PP has provided to or who otherwise obtained
       pOSsessIOn ofthe ongmal and/or any copies of any ofthe Images and/or any Property, ifany, (li)
       to whom PP has scanned the ~ages and/or any Property at any time, and (ill) to whom PP
       knows ~ad, ~as or ~y potentially have possession of a copy ofthe Images and/or any Property
       at any time, mclu~g ~ut not limited to the present time (and specify with detail to which ofthe
       referenced categohes (I.e., possession, shown, past; present, etc.) any name corresponds, the
       name so relates).

                  . \g) ,PP shallpfovide to DD's counse,t copies of any agreements andlor other
       do~umentation m PP s possesslOn, custody or control, lfany, :regarding (e) and/or (t) above, that
       eVIdences who has or may have been provided a copy of any ofthe Property.

                 3.2 . Transfer of Property Rights to DD. In further consideration for the promises,
       covenants and consideration herein, PP hereby transfers and conveys to DO all ofPP;s
       respective rights, title and interest in and to the Property, and any and all physical and intellectual
       property rights related thereto. Without limiting the generality ofthe foregoing, PP does hereby
       sell, assign, and transfer to DD. his successors and assigns, throughout the universe in perpetuity,
       all ofPP's entire right, title, and interest (including, without limitation, all copyrights and all
       extensions and renewals of copyrights), ofwhatever kind or nature in and to the Property,
       without reservation, condition or limitation, whether or not such rights are now known,
       recognized or contemplated, and the complete, unconditional and unencumbered ownership and
       all possessory interest and rights in and to the Property; which includes, but is not limited to the
       originals, copies, negatives, prints; positive, proof sheets, CD-roms, DVD-roms, duplicates,
       outtake and the results of any other means of exhibiting, reproducing, storing, recording and/or
       archiving any of the Property or related material, together with all rights of action and claims for
       damages and benefits arising because of any infringement ofthe ~opyright to the Property, and
       assigns and releases to DD any and all other proprietary rights and usage rights PP may own or
       hold in the copyright and/or Property, or any other right in or to the Property. PP assigns and
       transfers to DD all of the rights herein granted, without reservation, condition or limitation, and
       agrees that PP reserves no right of any kind, nature or description related to the Property and
       contents therein. Notwithstanding the foregoing, if any of the rights herein granted are subject to
       termination under section 203 of the Copyright Act, or any similar pr:ovisions ofthe Act or
       subsequent amendments thereof, PP hereby agrees to re-grant such rights to DD immediately
       upon such termination, All rights granted herein or agreed to be granted hereunder shall vest in
       DD immediately and shall remain vested in perpetuity. DD shall have the right to freely assign,
       sell, transfer or destroy the Property as he desires. DD shall have the right to register sale
       copyright in and to any ofthe Property with the US Copyright Office. DD shall also have the
       right, in respect to the Property, to add to, subtract from, change, arrange, revise; adapt, into any
       and all form of expression or tangible communication, and the right to combine any ofthe
       Property with any other works ofany kind and/or to create derivative works with any of~e
       Property, and to do with it as she so deems. To the fullest extent allowable under the applicable
       law, PP shall irrevocably waive and assign to DD any ofPP's so-called "moral rights" or ':dr?it
       moral" (laws for the protection of copyrights outside ofthe United States), if any, or any s~
       rights under any principles of law which PP may now have or later have in the Property. With
   .    es
       r o w .  •. and In furtherance ofthe above, PP agrees to and shaU execute and deliver to DD an
       ~                                              Page 3                                           -4iD
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   "Assignment & Transfer of Copyrighf', in the form attached hereto as Exhl'bit "B". For greater
   certainty the foregoing assignment shall be applicable worldwide.

                  3.2.1 Notwithstanding the foregoing paragraph 3.2, and without in anyway
   limiting or diminishing from the full transfer and assignment of rights therein without
   reservation, the Parties understand the purpose of the transfer of rights is to provide DD the
   fullest possible ability and remedies to prevent and protect against any publication and/or
   dissemination ofthe Property.

             3.3     Delivery ofthe Property to DD. ConcU11'ently upon execution of this Agreement,
   PP, as applicable, shall deliver to DD, by delivery to his counsel herein, aU of the Property which
   is embodied in tangible fonn (all originals and duplicates), whether documents, canvasses, paper
    art, digital copies, letters, prints, electronic data, films, tapes, CD-Roms, DVD-Roms, Images
   recording tapes, photographs, negatives, originals, duplicates, contact sheets, audio recordings,
   Images recordings, magnetic data, computerized data, digital recordings, or other recorded
   medium or any other format of embodying information or data. Without limiting the generality
   ofthe foregoing, such tangible Property shall include all documents as dermed by California
   Evidence Code §250 which contain any of the Property. PP represents and warrants that the
   materials delivered pursuant to the terms ofthis Paragraph 3.3 comprise the totality of all
   existing originals and duplicates of all Property in any tangible fo:nn, whether within their
   possession, custody or control.; and including othelWise (and that PP knows ofno other copies or
   possible or potential copies not in PP's possession and control and delivered pursuant to this
   paragraph), and that upon such delivery to DD, PP shall not maintain possession, custody or
   control of any copy of all or any portion of any tangible Property. The Property Delivered under
   this Paragraph shall become Exhibit I to the Side Letter Agreement. For avoidance of any doubt,
   PP, nor her attorney are entitled to retain possession of saidProperty after execution of this
   Agreement. The retention of said Property by PP is a material breach ofthis agreement.

                   3.3.1 This Agreement i$ conditioned on PP's compliance with each and every
   tenn of the Settlement Agreement including Paragraph 3.3 and the personal verification by DD
   or his attorney of the Images and that the Images are comprised of and captures the content
   previously represented to his counsel to exist and be captured therein (i.e., text messages
   between PP and DD), all ofwhich terms are essential and material.

          4.0     CONFIDENTIALITY & REPRESENTATIONS & WARRANTIES.

          4.1     Definition of Confidential Information. "Confidential Information" means and
   includes each and all ofthe following:

      .           (a)      All intangible information pertaining to DD andlor his family, (including
   but not limited to his children or any alleged children or any ofhis alleged sexual partners,
   alleged sexual actions or alleged sexual conduct or related matters ),and/or friends learned,
   obtained, or acquired by PP, including without limitation information contained in letters, e-
   mails, text messages, agreements, documents, audio or Images recordings, electronic data, and
   photographs;            .

                  (b)    All intangible infomiation pertaining to the existence and content ofthe
   Property;


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                   (c)    AlL intangible private infonnation (i. e., information not generally available
   to andlor known by the general public) relating and/or pertaining to DD, including without
   limitation OD's business information, familial infonnation, any of ills alleged sexual partners,
   alleged sexual actions or alleged sexual conduct, related matters or paternity information, legal
   matters, contractual information, personal information, private social life, lifestyle, private
   conduct, (all information/items in 4.1 "(a)", 'I(b)" and "(c)" are sometimes collectively referred
   to as, «Intangible Confidential Information");

                    (d)      All tangible materials of any kind containing information pertaining to DD
   learned, obtained, participated or acquired by PP, including without limitation letters,
   agreements, documents, audio or Images recordings, electronic data, and photographs, canvas
   art, paper art, or art in any other form on any media. The Images and Photos and all
   information/items in 4.1 (d) are collectively referred to as, the "Property" and/or the ''Tangible
   Confidential Information");

           4.2     PP's Representations & Warranties Regarding Prior Disclosures ofTangible
   Confidential Information. PP represents and warrants that prior to entry into this Agreement, PP
   has directly or indirectly disclosed any Tangible anJor Intangible Confidential Infonnation (i.e"
   any ofthe Property), to any Third Party, including without limitation disclosure or indirect
   disclosure of the content of such Confidential Infonnation in tangible form, other than the
   following persons or entities to whom PP has made such prior disclosures (herein "PP Disclosed
   IndividualslEntities"):

          a)

          b)

          c)

          d)

          e)

          f)

          g)

          h)

          i)

          PP shall not be responsible for any subsequent public disclosure ofany of the
  Confidential Information (a) attributable directly to each ofthem; andlor (b) not disclosed
  hereinabove as a previously disclosed PP Disclosed IndividualslEntities, and any such disclosure
  shall be deemed a breach of this Agreement by PP. For greater clarity, PP must not induce,
  promote or actively inspire anyone to disclose Confidential Information.




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          4.3     Representations & Warranties and Agreements.

                   (a)   Representations & Warranties and Agrevments By DD. The following
   agreements, warranties and representations are made by DD as material inducements to PP to
   enter into this Agreement, and each Party acknowledges that shelhe is executing this Agreement
   in reliance thereon:

                  (b)      DD warrants and represents that, as relates to or in.connection with any of
   pp'g attempts to sell, exploit and/or disseminate the Property prior to the date of this Agreement,
   DD and his counsel will refrain (i) from pursuing any civil action againstPP, and/or (ii) absent a
   direct inquiry from law enforcement, from disclosing PP's name to the authorities.
   Notwithstanding the foregoing, if DD is informed that or should or if it is believed that either of
   PP has possession, custody and/or control of any of the Property after the date ofthis Agreement
   and/or transferred any copies to any Third Party, and/or it is believed that any ofPP, whether
   directly or indirectly, intends the release, use, display, dissemination, disclosure or exploitation,
   whether actual, threatened or rumored, of any for the Property, then DD and his counsel shall be
   entitled to, at DD's sole discretion, (i) contact the respective member ofPP, including with legal
   demands and related statements of liability and legal action, and/or (ii) advance a civil action
   against the respective member ofPP, and/or (iii) disclose any ofPP,s name to the authorities.
                               ,
                  4.3.2  Representations & War:ranties and Agreements By PP. The following
   agreements, warranties and representations are made by PP as material inducements to DD to
   enter into this Agreement, without which DD would not enter into this Agreement and without
   which DD would not agree to pay any monies whatsoever hereunder, and with the express
   acknoWledgment that DD is executing this Agreement in reliance on the agreements, warranties,
   and representations herein which are at the essence of this Agreement, including, the following:

                   (a)     PP agrees and warrants and represents that PP will permanently cease and
   desist from any efforts to and/or attempting to and/or engaging in and/or arranging the use,
   License, distribution, dissemination or sale of any of the Confidential Information and/or
   Property, including any Tangible and/or Intangible Confidential information created by or
   relating to DD;

                  (b)     PP agrees and warrants and represents that PP will permanently cease and
   desist from any posting or dissemination or display of the Confidential Information, Tangible
   and/or Intangible Confidential information created by or relating to DD and/or Property,
   including the Images (including, but not limited to, to any form media outlet, on any blog or
   posting board, on the Internet, or otherwise);

                   (c)     PP agrees and warrants and represents that PP will permanently cease and
   desist from using or disseminating or disclosing any information to any Third Persons (including,
   but not limited to, to any media outlet, on any blog or posting board, on the Internet, or
   otherwise) about any details of or as to the contents of the Confidential Information, Tangible
   and/or Intangible Confidential information created by or relating to DD and/or Property,
   including any Text Messages, and/or as to any other personal details of or about or pertaining to
   DD and/or his family and/or friends and/or social interactions;

                  (d)     PP agrees and warrants and represents that PP will permanently cease and
   desist from and will not, at any time, make any use of or reference to the name, image or likeness

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   of DD many manner whatsoever, including without limitation; through any print or' electronio
   media of any kind or nature for any purpose, including, but not limited to, on any websites;

                   (e)    PP agrees and warrants and represents that any and all existing copies of
   the Images, Text Messages and any Property (other than as expressly specified in paragraphs 3.2
   and 3.3 herein) have been turned over and provided to counsel; and pp further warrants and
   represents that the only copy of the Images and Property that has ever existed, at any time, has
   been turned over to DD's counsel pursuant to this Agreement, and the Images and any Property
   has never been transferred to or existed in any other form, including not in electronic form, nor
   on any computer, or electronic device and other storage media;

                   (f)     PP warrants and represents that PP has not provided any copies, whether
   hard~copy or electronic copies, ofthe Property to anyone other than as specified in paragraph 4.2
   herein);

                  (g)     PP warrants and represents that the information PP is obligated to provide
   pursuant to the terms herein will be complete and truthful;

                   (h)    PP warrants and represents that PP has not omitted or withheld any
   information that PP is obligated to provide pursuant to the terms herein;

                  (i)    PP warrants and represents that PP has not contracted to earn andlor
   collect any monies as compensation from the sell, license andlor any other exploitation ofthe
   Images andlor any Property and/or any Confidential Information, Tangible and/or Intangible
   Confidential information created by or relating to DD nor any monies as compensation or an
   advance for any efforts to sell, license andlor any other exploitation of the Images and/or any
   Property andlor any Confidential Infonnation or any Tangible and/or Intangible Confidential
   infonnation created by or relating to DD;

                   G)      PP warrants and represents that PP has not assigned nor transferred, either
   in whole or in part. any purported rights in or to the hnages andlor any Property to any other
   person or entity, other than to DD pursuant to this Agreement.
                   4.3.3 Agreement By PP Not to Disc10selUse Confidential Information. Tangible
    and/or Intangible Confidential information created by or relating to DD. As further material
   inducements for DD to enter into this Agreement, PP agrees, represents and warrants that she
   shall not directly or indirectly, verbally or otheIWise, publish, disseminate, disclose, post or cause
   to be published, disseminated, disclosed, or posted (herein "disclose"), any Confidential
   Information or Tangible andlor Intangible Confidential information created by or relating to DD
   to any person, group, finn or entity whatsoever, including, but not limited to, family members,
   friends, associates, journalists, media organizations, newspapers, magazines, publications,
   television or radio stations, publishers, databases, blogs, websites, posting boards, and any other
   enterprise involved in the print, wire or electronic media, including individuals working directly
   or indirectly for, or on behalfof, any ofsaid persons or entities ("Third Parties" andlor Third
   Party"). In no event shall PP be relieved of such party's confidentiality obligations herein by
   virtue of any breach or alleged breach of this Agreement. In no event shall any dispute in
   connection with this Agreement relieve PP ofher confidentiality obligations arising pursuant to
   this Agreement, and any disclosure of Confidential Information and/or Tangible andlor
  ' E l e Confidential infurmation created by or relating to DD in connection with any such

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   proceeding or dispute shall constitute a breach of this Agreement. PP shall use their best efforts
   to prevent the unauthorized disclosure of Confidential Information in connection with any such
   proceeding or dispute.

                    4.3.4 Any direct or indirect disclosure of Confidential Information or Tangible
   and/or Intangible Confidential information created by or relating to DD to any Third Party by PP
   and/or any ofher representatives, heirs, agents, children, family members, relatives, confidents,
   advisors, employees, attorneys, transferors, transferees, successors or assigns, and/or any friend
   ofany of PP (collectively "PF GrOUpH), after the date ofthis Agreement, shall be deemed a
   disclosure by PP in breach of the terms ofthis Agreement, entitling the non-breaching Party to
   all rights and remedies set forth herein.

                   4.3.5 PP separately and further warrants and represent that, prior to entering into
   this Agreement, that she has not written, published, caused to be published, or authorized the
   writing, publication, broadcast, transmission or public dissemination of any interview, article,
   essay, book, memoir, story, photograph, film, script, Images tape, biography, documentary,
   whether written, oral, digital or visual, whether fictionalized or not, about the opposing party to
   this Agreement or their family, whether truthful, laudatory, defamatory, disparaging, deprecating
   or neutral, which discloses any Confidential Information and/or which includes any description
   or depiction of any kind whatsoever whether fictionalized or not, about any party to this
   agreement or their respective family, other than as expressly disclosed by PP hereto in writing
   and as set forth herein in paragraph 4.2 above.

                 4.3.6 Agreement By PP Not to DiSJlarage DD. PP hereby irrevocably agrees
  and covenants that she shall not, directly or indirectly, publicly disparage DD, nor write, publish,
  cause to be published, or authorize, consult about or with or otherwise be involved in the writing,
  publication, broadcast, transmission or dissemination of any book, memoir, letter, story,
  photograph, film, script, Images, interview, article, essay, biography, diary, journal,
  documentary, or other written, oral, digital or visual account or description or depiction of any
  kind whatsoever whether fictionalized or not, about DD or his family, whether truthful,
  laudatory, defamatory, disparaging, deprecating or neutral pp further warrants and represents
  that PP has not and will not enter into any written or oral agreement with any third party
  purportedly requiring or obligating PP to do so. Fore greater clarity PP will never discuss with
  anyone the contents ofthis Settlement Agreement, nor will she voluntarily confirm the existence
  ofthis Settlement Agreement.

          4.4     Disclosure Of Confidential Information Is Prohibited: The Parties to this
  Agreement hereby recognize and agree that substantial effort and expense have been dedicated to
  limit the efforts of the press, other media, and the public to learn ofpersonal and business affairs
  involving DD. pp further acknowledges that any future disclosure of Confidential Information
  to any Third Party would constitute a serious and material breach of the terms ofthis Agreement,
  and shall constitute a breach of trust and confidence, invasion ofprivacy, and a misappropriation
  of exclusive property rights, and may also constitute fraud and deceit. Some of the Confidential
  Infonnation may also constitute and include proprietary business information and trade secrets
  which have independent economic value. The Parties hereto acknowledge that any unauthorized
  use, dissemination or disclosure of Confidential Information, or the fabrication and
  dissemination of false and/or misleading infonnation, about DD would result in irreparable

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  injury to him, and would be injurious to a reasonable person, and/or would constitute an
            violation of the right ofprivacy or publicity, and'or would be injurious to his business,
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   profession, person, family andlor career. The Parties acknowledge that substantial and valuable
   property rights and other proprietary interests in the exclusive possession, ownership and use of
   Confidential Information, and recognizes and acknowledges that such Confidential Infonnation
   is a proprietary, valuable, special and unique asset which belongs to DD and to which the PP has
   no claim of ownership or other interest.
                   4.4.1 Disclosures Permitted By PP. Notwithstanding the foregoing, PP shall
   only be permitted to disclose Confidential Infonnation to another person or entity only if
   compelled to do so by valid legal process, inclUding without limitation a subpoena duces tecum
   or similar legal compulsion, provided that PP shall not make any such disclosure unless PP has
   first provided 00 with notice of such order or legal process not less than ten (10) days in
   advance ofthe required date of disclosure pursuant to the Written Notice provisions set forth
   hereinbelow, providing DO with an opportunity to intervene and with full and complete
   cooperation should she choose to oppose such disclosure. PP agrees that if the valid legal process
   can be stopped by her consent or at her behest then PP shall agree to use best efforts to avoid the
   disclosure ofthe Confidential Infonnation.



           5.0    REMEDIES
            5.1    DO's Remedies for Breach of Agreement. Each breach or threatened breach (e.g.,
   conduct by PP reflecting that said person intends to breach the Agreement)t including without
   limitation by breach of any representation or warranty, by failing to deliver to DD all tangible
   Property as required, by the disclosure or threatened disclosure of any Confidential Information
   to any Third Party by PP (herein "Prohibited Communication"), or otherwise, shall render PP
   liable to DD for any and all damages and injuries incurred as a result thereof; including but not
   limited to the following,all of which rights and remedies shall be cumulative:

                  5.1.1 Disgorgement of Monies: In the event an Arbitrator determines there has
   been a breach or threatened breach of this Agreement by PP, PP shall be obligated to account to,
   and to disgorge and turn over to OD any and all monies, profits, or other consideration, or
   benefits, which PP, or anyone on PP's behalf or at PP's direction, directly or indirectly derive
   from any disclosure or exploitation of any ofthe Confidential Information; and
                  5.1.2 Liquidated Damages: PP agrees that any breach or violation of this
   Settlement Agreement by either ofPP individually or the PP Group by hislher/their unauthorized
   disclosure of any ofthe Confidential Information (as defined in paragraphs 4.l(a), (b), (c), and
   (d» to any Third Partyt and/or any unauthorized exploitation or prohibited use of the same,
   andlor by the breach of andlor by any false representations and warranties set forth in this
   Agreement, andlor any public disparagement of DD by PP (collectively, the "LD Breach
   Terms"), shall result in substantial damages and injury to DDt the precise amount ofwhich
   would be extremely difficult or impracticable to determine, even after the Parties have made a
   reasonable endeavor to estimate fair compensation for such potential losses and damages to DD.
   Therefore, in addition to disgorgement ofthe full amount of all monies or other consideration
   pursuant to paragraph 5.1.2, in the event an Arbitrator determines there has been a breach of the
   LD Breach Terms of this Agreement by PP individually or the PP Group, PP shall also be
   obligated to pay, and agree to pay to DD the sum of One-Million Dollars ($1,000,000.00 as a
   reasonable and fair amount of liquidated damages to compensate DD for any loss or damage

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   resulting from each breach1 it being understood that the Liquidated damages calculation is on a
   per item basis. The Parties agree that such sum bears a reasonable and proximate relationship to
   the actual damages which DD will or might suffer from each breach ofthe terms of this
   Agreement and that this amount is not a penalty. Alternatively, at DD's sole discretion1 DD may
   seek to recover actual damages proximately caused by each such breach, according to proof.
   Any other breaches not a LD Breach Terms shall be subject to a claim for actual damages
   according to proof; furthermore, any monies held in Trust by PP's Attorney shall be frozen and
   shall not be disbursed to PP until the Arbitrator finally resolves the allegation ofBreach.

                   5.1.3 Injunctive Relief. PP aclmowledges and agrees that any unauthorized
   disclosure to Third Parties of any Confidential Information will cause irreparable harm to DD,
   which damages and injuries will most likely not be measurable or susceptible to calculation. PP
   further acknOWledges and agrees that any breach or threatened breach ofthis Agreement due to
   the unauthorized disclosure or threatened disclosure by PP to Third Parties, of any Confidential
   Information shall entitle DD to immediately obtain, either from the Arbitrator and! or from any
   other court of competent jurisdiction, an ex parte issuance of a restraining order and preliminary
   injunction or other similar relief (herein "Injunctive Relief') without advance notice to any of
   PP, preventing the disclosure or any further disclosure of Confidential Information protected by
   the terms hereof, pending the decision of the Arbitrator or Court.. The Parties further
   acknowledge and agree that in connection with any such proceeding, any Party may obtain from
   the Court or Arbitrator on an ex parte application or noticed motion without opposition, an order
   sealing the file in any such proceeding, and the Parties stipulate to the factual and legal basis for
   issuance of an order sealing the file in any such proceedings. The rights and remedies set forth
   in this Injunctive Relief Section are without prejudice to any other rights or remedies, legal or
   equitable, that the Parties may have as a result of any breach of this Agreement.

            5.2     Dispute Resolution. In recognition ofthe mutual benefits to DD and PP of a
   voluntary system of alternative dispute resolution which involves bmding confidential arbitration
   ofall disputes which may arise between them, it is their intention and agreement that any and all
   claims or controversies arising between DD on the one hand, and PP on the other hand, shall be
   resolved by binding confidential Arbitration to the greatest extent permitted by law. Arbitration
   shall take place before JAMS ENDISPUTE ("JAMS") pursuant to JAMS Comprehensive
   Arbitration Rules and Procedures (including Interim Measures) ("JAMS Rules") and the law
   selected by DD, (such selection shall be limited to either, California, Nevada or Arizona), or
   before ACTION DISPUTE RESOLUTION SERVICES ("ADRS") pursuant to the ADRS Rules
   (including Interim Measures) and the law selected by DD (whichever the claimant elects upon
   filing an arbitration), in a the location selected by DD, and will be heard and decided by a sole,
   neutral arbitrator e'Arbitrator'~) selected either by agreement ofthe Parties, or if the Parties are
   unable to agree, then selected under the Rules ofthe selected arbitration service. The costs and
   fees associated with any Arbitrator and/or Arbitration service shall be split equally among the
   parties to any such dispute. The Parties shall have the right to conduct discovery in accordance
   with the California Code of Civil Procedure Section 1283.05 et. seq. or any similar provision
   existing in the jurisdiction selected by DD and the written discovery requests and results of
   discovery shall be deemed to constitute Confidential Infonnation. The Arbitrator shall have the
   right to impose all legal and equitable remedies that would be available to any Party before any
   governmental dispute resolution forum or court of competent jurisdiction, including without
   limitation temporary, preliminary and permanent injunctive relief, compensatory damages,
   liquidated damages, accounting, disgorgement, specific performance, attorneys fees and costs,

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   and punitive damages. It is understood and agreed that each of the Parties shall bear his/its own
   attorneys ~ fees; expert fees~ consulting fees; and other litigation costs (if any) ordinarily
   associated with legal proceedings taking place in a judicial forum, subject to the Arbitrator's
   reassessment in favor of the prevailing party to the extent permitted by law. Each of the Parties
   understands, acknowledges and agrees that by agreeing to arbitration as provided herein,
   each of the Parties is giving up any right that helshelit may have to a trial by judge or jury
   with regard to the matters which are required to be submitted to mandatory and binding
   Arbitration pursuant to the terms hereof. Each of the Parties further understands,
   acknowledges and agrees that there is no right to an appeal or a review of an Arbitrator's
   award as there would be a right of appeal or review of a judge or jury's decision.

           6.0    MUTUAL RELEASES

            6.1    Except for the rights and obligations ofthe Parties set forth in this Agreement,
   DD, for himself, and each ofhis representatives; agents, assigns, heirs; partners, companies,
   affiliated companies, employees, insurers and attorneys, absolutely and forever releases and
   discharges PP; individually, and all ofPP's heirs, and PP's attorneys, and each of them ("pp
   Releasees"), of and from any and all claims, demands; damages, debts, liabilities, aCCOlmts,
   reckonings, obligations; costs (including attomey's fees), expenses, liens, actions and causes of
   actions of every kind and nature whatsoever, whether known or unknown, from the beginning of
   time to the effective date ofthis Agreement, including without limitation any and all matters,
   facts, claims and/or defenses asserted or which could have been asserted in the Matter, or which
   could have been asserted in any other legal action or proceeding, except as may be provided
   herein (the "DD Released Claims").
            6.2    Except for the rights and obligations ofthe Parties set forth in this Agreement, PP,
   for herself, and her representatives, agents, assigns, heirs; partners, companies~ affiliated
   companies, employees, insurers and attorneys, absolutely and forever release and discharge DD,
   individually, and each ofhis representatives; agents; assigns, heirs, partners, companies,
   affiliated companies; subsidiaries, employees, attorneys, successors, insurers, and each ofthem
   ("DD Releasees"), of and from any and all claims, demands, damages, debts, liabilities~
   accounts, reckonings~ obligations, costs (including attorney's fees); expenses~ liens; actions and
   causes ofactions of every kind and nature whatsoever, whether known or unknown, from the
   beginning oftime to the date of this Agreement, including without limitation any and all matters,
   facts, claims and/or defenses asserted or which could have been asserted in the Action, or which
   could have been asserted in any other legal action or proceeding (the "PP Released Claims").,

         6.3    The subject matter referred to in paragraphs 6.1 and 6.2, above (i.e., the DD
  Released Claims and PP Released Claims), are collectively referred to as the "Released Matters."

          6.4   The Parties hereto, and each ofthem; hereby warrant, represent and agree that
  each ofthem is fully aware of §1542 of the Civil Code of the State of California; which provides
  as follows:

                 "A general release does not extend to claims which the creditor
                 does not know or suspect to exist in his favor at the time of
                 executing the release, which if known by him must have materially
                 affected his settlement with the debtor."


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    The Parties, and each of them, voluntarily waive the provisions of California Civll Code
    § 1542, and any other similar federal and state law as to any and all claims, demands,
    causes of action, or charges of every kind and nature whatsoever, whether known or
    unknown, suspected or unsuspected.

                        6.4.1     For avoidance of any doubt, by virtue of this Settlement and this
                        Settlement Agreement, the parties hereby waive any unknown claims
                        against each other individually, and each of their representatives, agents,
                        assigns, heirs, partners, companies, affiliated companies, subsidiaries,
                        employees, attorneys, successors, insurers, and each of them.

           6.5     Each ofllie Parties hereto acknowledges and agrees that this Agreement
   constitutes a settlement and compromise of claims and defenses in dispute, and shall not be
   construed in any fashion as an admission ofliability by any party hereto.

           7.0     CONFIDENTlAUTY OF TillS AGREEMENT

           7.1     The Parties, respectively, shall not to disclose the tenns of this Agreement, either
   directly or indirectly, to the media or to anyone else other than their respective attorneys and
   representatives and/or as may be required by law. PP may not comment or make any press
   releases or otherwise discuss the resolution of the subject of this Agreement.

           8.0    MISCELLANEOUS TERM,S

           8.1     Entire Agreement. This Agreement constitutes the entire agreement and
   understanding concerning the Released Matters hereof between the Parties hereto and supersedes
   any and all prior negotiations and proposed agreement and/or agreements, written and/or oral,
   between the Parties. Each ofthe Parties hereto aclmowledges that neither they, nor any other
   party, nor any agent or attorney of any other party has made any promise, representation, or
   warranty whatsoever, expressed or implied, written or oral, which is not contained herein,
   concerning the subject matter hereof, to induce it to execute this Agreement, and each oftbe
   Parties hereto acknowledges that shelhe has not executed this Agreement in reliance on any
   promise, representation, and/or warranty not contained herein. This Agreement shall be binding
   on and inure to the benefit of the Parties, the Releasees, and each of their respective successors
   and assigns and designees.

           8.2     DD's Election of either California. Nevada or ArlzonaLaw & Venue. This
   Agreement and any dispute or controversy relating to this Agreement, shall in all respects be
   construed, interpreted, enforced and governed by the laws ofthe State of Califamia, Arizona or
   Nevada at DD's election. Attorneys' Fees in the case of a Dispute. In the event of any dispute,
   action, proceeding or controversy regarding the existence, validity, interpretation, perfonnance,
   enforcement, claimed breach or threatened breach of this Agreement, the prevailing party in any
   resulting arbitration proceeding and/or cowt proceeding shall be entitled to recover as an element
   of such Party's costs of suit, and not as damages, all attorneys' fees, costs and expenses inclUTed
   or sustained by such prevailing Party in connection with such action, including, without
   limitation, legal fees and costs,




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           8.3     Attorney Fees and Costs in Fonnation of this Agreement. The Parties shall each
   bear their own costs, expert fees, attorneys' fees and other fees incurred in connection with the
   creation this Settlement Agreement.

           8.4     Waivers; Modification. This Agreement cannot be modified or changed except
   by written instrument signed by all of the Parties hereto. No waiver of any of the provisions of
   this Agreement shall be deemed to constitute a waiver of any other provision, whether or not
   similar, nor shall any waiver constitute a continuing waiver. No waiver shall be binding unless
   executed in writing by the party making the waiver.

           8.5      Seoue oiProvisions/SeverabilitylHea<lings. None of the Parties hereto shall be
   deemed to be the drafter ofthis Agreement, but it shall be deemed that this Agreement was
   jointly drafted by each of the Parties hereto. Should any provision ofthis Agreement be found to
   be ambiguous in any way, such ambiguity shall not be resolved by construing this Agreement in
   favor of or against any party herein, but rather construing the tenns ofthis Agreement as a whole
   according to their fair meaning. In the event that any provision hereof is deemed to be illegal or
   unenforceable, such a detennination shall not affect the validity or enforceability ofthe
   remaining provisions thereof, all of which shall remain in full force and effect. Notwithstanding
   the foregoing, if a provision is deemed to be illegal the Parties agree to waive any defense on
   said grounds. In the event that such any provision shall be deemed invalid due to its scope or
   breadth, such provision shall be deemed valid to the extent of the scope or breadth permitted by
    law. The captions appearing at the commencement of certain paragraphs herein are descriptive
    only and for convenience ofreference. Should there be any conflict between any such caption or
    heading and the paragraph at the caption of which it appears, the paragraph, and not such
    caption, shall control and govern.

           8.6     Advice of Counsel and Understanding ofthis Binding Agreement. Each ofthe
   Parties represents, acknowledges, and declares that shelhe has received the advice of legal
   counsel ofhis/her own choosing regarding the form, substance, and effect of this Agreement.
   Each ofthe Parties represents, acknowledges, and declares that she/he has carefully read this
   Agreement, knows and understands this Agreement's contents, and signs this Agreement freely,
   voluntarily, and without either coercion or duress. Each ofthe Parties represents and warrants
   that shelhe is fully competent to manage hislher business affairs, and that sheJhe has full power
   and authority to execute this Agreement, and to do any and all ofthe things reasonably required
   hereunder; and that this Agreement, when signed by all Parties, is a valid and binding agreement,
   enforceable in accordance with its tenus.

          8.7    Further Execution. In order to carry out the tenns and conditions of this
   Agreement, PP agrees to promptly execute, upon reasonable request, any and all documents and
   instruments necessary to effectuate the terms ofthis Agreement.

           8.8    Nonce Provi~ions. Any notice; demand or request that one Party desires, or is
   required to give (including service of any subpoe~ court pleadings, summons and/or
   complaint), to the other Party must be promptly communicated to the other Party by us.ing their
   respective contact information below, by both (i) e-mail or facsimile; and (li) telephone. Either
   Party may change his or her conta.ct information by notifying the other Party of said change(s)
   pursuant to the applicable terms herein.



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                 8.8.2 To PP. as follows:

                        c/o KEITH M. DAVIDSON, ESQ.
                        8383 Wilshire Boulevard, Suite 510
                        Beverly Hills, CA 90211
                        teL 323.658.5444
                        fax. 323-658-5444
                        e~mail: keith@KmdLaw.com

           8.9. This Agreement may be executed with one or more separate cmUlterparts. each of
   which, when so executed shall be deemed to be an original and, together shall constitute and be
   one and the same instrument. Any executed copies or signed counterparts of this Agreement, the
   Declaration. and any other documentation may be executed by scanned/printed pdf copies of
   signatures and/or facsimile signatures, which shall be deemed to have the same force and effect
   as if they were original signatures.

          IN WITNESS WHEREOF, by their signatures below, the Parties each have approved
   and executed this Agreement as ofthe effective date first set forth above.




   DATED:                   -',2016
                                                    DD


    DATED:   !J'd: ZK        ,2016
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                                                                        "'~.,.~.,:tJ/;,,,    ERICA JACKSON
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    DATED:                   ,2016



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   DATED: ~             -J;   2016        As to Fonn:




                                          Attorney for DD




   DATED:   10/28>         ,2016          As to Fonn:
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                        Exhibit 4
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   8
                            UNITED STATES DISTRICT COURT
   9
                          CENTRAL DISTRICT OF CALIFORNIA
  10
  11 STEPHANIE CLIFFORD a.k.a.                 Case No. 2:18-CV-02217-SJO-FFM
  12
       STORMY DANIELS a.k.a. PEGGY
                                               DEFENDANT ESSENTIAL
       PETERSON, an individual,
  13                                           CONSULTANT, LLC’S
                                               NOTICE OF MOTION AND
  14               Plaintiff,
                                               MOTION TO COMPEL
  15                                           ARBITRATION
             v.
  16                                           Assigned for All Purposes to the
     DONALD J. TRUMP a.k.a. DAVID
  17 DENNISON, an individual,                  Hon. S. James Otero

  18 ESSENTIAL CONSULTANTS, LLC, a             Date:     April 30, 2018
     Delaware Limited Liability Company,       Time:     10:00 a.m.
  19 and DOES 1 through 10, inclusive,
                                               Location: 350 West 1st Street
  20                                                     Courtroom 10C, 10th Floor
                     Defendants.                         Los Angeles, CA 90012
  21
  22                                           Action Filed: March 6, 2018

  23
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  25
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  27
  28

                  NOTICE OF MOTION AND MOTION TO COMPEL ARBITRATION
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   1        TO THE COURT, ALL PARTIES AND COUNSEL OF RECORD:
   2        PLEASE TAKE NOTICE that on April 30, 2018, at 10:00 a.m. or as soon
   3 thereafter as the matter may be heard in Courtroom 10C, located at the United States
   4 District Court, 350 West 1st Street, Los Angeles, California 90012, the Honorable S.
   5 James Otero presiding, Defendant Essential Consultants, LLC (“EC”) will move and
   6 hereby does move for an order compelling Plaintiff Stephanie Clifford a.k.a. Stormy
   7 Daniels a.k.a. Peggy Peterson (“Clifford” or “Plaintiff”) to arbitrate any and all
   8 disputes arising under the written Confidential Settlement Agreement and Mutual
   9 Release entered into by EC and Clifford on or about October 28, 2016 (the
  10 “Settlement Agreement”), including but not limited to the first cause of action pleaded
  11 in Plaintiff’s First Amended Complaint (“FAC”) in this action. Such arbitration
  12 should be ordered to occur in the currently pending arbitration between the parties
  13 with ADR Services, Inc. (“ADRS”) in Los Angeles, California, pursuant to the written
  14 agreements of the parties. EC will also move and hereby does move for an order
  15 staying the first cause of action in the FAC pending the outcome of the arbitration.
  16        This motion will be and is based on this Notice, the accompanying
  17 Memorandum of Points and Authorities, the accompanying Declarations of Michael
  18 D. Cohen and Brent H. Blakely (with exhibits), the anticipated reply papers, all other
  19 papers on file in this action, all materials that may be properly considered in
  20 connection with this motion, and oral argument at the hearing. This motion is made
  21 following the conference of counsel pursuant to L.R. 7-3, which took place on March
  22 21, 2018.
  23 Dated: April 2, 2018                  BLAKELY LAW GROUP
  24
  25                                       By: /s/ Brent H. Blakely
                                              BRENT H. BLAKELY
  26                                          Attorneys for Defendant ESSENTIAL
  27                                          CONSULTANTS, LLC
  28
                                         -2-
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        Attorneys for Defendant
    7 ESSENTIAL CONSULTANTS, LLC
    8
                             UNITED STATES DISTRICT COURT
    9
                           CENTRAL DISTRICT OF CALIFORNIA
   10
   11 STEPHANIE CLIFFORD a.k.a.                 Case No. 2:18-CV-02217-SJO-FFM
   12
        STORMY DANIELS a.k.a. PEGGY
                                                DEFENDANT ESSENTIAL
        PETERSON, an individual,
   13                                           CONSULTANT, LLC’S
                                                MEMORANDUM OF POINTS AND
   14               Plaintiff,
                                                AUTHORITIES IN SUPPORT OF
   15                                           MOTION TO COMPEL
              v.
                                                ARBITRATION
   16
        DONALD J. TRUMP a.k.a. DAVID
   17 DENNISON, an individual,                  Assigned for All Purposes to the
                                                Hon. S. James Otero
   18 ESSENTIAL CONSULTANTS, LLC, a
        Delaware Limited Liability Company,     Date:     April 30, 2018
   19 and DOES 1 through 10, inclusive,
                                                Time:     10:00 a.m.
   20                                           Location: 350 West 1st Street
                      Defendants.                         Courtroom 10C, 10th Floor
   21
                                                          Los Angeles, CA 90012
   22
                                                Action Filed: March 6, 2018
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    1 I.     INTRODUCTION
    2        Defendant and moving party Essential Consultants, LLC (“EC”) and Plaintiff
    3 Stephanie Clifford aka “Stormy Daniels” aka “Peggy Peterson” aka “PP” (herein,
    4 “Clifford”) are signatories to a written Confidential Settlement Agreement and
    5 Mutual Release dated October 28, 2016 (the “Settlement Agreement”). Declaration
    6 of Michael D. Cohen (“Cohen Decl.”), Ex. A, Settlement Agreement.
    7        This motion seeks to enforce the arbitration provision in the Settlement
    8 Agreement, which was negotiated at arms’ length by the parties’ respective counsel,
    9 and pursuant to which Clifford accepted $130,000 as consideration. The strong
   10 policy favoring arbitration set forth by Congress in the Federal Arbitration Act
   11 (“FAA”) dictates that this motion be granted, and that Clifford be compelled to
   12 arbitration, as she knowingly and voluntarily agreed to do.
   13        Paragraph 5.2 of the Settlement Agreement contains an arbitration provision
   14 that requires Clifford to arbitrate any and all claims that may arise between Peggy
   15 Peterson (“PP”) and David Dennison (“DD”), stating in pertinent part:
   16               Dispute Resolution. In recognition of the mutual benefits to
   17               DD and PP of a voluntary system of alternative dispute
   18               resolution which involves binding confidential arbitration of
   19               all disputes which may arise between them, it is their
   20               intention and agreement that any and all claims or
   21               controversies arising between DD on the one hand, and PP
   22               on the other hand, shall be resolved by binding confidential
   23               Arbitration to the greatest extent permitted by law.
   24        According to Clifford’s allegations, Peggy Peterson (“PP”) is a pseudonym for
   25 Clifford, and David Dennison (“DD”) is a pseudonym for Defendant Donald J.
   26 Trump (“Mr. Trump”). Declaration of Brent H. Blakely (“Blakely Decl.”), Ex. B,
   27 Complaint, ¶ 18 and Ex. C, First Amended Complaint (“FAC”), ¶ 19.
   28        The first cause of action in the FAC is for Declaratory Relief against Mr.
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    1 Trump (and EC). This claim undeniably falls within the arbitration provision: a
    2 claim or controversy between PP and DD.
    3        Clifford asserts in the FAC that the Settlement Agreement was never formed
    4 because it was not signed by Mr. Trump, and thus the arbitration provision contained
    5 therein is unenforceable. This argument is without merit.
    6        The first paragraph of the Settlement Agreement defines the parties to the
    7 agreement as EC, LLC “and/or” DAVID DENNISON (DD), “on the one part,” and
    8 PEGGY PETERSON (PP), “on the other part.” Ex. A, p. 0 (emphasis added). This
    9 provision demonstrates the parties’ intent for the Settlement Agreement to be binding
   10 once signed by EC and Clifford, and regardless of whether it was also signed by DD.
   11        In conformance with this intent, and according to her own admissions, Clifford
   12 and EC signed the Settlement Agreement, and Clifford accepted $130,000 in
   13 consideration from EC, despite not receiving a signature from Mr. Trump. Ex. B, ¶¶
   14 16, 22-23; Ex. C, ¶¶ 17, 23-24. Then, over the course of the next sixteen (16)
   15 months, Clifford did not at any time: reject the Settlement Agreement; offer to return
   16 or return the $130,000; or assert that the Settlement Agreement is unenforceable
   17 because it was not signed by Mr. Trump, or for any other reason. Cohen Decl., ¶ 3.
   18        In fact, Clifford did not assert any claim challenging the validity of the
   19 Settlement Agreement until she filed this action on March 6, 2018. To this day,
   20 Clifford has not returned the $130,000 she received from EC. Thus, there is no
   21 question that a valid agreement to arbitrate Clifford’s claims against DD (and EC)
   22 was formed. See infra Section III.b.
   23        On March 26, 2018, Clifford filed the FAC, which added several new
   24 challenges purportedly directed to the enforceability of the arbitration provision
   25 itself, as opposed to the enforceability of the Settlement Agreement as a whole.
   26 These allegations are a sham and were added in a transparent attempt to circumvent
   27 the holding in Buckeye Check Cashing, Inc. v. Cardegna, 546 U.S. 440, 444 (2006),
   28 which requires that Clifford’s challenges to the Settlement Agreement be decided by
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    1 the arbitrator. Blakely Decl., ¶¶ 7-8.1
    2        Under the Ninth Circuit’s “crux of the complaint” test, Clifford’s challenges to
    3 the enforceability of the arbitration clause are effectively the same as her challenges
    4 to the Settlement Agreement as a whole. See Bridge Fund Capital Corp. v.
    5 Fastbucks Franchise Corp., 622 F.3d 996, 1001 (9th Cir. 2010). Thus, the Court
    6 need not decide those issues for purposes of the instant motion. However, to the
    7 extent the Court does consider Clifford’s challenges to the arbitration provision, they
    8 should be rejected. For example, Clifford’s argument that the arbitration provision is
    9 unconscionable fails for several reasons. See infra, Section III.d.3.
   10        Pursuant to well-established U.S. Supreme Court jurisprudence, the Court
   11 simply needs to determine that Clifford agreed to arbitrate any claim or controversy
   12 between her and DD arising under the Settlement Agreement. Clifford’s admissions
   13 in her Complaint and FAC confirm that she agreed to do just that.
   14        Accordingly, EC respectfully requests that the Court issue an order compelling
   15 Clifford to arbitrate her dispute with DD (and EC).
   16 II.    FACTUAL BACKGROUND
   17        Clifford is an adult-film actress and exotic dancer. In October 2016, according
   18 to an exclusive news report, Clifford unsuccessfully attempted to sell a story about an
   19 alleged one-night-stand with Mr. Trump to tabloid magazines and related outlets for
   20 $200,000. Blakely Decl., Ex. D, 3/29/18 Daily Mail Article.
   21        Instead, on or about October 28, 2016, Clifford (who was represented by legal
   22 counsel) entered into the Settlement Agreement with EC. Ex. A, p. 14; Ex. B, ¶ 22;
   23 Ex. C, ¶ 23; Cohen Decl., ¶¶ 2-3. In the Settlement Agreement, Clifford agreed to
   24
             1
   25         Clifford also added a second cause of action against a newly named
   26
      defendant, Michael Cohen, for defamation. This claim should be dismissed pursuant
      to California’s anti-SLAPP statute. Blakely Decl., Ex. I. However, as set forth in
   27 Section III.e. below, arbitration between EC and Clifford should proceed, regardless
   28 of whether Clifford’s claim against Mr. Cohen is also subject to arbitration.
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    1 accept $130,000 from EC in exchange for, among other things, her promise not to
    2 disclose any Confidential Information (as defined in the Settlement Agreement),
    3 including any of DD’s “alleged sexual partners, alleged sexual actions or alleged
    4 sexual conduct.” Ex. A, pp. 4-5; Ex. B, ¶¶ 16, 22-23; Ex. C, ¶¶ 17, 23-24. In the
    5 Settlement Agreement, Clifford also promised to arbitrate any dispute that might later
    6 arise between her and DD. Ex. A, pp. 10.
    7        EC paid Clifford the sum of $130,000, as required under the Settlement
    8 Agreement. Ex. B, ¶ 23; Ex. C, ¶ 24; Cohen Decl., ¶ 3. For the next sixteen months,
    9 Clifford did not: reject the Settlement Agreement; assert that the Settlement
   10 Agreement was unenforceable because it was not signed by Mr. Trump; or make any
   11 attempt to return the $130,000 that she was paid by EC. Cohen Decl., ¶ 3.
   12        During that time, Clifford performed all of her obligations under the
   13 Settlement Agreement, and made no public statements disclosing Confidential
   14 Information. Cohen Decl., ¶ 4. Prior to February 2018, Clifford’s only complaint
   15 relating to the Settlement Agreement was in October 2016, when she complained that
   16 she was not receiving the $130,000 due to her under the Settlement Agreement
   17 quickly enough. Id.
   18        In February 2018, Clifford threatened to breach the Settlement Agreement by
   19 publicizing allegations that constitute Confidential Information. On or about
   20 February 22, 2018, EC filed an arbitration proceeding with ADR Services, Inc.
   21 (“ADRS”) in Los Angeles (the “Arbitration”), pursuant to the arbitration provision in
   22 the Settlement Agreement. Cohen Decl., ¶ 5. Upon EC’s emergency application for
   23 a Temporary Restraining Order (“TRO”), the arbitrator (a retired California Superior
   24 Court judge) issued an order prohibiting Clifford from violating the Settlement
   25 Agreement by, among other things, disclosing any Confidential Information to the
   26 media or in court filings (the “TRO”). Id. at ¶¶ 6-7, Ex. E, TRO.
   27        Clifford has violated the Settlement Agreement and the TRO by, among other
   28 things, filing the Complaint and FAC in this action, and also by disclosing
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  1 Confidential Information to the news media, including in a nationally televised
  2 interview with Anderson Cooper on 60 Minutes, which reportedly was watched by
  3 twenty-two million viewers. Clifford further breached the Settlement Agreement by
  4 sending her attorney of record in this action, Michael Avenatti, to participate in
  5 dozens of interviews on national television programs, wherein he has repeatedly
  6 disclosed Confidential Information.2
  7        Within days of filing this action, and the massive news coverage that it
  8 generated, Clifford made appearances at various adult entertainment clubs, claiming
  9 publicly that her pay has quadrupled from the publicity of this lawsuit. Blakely
 10 Decl., Ex. F, 3/11/18 CNN article and Ex. G, 3/9/18 Rolling Stone article.
 11        On March 21, 2018, counsel for the parties participated in the Local Rule 7-3
 12 conference of counsel. Blakely Decl., ¶ 7. During the conference, EC’s counsel
 13 specifically informed counsel for Clifford that, pursuant to Buckeye Check Cashing,
 14 Inc. v. Cardegna, supra, Clifford’s defenses to the enforcement of the Settlement
 15 Agreement as a whole must be decided by the arbitrator, not the Court. Id. Five days
 16 later, Clifford filed the FAC, which includes several new challenges to the arbitration
 17 provision, and a second cause of action against Mr. Cohen.
 18 III.   CLIFFORD’S FIRST CAUSE OF ACTION FOR DECLARATORY
 19        RELIEF SHOULD BE COMPELLED TO ARBITRATION
 20        Where the making of an agreement to arbitrate is not “in issue,” as is the case
 21 here, the District Court should order the parties to proceed with arbitration upon
 22 petition of the aggrieved party. 9 U.S.C. § 4. Section 4 states, in pertinent part:
 23               A party aggrieved by the alleged failure, neglect, or refusal
 24               of another to arbitrate under a written agreement for
 25               arbitration may petition any United States district court
 26
           2
 27        Section 4.3.4 of the Settlement Agreement provides that any disclosure of
 28 Confidential Information by Clifford’s counsel is deemed to be a disclosure by her.

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  1               which, save for such agreement, would have jurisdiction
  2               under title 28…for an order directing that such arbitration
  3               proceed in the manner provided for in such agreement….
  4               The court shall hear the parties, and upon being satisfied
  5               that the making of the agreement for arbitration or the
  6               failure to comply therewith is not in issue, the court shall
  7               make an order directing the parties to proceed to arbitration
  8               in accordance with the terms of the agreement.
  9 Id. (emphasis added.)
 10        Here, the Settlement Agreement contains an agreement by EC and Clifford to
 11 arbitrate any dispute between PP and DD. The Complaint and FAC were filed by
 12 Clifford against DD and EC, assert a claim arising under the Settlement Agreement,
 13 and thus undeniably fall within the scope of the arbitration provision.
 14        Contrary to Clifford’s assertion, a valid agreement to arbitrate was formed. By
 15 Clifford’s own admission, she signed the Settlement Agreement, accepted the
 16 consideration required of EC thereunder and did not raise any objection to its
 17 enforceability until approximately sixteen months thereafter. Thus, Clifford
 18 knowingly and voluntarily agreed to arbitrate this dispute. The Court need not go
 19 any further to grant this motion and compel this matter to arbitration. Thereafter,
 20 Clifford’s claims of invalidity or unenforceability of the Settlement Agreement
 21 should be determined by the arbitrator. See infra, Sections III.c. and III.d.
 22        a.     The Federal Arbitration Act Establishes A Liberal Policy Favoring
 23               The Enforcement Of Arbitration Agreements
 24        “[T]he Federal Arbitration Act (FAA or Act), 9 U.S.C. § 1 et seq. (2000 ed.
 25 and Supp. V), establishes a national policy favoring arbitration when the parties
 26 contract for that mode of dispute resolution.” Preston v. Ferrer, 552 U.S. 346, 349
 27 (2008); see also Moses H. Cone Mem’l Hosp. v. Mercury Constr. Corp., 460 U.S. 1,
 28 24 (1983) (“Section 2 is a congressional declaration of a liberal federal policy
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  1 favoring arbitration agreements.”); Mortensen v. Bresnan Comm., LLC, 722 F.3d
  2 1151, 1160 (9th Cir. 2013) (“the FAA’s purpose is to give preference (instead of
  3 mere equality) to arbitration provisions.”). “The Act, which rests on Congress’
  4 authority under the Commerce Clause, supplies not simply a procedural framework
  5 applicable in federal courts; it also calls for the application, in state as well as federal
  6 courts, of federal substantive law regarding arbitration.” Id.
  7         The FAA “mandates that district courts shall direct the parties to proceed to
  8 arbitration on issues as to which an arbitration agreement has been signed.” Dean
  9 Witter Reynolds, Inc. v. Byrd, 470 U.S. 213, 218 (1985) (bold added); Republic of
 10 Nicaragua v. Standard Fruit Co., 937 F.2d 469, 475 n.8 (9th Cir. 1991) (the FAA
 11 “reflects the strong Congressional policy favoring arbitration by making such clauses
 12 ‘valid, irrevocable, and enforceable.’”). The FAA “is phrased in mandatory terms,”
 13 thus a District Court “has little discretion to deny an arbitration motion.” Republic of
 14 Nicaragua, supra, 937 F.2d at 475. “If a contract contains an arbitration clause,
 15 claims brought under or against that contract are presumed arbitrable.” Guadagno v.
 16 E*Trade Bank, 592 F.Supp.2d 1263, 1272 (C.D. Cal. 2008).
 17         In Gaudagno v. E*Trade Bank, the plaintiff filled out an online application for
 18 an E*Trade account, and clicked a box acknowledging that she had reviewed
 19 E*Trade’s account agreement, which contained an arbitration clause. 592 F.Supp.2d
 20 at 1267. This Court rejected plaintiff’s argument that she did not assent to the
 21 arbitration agreement, and granted defendant’s motion to compel arbitration. Id. at
 22 1273. In doing so, this Court held that any “[d]oubts should be resolved in favor of
 23 arbitrability.” Id. at 1272; see also Moses H. Cone Memorial Hosp. v. Mercury
 24 Constr. Corp., 460 U.S. 1, 24-25 (1983) (“[A]ny doubts concerning the scope of
 25 arbitrable issues should be resolved in favor of arbitration.”).
 26         b.     Clifford Entered Into A Valid Arbitration Agreement
 27         The Ninth Circuit uses “general state-law principles of contract interpretation
 28 to decide whether a contractual obligation to arbitrate exists.” Goldman, Sachs & Co.
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  1 v. City of Reno, supra, 747 F.3d at 743 (9th Cir. 2014). Under those principles, there
  2 should be no question that an enforceable arbitration agreement was reached.
  3         Clifford admits that she (and EC) signed the Settlement Agreement, that she
  4 was represented by counsel in connection therewith, and that EC paid her $130,000
  5 pursuant to the Settlement Agreement. Ex. B, ¶¶ 16, 22-23. By doing so, Clifford
  6 accepted the terms of Settlement Agreement, including her obligation to arbitrate
  7 contained therein. See Cal. Civ. Code § 1589 (“A voluntary acceptance of the
  8 benefit of a transaction is equivalent to a consent to all the obligations arising from
  9 it, so far as the facts are known, or ought to be known, to the person accepting.”)
 10 (emphasis added); Cal. Civ. Code § 1584 (“Performance of the conditions of a
 11 proposal, or the acceptance of the consideration offered with a proposal, is an
 12 acceptance of the proposal.”) (emphasis added.)
 13            1.     Clifford’s Agreement To Arbitrate Is Enforceable Regardless Of
 14                   Whether DD Also Signed The Agreement
 15         Clifford is bound by the terms of the Settlement Agreement, including the
 16 arbitration provision, even though it was not signed by DD. First, the Settlement
 17 Agreement contemplated a binding agreement between Clifford and EC, regardless
 18 of whether DD also signed. Second, California law does not require all parties to
 19 sign a contract for it to be binding on those who did sign it. “It is not the rule that a
 20 contract, which on its face purports to be between the parties named in the
 21 instrument, must invariably be executed by all whose names appear in the instrument
 22 before it will be binding on any.” Kaneko v. Okuda, 195 Cal.App.2d 217, 225
 23 (1961). “In the absence of a showing that a contract is not to be deemed complete
 24 unless signed by all parties, the parties signing may be bound though others have
 25 not signed.” Id. (emphasis added); see also Angell v. Rowlands, 85 Cal.App.3d 536,
 26 540 (1978).
 27         Here, the first paragraph of the Settlement Agreement demonstrates that the
 28 parties intended for the Settlement Agreement to be binding regardless of whether it
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  1 was signed by DD. It expressly defines the parties to the agreement as EC, LLC
  2 “and/or” DAVID DENNISON (DD), “on the one part,” and PEGGY PETERSON
  3 (PP), “on the other part.” Ex. A, p. 0 (emphasis added).
  4         If this language is not clear enough, it is well-settled under California law that
  5 the Court need look no further than Clifford’s subsequent conduct to determine that
  6 she intended for the Settlement Agreement to be binding without DD’s signature.
  7 “Where any doubt exists as to the purport of the parties’ dealings as expressed in the
  8 wording of their contract, the court may look to…subsequent acts or declarations of
  9 the parties ‘shedding light upon the question of their mutual intention at the time of
 10 contracting.’ (citation).” Barham v. Barham, 33 Cal.2d 416, 423 (1949). “[I]t is said
 11 that ‘a construction given the contract by the acts and conduct of the parties with
 12 knowledge of its terms, before any controversy has arisen as to its meaning, is
 13 entitled to great weight and will, when reasonable, be adopted and enforced by the
 14 court.’ (citation).” Id.
 15         In Crestview Cemetery Ass'n v. Dieden, 54 Cal.2d 744, 757 (1960), the
 16 California Supreme Court held that the subsequent actions of the parties to a contract
 17 demonstrated their belief that the “contract had been fully performed.” The Court
 18 stated: “The practical construction placed on the contract by the parties is far more
 19 convincing than the construction arrived at in an attempt to escape a liability already
 20 accrued.” Id. at 755.3
 21
 22
      3
       In doing so, the California Supreme Court quoted the following passage from its
 23
      opinion in Mitau v. Roddan, 149 Cal. 1, 14 (1906):
 24         It is to be assumed that parties to a contract best know what was
            meant by its terms, and are the least liable to be mistaken as to its
 25
            intention; that each party is alert to his own interests, and to
 26         insistence on his rights, and that whatever is done by the parties
            contemporaneously with the execution of the contract is done
 27
            under its terms as they understood and intended it should be.
 28         Parties are far less liable to have been mistaken as to the intention
            (footnote continued)
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  1         Clifford signed the Settlement Agreement, accepted the $130,000 that EC was
  2 obligated to pay her, and, despite not receiving any signature from Mr. Trump,
  3 Clifford did not reject the Settlement Agreement, did not deem it null and void
  4 because it was supposedly missing a signature, and did not return, or offer to return,
  5 the $130,000 she was paid, prior to filing this lawsuit approximately sixteen months
  6 thereafter. Ex. B, ¶¶ 16, 22-23; Ex. C, ¶¶ 17, 23-24; Cohen Decl., ¶ 3. Further,
  7 Clifford performed all of her obligations under the Settlement Agreement during
  8 those sixteen months and made no public statements that EC is aware of disclosing
  9 Confidential Information. Cohen Decl., ¶ 4. Prior to February 2018, Clifford’s only
 10 complaint relating to the Settlement Agreement was that she was not receiving the
 11 payment quickly enough. Id. This is powerful evidence that Clifford intended for the
 12 Settlement Agreement to be binding absent DD’s signature.
 13            2.    Clifford Received Adequate Consideration Under The Settlement
 14                  Agreement
 15         Under California Civil Code § 1550, “sufficient cause or consideration” is
 16 necessary for an enforceable contract. However, “[a]dequacy of consideration need
 17 not be proved where the defendant has already accepted the consideration.” Abers v.
 18 Rounsavell, 189 Cal.App.4th 348, 362 (2010), citing Beab, Inc. v. First Western Bank
 19 & Tr. Co., 204 Cal.App.2d 680, 685 (1962). Because Clifford accepted EC’s
 20 consideration under the Settlement Agreement ($130,000), and made no attempt to
 21
 22         of their contract during the period while harmonious and practical
            construction reflects that intention, than they are when subsequent
 23
            differences have impelled them to resort to law, and one of them
 24         then seeks a construction at variance with the practical
            construction they have placed upon it.
 25
      Crestview Cemetery Ass'n v. Dieden, 54 Cal.2d at 753; see also City of Hope Nat.
 26   Med. Ctr. v. Genentech, Inc., 43 Cal.4th 375, 393 (2008) (“A party’s conduct
      occurring between execution of the contract and a dispute about the meaning of the
 27
      contract’s terms may reveal what the parties understood and intended those terms to
 28   mean.”)
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  1 reject such consideration for nearly sixteen months, there should be no question that
  2 such consideration was adequate.
  3        Regardless, “[a] consideration of one dollar is ordinarily sufficient to support a
  4 contract at law.” Abers v. Rounsavell, supra, 189 Cal.App.4th at 362. “‘A written
  5 instrument is presumptive evidence of a consideration’ (Civ.Code, § 1614), and in
  6 any event all the law requires for sufficient consideration is the proverbial
  7 ‘peppercorn.’” San Diego City Firefighters, Local 145, AFL-CIO v. Bd. of Admin. of
  8 San Diego City Employees' Ret. Sys., 206 Cal.App.4th 594, 619 (2012).
  9        Moreover, the consideration that Clifford received from EC ($130,000) was
 10 sufficient to support all of her obligations under the Settlement Agreement, including
 11 to arbitrate, independent of whether the Settlement Agreement also provided for non-
 12 monetary consideration from DD. “[W]here there is consideration for any of the
 13 agreements specified in a contract[,] the contract as a whole cannot be said to lack
 14 mutuality or consideration, nor can any particular promise or agreement contained
 15 therein be singled out and deemed inoperative because no special or particular
 16 consideration appears to have been given or promised for it.” Brawley v. Crosby
 17 Research Found., 73 Cal.App.2d 103, 118 (1946), quoting Tennant v. Wilde, 98
 18 Cal.App. 437, 442 (1929). “In other words, ‘[w]hile consideration is a necessary
 19 element of every contract, it is not necessary that each separate promise or covenant
 20 should have a distinct consideration.’” Daily Transit Mix, LLC v. Daily Transit Mix
 21 Corp., 2011 WL 5416188, at *10 (Cal. Ct. App. Nov. 9, 2011), citing Brawley v.
 22 Crosby Research Found., supra, 73 Cal.App.2d at 118. Thus, Clifford should be
 23 required to arbitrate this dispute, regardless of whether she received separate
 24 consideration from DD under the Settlement Agreement.
 25        c.     Clifford’s Challenges To The Contract As A Whole Should Be
 26               Decided By The Arbitrator, Not The Court
 27        The U.S. Supreme Court has held that “a challenge to the validity of the
 28 contract as a whole, and not specifically to the arbitration clause, must go to the
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  1 arbitrator.” Buckeye Check Cashing, Inc. v. Cardegna, 546 U.S. at 444. In Buckeye
  2 Check Cashing, the Court held that a claim that the subject contract was illegal and
  3 void ab initio must be decided by the arbitrator, not the court. Id; see also Preston v.
  4 Ferrer, supra, 552 U.S. at 349. The holding in Buckeye Check Cashing followed the
  5 decision in Prima Paint Corp. v. Flood & Conklin Mfg. Co., 388 U.S. 395, 403-404
  6 (1967), wherein the Supreme Court held that the FAA “does not permit the federal
  7 court to consider claims of fraud in the inducement of the contract generally,” as
  8 opposed to a claim of “fraud in the inducement of the arbitration clause itself.” See
  9 also Mentor Capital, Inc. v. Bhang Chocolate Co., No. 3:14-CV-3630 LB, 2014 WL
 10 6485666, at *4-6 (N.D. Cal. Nov. 19, 2014) (held that claim for rescission of entire
 11 agreement for failure of consideration must be decided by arbitrator), citing Buckeye
 12 Check Cashing v. Cardegna, supra, 546 U.S. at 444-446.
 13         “[A]s a matter of substantive federal arbitration law, an arbitration provision is
 14 severable from the remainder of the contract.” Buckeye Check Cashing, Inc. v.
 15 Cardegna, supra, 546 U.S. at 445-446. “[U]nless the challenge is to the arbitration
 16 clause itself, the issue of the contract’s validity is considered by the arbitrator in the
 17 first instance.” Id; Rent-A-Ctr., W., Inc. v. Jackson, 561 U.S. 63, 71 (the Supreme
 18 Court requires “the basis of challenge to be directed specifically to the agreement to
 19 arbitrate before the court will intervene.”). In Guadagno v. E*Trade Bank, supra,
 20 592 F.Supp.2d at 1270, this Court held: “If a party challenges the validity of an
 21 arbitration clause itself, rather than the entire contract containing the clause, the
 22 arbitration clause’s validity is for the court, rather than an arbitrator, to decide.”
 23 (citing Buckeye Check Cashing, Inc. v. Cardegna, supra, 546 U.S. at 445-446.)
 24         d.     The “Crux Of The Complaint” Is A Challenge To The Settlement
 25                Agreement As A Whole, Not The Arbitration Provision
 26         Clifford’s newly added, sham challenges to the validity of the arbitration
 27 provision should be viewed as nothing more than challenges to the Settlement
 28 Agreement as a whole, and thus are to be decided by the arbitrator. Following the
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  1 U.S. Supreme Court’s holding in Buckeye Check Cashing, the Ninth Circuit Court of
  2 Appeals has “applied the ‘crux of the complaint’ rule as a method for differentiating
  3 between challenges to the arbitration provision alone and challenges to the entire
  4 contract.” Bridge Fund Capital Corp. v. Fastbucks Franchise Corp., 622 F.3d 996,
  5 1001 (9th Cir. 2010). “The ‘crux of the complaint’ matters when the complaint itself
  6 makes clear that the challenge to the arbitration clause is the same challenge that is
  7 being made to the entire contract.” Id.
  8        In Nagrampa v. MailCoups, Inc., 469 F.3d 1257, 1263-1264 (9th Cir. 2006),
  9 the Ninth Circuit held that “when the crux of the complaint challenges the validity or
 10 enforceability of the agreement containing the arbitration provision, then the question
 11 of whether the agreement, as a whole, is unconscionable must be referred to the
 12 arbitrator.” Prior to Clifford’s thinly veiled attempt to circumvent the holding of
 13 Buckeye Check Cashing, Inc. by filing the FAC, the Complaint demonstrated that
 14 Clifford’s challenges to arbitration clause are the same as her challenges to the
 15 Settlement Agreement as a whole:
 16        x Paragraph 38 alleges, in pertinent part, that the Settlement Agreement was
 17            “never formed” because “Mr. Trump never signed” it; and “as a … result,
 18            there is no agreement to arbitrate between the parties.”
 19        x Paragraph 39 alleges, in pertinent part, that the Settlement Agreement is
 20            “invalid, unenforceable, and/or void under the doctrine of
 21            unconscionability”; and “as a … result, there is no agreement to arbitrate
 22            between the parties.”
 23        x Paragraph 40 alleges, in pertinent part, that the Settlement Agreement is
 24            “invalid, unenforceable, and/or void because [it] is illegal and/or violate[s]
 25            public policy”; and “as a … result, there is no agreement to arbitrate
 26            between the parties.”
 27 Ex. B, pp. 6-7. Clifford’s newly asserted defenses to the enforceability of the
 28 arbitration provision in the FAC are also the same as her defenses to the validity of
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  1 the Settlement Agreement as a whole:
  2        x Paragraph 41 alleges, in pertinent part, that “no agreement was ever formed
  3           or existed” and “as a … result, there is no agreement to arbitrate between
  4           the parties.”
  5        x Paragraphs 42 and 43 allege that the Settlement Agreement as a whole is
  6           unconscionable, while paragraph 58 also alleges that the arbitration
  7           provision is unconscionable.
  8        x Paragraphs 44 through 55 allege that the Settlement Agreement as a whole
  9           is void ab initio because it is illegal and violates public policy, while
 10           paragraphs 59 through 61 allege that the arbitration provision is void ab
 11           initio because it is illegal and violates public policy.
 12 Ex. C, pp. 8-15.
 13        Thus, the “crux of the complaint” is a challenge to the Settlement Agreement
 14 as a whole, not the arbitration provision contained therein.
 15           1.       The Authorities Relied Upon By Clifford To Argue That The Court
 16                    Should Decide “Formation” Are Highly Distinguishable
 17        Clifford contends that her challenge to the formation of the Settlement
 18 Agreement should be decided by the Court, not the arbitrator. However, the
 19 authorities Clifford relied upon during the parties’ Local Rule 7-3 conference of
 20 counsel are highly distinguishable. Blakely Decl., ¶ 7.
 21        In Sanford v. MemberWorks, Inc., 483 F.3d 956, 964 (9th Cir. 2007), the
 22 plaintiff alleged that she never received, much less signed, the membership
 23 agreement containing the arbitration clause, and that she did not even known about
 24 the membership until approximately 13 months after she was supposedly sent the
 25 agreement. Id. at 958-959. Under those facts, the Ninth Circuit held that the District
 26 Court should determine whether an enforceable arbitration agreement was formed.
 27 This case is very different: here, Clifford acknowledges that she signed and received
 28 the agreement, along with the consideration required of EC thereunder.
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  1        In Three Valleys Mun. Water Dist. v. E.F. Hutton & Co., 925 F.2d 1136, 1144
  2 (9th Cir. 1991), the cities of Lawndale, San Marino, and Palmdale, and the Palmdale
  3 Redevelopment Agency, claimed that the person who signed the subject agreements
  4 on their behalf, an individual “who worked in various financial capacities for those
  5 entities,” did not have authority to bind them to those agreements, which opened
  6 investments accounts with defendant (in which the plaintiffs lost $8 million). Id. at
  7 1140–1141. Under those facts, the Ninth Circuit held that the District Court should
  8 determine whether the signatory to the agreements containing the arbitration clauses
  9 had authority to bind the plaintiffs to those agreements. Id. By contrast, Clifford has
 10 not, nor can she, make any argument that she lacked the authority to enter into the
 11 Settlement Agreement.
 12        In Goldman, Sachs & Co. v. City of Reno, 747 F.3d 733, 741, 747 (9th Cir.
 13 2014), the Ninth Circuit held that the forum selection clauses in Goldman, Sachs &
 14 Co.’s Broker-Dealer Agreements with the City of Reno, which stated that “all actions
 15 and proceedings ... shall be brought in the ... District of Nevada,” superseded
 16 Goldman’s default obligation to arbitrate under FINRA’s general rules. Here,
 17 Clifford makes no such argument.
 18        In Granite Rock Co. v. Int'l Bhd. of Teamsters, 561 U.S. 287, 303-304 (2010),
 19 the Court held that the District Court should determine arbitrability of a dispute over
 20 when the contract was formed, because this issue governed whether the arbitration
 21 agreement was in existence and enforceable during the relevant time period. Here,
 22 there is no dispute that the Settlement Agreement was executed by Clifford and EC
 23 more than a year before this dispute arose.
 24        Moreover, the cases cited in Clifford’s Motion for Expedited Jury Trial for the
 25 proposition that the court should decide her challenges to the formation of the
 26 Settlement Agreement also are highly distinguishable. Dkt. No. 16, pp., 11-12.
 27        In Comedy Club, Inc. v. Improv W. Assocs., 553 F.3d 1277, 1287 (9th Cir.
 28 2009), the Ninth Circuit held that an arbitrator did not have the authority to issue an
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  1 injunction against non-parties, “such as cousins of former spouses” of signatories,
  2 and a “a non-party grandmother” of a signatory, to an arbitration agreement. The
  3 Court held that “these collateral relatives are not in privity with the…signatories.”
  4 Id. Here, there is no dispute that EC is seeking to enforce the arbitration provision
  5 against a signatory to the Settlement Agreement (Clifford).
  6        In Doherty v. Barclays Bank Delaware, No. 16-CV-01131-AJB-NLS, 2017
  7 WL 588446, at *4 (S.D. Cal. Feb. 14, 2017), the defendant, one of the top ten issuers
  8 of credit cards in the United States, alleged that plaintiff was bound by the arbitration
  9 provision contained in defendant’s “Cardmember Agreement” because plaintiff was
 10 an authorized user of his father’s credit card account. However, the plaintiff claimed
 11 that he did not know he was an authorized user on the account, and that he was added
 12 as an authorized user without his knowledge. Id. at *1, 4. Under those facts, the
 13 District Court denied the defendant’s motion to compel arbitration. Id. at *4. Here,
 14 there is no dispute that Clifford signed the Settlement Agreement.
 15        In Switch, LLC v. Ixmation, Inc., No. 15-CV-01637-MEJ, 2015 WL 4463672,
 16 at *3 (N.D. Cal. July 21, 2015), the plaintiff argued that “it did not sign or otherwise
 17 agree to” the defendant’s “Proposal,” which contained the subject arbitration
 18 provision. Under those facts, the District Court denied the defendant’s motion to
 19 compel arbitration. Id. at *5. Again, there is no similar dispute here.
 20        In contrast to the authorities relied upon by Clifford, in Teledyne, Inc. v. Kone
 21 Corp., 892 F.2d 1404, 1410 (9th Cir. 1989), the Ninth Circuit held that the arbitrator,
 22 not the District Court, must decide whether an agreement signed by both parties, but
 23 that defendant claimed was an unenforceable “DRAFT”, was formed. In doing so,
 24 the Court held that cases must “be submitted to arbitration unless there is a challenge
 25 to the arbitration provision which is separate and distinct from any challenge to the
 26 underlying contract.” Id. (emphasis in original), citing Prima Paint Corp. v. Flood &
 27 Conklin Mfg. Co., supra, 388 U.S. at 402-404.
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  1            2.    The Arbitration Provision Is Not Unconscionable
  2         Clifford argues that the arbitration provision in the Settlement Agreement is
  3 unconscionable based on various theories. To the extent the Court even decides this
  4 issue, it should find that none of these arguments have merit.
  5         First, under the FAA, there are strict limits on the types of unconscionability
  6 arguments that may be raised against an arbitration agreement. 9 U.S.C. § 2 limits the
  7 grounds for denying enforcement of arbitration agreements to “such grounds as exist
  8 at law or in equity for the revocation of any contract.” The U.S. Supreme Court has
  9 interpreted this rule to prohibit unconscionability arguments directed to the
 10 substantive effect of the arbitration clause itself. Thus, in AT&T Mobility LLC v.
 11 Concepcion, 563 U.S. 333, 340-341 (2011), the Court held that a California doctrine
 12 holding that contractual waivers of class action arbitration were unconscionable was
 13 preempted by the FAA, even though it was an application of a state law rule. Thus, to
 14 the extent that Clifford seeks to use unconscionability doctrine to impose substantive
 15 limits on the arbitration clause, these arguments must fail.
 16         Second and independently, the arbitration clause is not unconscionable under
 17 California law. “Under California law, unconscionability has both a procedural and a
 18 substantive element, the former focusing on oppression or surprise due to unequal
 19 bargaining power, the latter on overly harsh or one-sided results.” Mohamed v. Uber
 20 Technologies, Inc., 848 F.3d 1201, 1210 (9th Cir. 2016) (broad delegation of
 21 arbitrability issues to arbitrator is not unconscionable) (internal quotations omitted).
 22 “Both substantive and procedural unconscionability must be present in order for
 23 a court to find a contract unconscionable, but they need not be present in the same
 24 degree… Recently, the California Supreme Court has emphasized that
 25 unconscionability requires a substantial degree of unfairness beyond a simple old-
 26 fashioned bad bargain… Rather, unconscionable contracts are those that are so one-
 27 sided as to shock the conscience.” Id. (emphasis added; internal quotations omitted).
 28
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  1        “Procedural unconscionability focuses on two factors in contract formation:
  2 oppression and surprise…. Oppression arises when there is inequality in bargaining
  3 power between the parties to a contract, resulting in no real opportunity to negotiate
  4 the terms of the contract and the absence of meaningful choice. Surprise involves the
  5 extent to which the supposedly agreed terms were hidden from the party seeking to
  6 avoid enforcement of the agreement.” Chalk v. T-Mobile USA, Inc., 560 F.3d 1087,
  7 1093-94 (9th Cir. 2009) (arbitration clause in readable type in cellular service
  8 agreement was not procedurally unconscionable).
  9        Here, there is no procedural unconscionability. There is no evidence that
 10 Clifford was forced to enter into the Settlement Agreement, had no meaningful choice
 11 to do so, or had no choice but to accede to the terms of the arbitration clause as
 12 drafted. The Settlement Agreement was the antithesis of standard form adhesion
 13 contracts imposed by large corporations that the procedural ucnconscionability
 14 doctrine addresses. Clifford had the power to walk away, the power to negotiate the
 15 terms of the agreement, and only entered into the agreement after she unsuccessfully
 16 attempted to sell her story for $200,000. Ex. D. Because there is no procedural
 17 unconscionability, all of Clifford’s unconscionability defenses fail.
 18        In any event, Clifford also has not shown substantive unconscionability. Her
 19 contention is exactly what Mohamed states cannot constitute substantive
 20 unconscionability, namely, that she made an old fashioned bargain that she now
 21 regrets, not that any terms of the Settlement Agreement shock the conscience.
 22 Clifford has shown no unfairness in the arbitration process (an argument that is barred
 23 under Concepcion anyway), and no unfairness in the terms of the arbitration clause.
 24 For instance, Clifford has not shown how she is prejudiced by being required to go to
 25 the arbitrator to get an injunction to enforce the Settlement Agreement, or that the
 26 choice of law rule in the Settlement Agreement has harmed her in any way. Nor has
 27 she shown that the other terms of the agreement—a straightforward promise to pay
 28 $130,000 in exchange for various confidentiality obligations—were so one-sided as to
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  1 shock the conscience. If this agreement is unconscionable, then any confidentiality
  2 agreement is unconscionable, and that is not the law. Borgarding v. JP Morgan
  3 Chase Bank, 2016 WL 8904413 at *9 (C.D. Cal. Oct. 31, 2016) (“A confidentiality
  4 clause, however, does not, render the entire arbitration agreement substantively
  5 unconscionable.”).
  6         Finally, even if there is a provision (such as the choice of law provision) of the
  7 arbitration agreement that is found to step too far under unconscionability doctrine,
  8 any such provision is severable from the rest of the arbitration agreement. The core
  9 agreement is to arbitrate all disputes arising under the Settlement Agreement;
 10 restrictions on injunctive relief and special choice of law rules are not central to the
 11 bargain and can be excised if the Court determines that they are unconscionable.
 12 Mohamed v. Uber Technologies, Inc, supra, 848 F.3d at 1213-14 (holding that waiver
 13 of private attorney general suits, which was unenforceable, was severable from
 14 remainder of arbitration clause).
 15            e. The Newly Added Second Cause Of Action Against Michael Cohen
 16                Does Not Prevent Arbitration Of The First Cause Of Action
 17         Clifford cannot avoid arbitration of her first cause of action against DD and EC
 18 on the basis that her second cause of action asserts a non-arbitrable claim against Mr.
 19 Cohen. “[W]hen a complaint contains both arbitrable and nonarbitrable claims, the
 20 [Federal Arbitration] Act requires courts to ‘compel arbitration of pendent arbitrable
 21 claims when one of the parties files a motion to compel, even where the result would
 22 be the possibly inefficient maintenance of separate proceedings in different forums.’”
 23 KPMG LLP v. Cocchi, 565 U.S. 18, 22 (2011), citing Dean Witter Reynolds Inc. v.
 24 Byrd, 470 U.S. 213, 217 (1985). “The Act has been interpreted to require that if a
 25 dispute presents multiple claims, some arbitrable and some not, the former must be
 26 sent to arbitration even if this will lead to piecemeal litigation.” Id. at 19.
 27         “Moreover, a plaintiff cannot avoid arbitration merely by claiming that one or
 28 more of its claims for relief is against a defendant who is not a signatory to the
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  1 agreement.” Encore Prods., Inc. v. Promise Keepers, 53 F.Supp.2d 1101, 1113 (D.
  2 Colo. 1999), citing Hilti, Inc. v. Oldach, 392 F.2d 368, 369 n. 2 (1st Cir. 1968)
  3 (“arbitration should not be foreclosed simply by adding persons to a civil action who
  4 are not parties to the arbitration agreement because such an inclusion would thwart
  5 the federal policy in favor of arbitration”); Steinberg & Lyman v. Takacs, 774
  6 F.Supp. 885, 888 (S.D.N.Y.1991) (“while [plaintiff] asserts that notions of judicial
  7 economy favor having this Court try the entire action at one time, rather than sending
  8 only two of the defendants to arbitration, such an argument does not withstand the
  9 mandate of the [FAA].”)
 10 IV.    THE COURT SHOULD STAY THIS ACTION PENDING THE
 11        OUTCOME OF THE ARBITRATION
 12        The Court should stay all proceedings with respect to the first cause of action,
 13 pending the completion of the arbitration. 9 U.S.C. § 3. Section 3 provides, in
 14 pertinent part:
 15               If any suit or proceeding be brought in any of the courts of
 16               the United States upon any issue referable to arbitration
 17               under an agreement in writing for such arbitration, the court
 18               in which such suit is pending, upon being satisfied that the
 19               issue involved in such suit or proceeding is referable to
 20               arbitration under such an agreement, shall on application of
 21               one of the parties stay the trial of the action until such
 22               arbitration has been had…
 23 V.     CONCLUSION
 24        For the foregoing reasons, the instant Motion to Compel Arbitration should be
 25 granted; Clifford should be ordered to arbitration in the currently pending arbitration
 26 between the parties with ADRS, consistent with the parties’ agreement; and the first
 27 cause of action in the FAC should be stayed pending the outcome of the arbitration.
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    1 Dated: April 2, 2018             BLAKELY LAW GROUP
    2
    3                                  By: /s/ Brent H. Blakely
                                          BRENT H. BLAKELY
    4                                     Attorneys for Defendant
    5                                     ESSENTIAL CONSULTANTS, LLC
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 7

 8                           UNITED STATES DISTRICT COURT
 9                         CENTRAL DISTRICT OF CALIFORNIA
10

11 STEPHANIE CLIFFORD a.k.a.                       CASE NO.: 2:18-cv-02217-SJO-FFM
   STORMY DANIELS a.k.a. PEGGY
12 PETERSON, an individual,
                                                   PLAINTIFF’S OPPOSITION TO
13                       Plaintiff,                DEFENDANT ESSENTIAL
14         vs.                                     CONSULTANT, LLC’S MOTION TO
                                                   COMPEL ARBITRATION
15
     DONALD J. TRUMP a.k.a. DAVID
16   DENNISON, and individual,                     Hearing Date: April 30, 2018
     ESSENTIAL CONSULTANTS, LLC, a                 Hearing Time: 10:00 a.m.
17   Delaware Limited Liability Company,           Location:     350 West 1st Street
     MICHAEL COHEN and DOES 1
18   through 10, inclusive,                                      Courtroom 10C
                                                                 Los Angeles, CA 90012
19
                         Defendants.
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 1   I.    INTRODUCTION
 2         Plaintiff Stephanie Clifford (aka Stormy Daniels) (“Plaintiff”) filed this action
 3   seeking declaratory relief confirming she is not bound by any of the terms and conditions
 4   of a settlement agreement containing a mutual release and terms of non-disclosure,
 5   including the provision of the agreement providing for arbitration (the “Settlement
 6   Agreement” or “Agreement”). Defendant Essential Consultants, LLC’s (“EC”) current
 7   motion to compel arbitration, to which defendant Donald Trump (“Mr. Trump”)
 8   “consents,” is without merit for several reasons.
 9         First, EC has no standing to bring this motion because the arbitration clause is
10   between Plaintiff and “DD.” Further, DD (presumably Mr. Trump) has not met any
11   threshold burden of demonstrating he is an actual party to the Agreement, or to the
12   arbitration clause.
13         Second, paragraph 8.6 of the Settlement Agreement states that “this Agreement,
14   when signed by all Parties, is a valid and binding agreement, enforceable in accordance
15   with its terms” (emphasis added). Mr. Trump, however, never signed the Agreement.
16   The agreement was, therefore, never formed as a matter of law. See Roth v. Garcia
17   Marquez, 942 F.2d 617, 626 (9th Cir. 1991); Banner Entertainment, Inc. v. Superior
18   Court, 62 Cal. App. 4th 348, 358 (1998). Thus, there never was an agreement to arbitrate.
19         Third, the contract was a “Settlement Agreement” to resolve potential litigation
20   between Mr. Trump and Plaintiff that required Mr. Trump to personally provide
21   consideration to Plaintiff in the form of releases, and representations and warranties
22   described as a “material inducement” to Plaintiff to enter into the Agreement. As a result,
23   Plaintiff’s signature and her receipt of funds from EC are insufficient to form a contract.
24   Without the essential consideration from Mr. Trump to Plaintiff, and further, without Mr.
25   Trump’s signature on the Agreement or any form of communicated assent to accept the
26   obligations he owed to Plaintiff, no contract could have been created.
27         Fourth, EC’s dubious attempt to argue that the use of the term “and/or” saves the
28   agreement is devoid of merit. To the contrary, courts have repudiated the use of the term
                                                 -1-
                 PLAINTIFF’S OPPOSITION TO DEFENDANT ESSENTIAL CONSULTANTS, LLC’S
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 1   as creating rampant ambiguity.        Plaintiff also submits the declaration of Professor
 2   Lawrence Solan, a leading expert in the field of linguistic analysis and the law, including
 3   in the use of the terms “and” and “or” in legal writings. Professor Solan concurs that the
 4   term “and/or” as used in the Agreement leaves it unclear as to who the parties actually are
 5   and causes too much uncertainty. Moreover, as shown below, reading the Settlement
 6   Agreement in its entirety leads to the inescapable conclusion that there can be no serious
 7   dispute that Mr. Trump was a contemplated party to the Agreement.
 8         Finally, Plaintiff demands a jury trial pursuant to 9 U.S.C. § 4 for a determination of
 9   whether the Settlement Agreement (which contains the arbitration clause EC seeks to
10   enforce) was ever formed. In addition, to meaningfully oppose this motion, Plaintiff
11   requires limited discovery, as set forth in Plaintiff’s concurrently filed Renewed Motion
12   for Expedited Discovery. Accordingly, before the Court issues a ruling on the motion, the
13   Court must first allow Plaintiff to conduct discovery and must conduct the trial.
14         For these reasons and the reasons stated below, Plaintiff respectfully requests that
15   the Court stay consideration of the motion to compel arbitration until after discovery is
16   complete and the completion of trial. In the alternative, Plaintiff requests the Court deny
17   the motion to compel arbitration in its entirety.
18   II.   STATEMENT OF FACTS
19         A.      The Settlement Agreement
20         The Settlement Agreement is attached to the Declaration of Stephanie Clifford as
21   Exhibit 1.
22         B.      Mr. Cohen Claims Mr. Trump Had Nothing to Do With the Agreement.
23         As alleged in the FAC, Mr. Cohen is an attorney licensed in the State of New York.
24   [FAC, ¶16.] Mr. Cohen worked as the “top attorney” at the Trump Organization from
25   2007 until after the election and presently serves as Mr. Trump’s personal attorney. [Id.]
26   He is also generally referred to as Mr. Trump’s “fixer.” [Id.] Mr. Cohen is also alleged to
27   have formed EC on October 17, 2016, just weeks before the 2016 presidential election and
28   11 days before he signed the Agreement. [Id., ¶18; Cohen Decl., ¶3.]
                                                  -2-
                  PLAINTIFF’S OPPOSITION TO DEFENDANT ESSENTIAL CONSULTANTS, LLC’S
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 1          On February 13, 2018, Mr. Cohen issued a statement that said in part: “In a private
 2   transaction in 2016, I used my own personal funds to facilitate a payment of $130,000 to
 3   Ms. Stephanie Clifford. Neither the Trump Organization nor the Trump campaign was a
 4   party to the transaction with Ms. Clifford, and neither reimbursed me for the payment,
 5   either directly or indirectly.” [FAC, ¶27.]
 6          On March 9, 2018, regarding the $130,000 payment, Mr. Cohen said “[t]he funds
 7   were taken from my home equity line and transferred internally to my LLC account in the
 8   same bank.” [Declaration of Michael Avenatti (“Avenatti Decl.”), Ex. 3.]
 9          In a March 19, 2018 Vanity Fair article, Mr. Cohen again suggested Mr. Trump had
10   no knowledge of the Settlement Agreement or payment. [Avenatti Decl., Ex. 4.] In it, he
11   is quoted as saying: “What I did defensively for my personal client, and my friend, is
12   what attorneys do for their high-profile clients.” [Id.] The article also states that Mr.
13   Cohen “claims that Trump did not know that he had paid Clifford the $130,000.” [Id.]
14
            C.    Mr. Trump and the White House Deny Any Involvement With the
15                Settlement Agreement.
16          White House and campaign representatives purportedly speaking on Mr. Trump’s
17   behalf, have denied that Mr. Trump had any knowledge of, or involvement with, the
18   Settlement Agreement. [See Avenatti Decl., Ex. 5.]
19          On April 5, 2018, Mr. Trump, making his first public comments regarding this
20   dispute, denied having knowledge of the $130,000 payment to Plaintiff under the
21   Settlement Agreement. [Avenatti Decl., Ex. 6.] Mr. Trump stated he did not know where
22   the money came from, denied setting up a fund from which Mr. Cohen could draw from to
23   make the payment, and directed reporters’ questions to Mr. Cohen. [Id.]
24   III.   ARGUMENT
25
            A.    Plaintiff’s Assertion that No Agreement Was Formed Is an Issue For the
26                Court to Decide.
27          EC argues that the initial question of whether an agreement exists at all is one for
28   the Court to decide, not an arbitrator. This position is devoid of merit.
                                                 -3-
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 1         “It is axiomatic that ‘[a]rbitration is a matter of contract and a party cannot be
 2   required to submit any dispute which he has not agreed so to submit.’” Sanford v.
 3   MemberWorks, Inc., 483 F.3d 956, 962 (9th Cir. 2007) (quoting AT & T Techs., Inc. v.
 4   Commc'ns Workers of Am., 475 U.S. 643, 648 (1986)). Thus, “[t]he strong public policy
 5   in favor of arbitration does not extend to those who are not parties to an arbitration
 6   agreement.” Comedy Club, Inc. v. Improv W. Assocs., 553 F.3d 1277, 1287 (9th Cir.
 7   2009) (citation omitted). For this reason, although it is true that questions “regarding
 8   the validity or enforcement of a putative contract mandating arbitration should be referred
 9   to an arbitrator,” this is not true for “challenges to the existence of a contract as a whole” -
10   which “must be determined by the court prior to ordering arbitration.” Sanford, 483
11   F.3d at 962 (emphasis added); see also Three Valleys Mun. Water Dist. v. E.F. Hutton &
12   Co., 925 F.2d 1136, 1140–41 (9th Cir. 1991). 1
13         Accordingly, challenges to the making of the arbitration agreement encompass “not
14   only challenges to the arbitration clause itself, but also challenges to the making of the
15   contract containing the arbitration clause.” Sanford, 483 F.3d at 962 (emphasis added).
16   Here, Plaintiff asserts the purported Settlement Agreement was never formed. Under
17   Sanford and the case law cited above, this is an issue that must be decided in this Court.
18         The Ninth Circuit’s recent decision in Casa del Caffe Vergnano S.P.A. v.
19   ItalFlavors, LLC, 816 F.3d 1208 (9th Cir. 2016) is instructive. There, as here, the contract
20   at issue contained an arbitration clause. Id. at 1211. The Court explained that “the
21   threshold issue” for the Court “is whether that document constituted a binding agreement
22   at all.”   Id.   “If it did not” then “it follows that the arbitration provision is not
23   enforceable.” Id. The Court concluded that because the asserted agreement “was a mere
24

25   1
     District Courts in this Circuit are in accord. See, e.g., Doherty v. Barclays Bank
   Delaware, No. 16-CV-01131-AJB-NLS, 2017 WL 588446, at *3 (S.D. Cal. Feb. 14,
26
   2017); Barraza v. Cricket Wireless LLC, No. C 15-02471 WHA, 2015 WL 6689396, at *3
27 (N.D. Cal. Nov. 3, 2015); Switch, LLC v. ixmation, Inc., No. 15-CV-01637-MEJ, 2015
   WL 4463672, at *3 (N.D. Cal. July 21, 2015) (same).
28
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                 PLAINTIFF’S OPPOSITION TO DEFENDANT ESSENTIAL CONSULTANTS, LLC’S
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 1   sham” and not enforceable, there was no agreement to arbitrate. Id. at 1214.
 2          Importantly, even though EC contends there is a presumption in favor of
 3   arbitration, where as here, “the parties contest the existence of an arbitration agreement,
 4   the presumption in favor of arbitrability does not apply.” Goldman, Sachs & Co. v. City
 5   of Reno, 747 F.3d 733, 742 (9th Cir. 2014) (emphasis in original).
 6          EC misapplies the “crux of the complaint” rule, arguing that Plaintiff’s challenges
 7   to the Settlement Agreement must be decided by the arbitrator. In doing so, EC
 8   strategically conflates Plaintiff’s challenge to the formation of the Settlement Agreement
 9   with a challenge to the validity of the Settlement Agreement.2 The Supreme Court in
10   Buckeye Check Cashing, Inc. v. Cardegna, recognized that “[t]he issue of the contract's
11   validity is different from the issue of whether any agreement between the alleged obligor
12   and obligee was ever concluded. Our opinion today addresses only the former, and does
13   not speak to the issue decided in the cases . . . which hold that it is for courts to decide
14   whether the alleged obligor ever signed the contract.” 546 U.S. 440, 444 n. 1 (2006)
15   (emphasis added). Indeed, the Supreme Court reaffirmed four years later that “where the
16   dispute at issue concerns contract formation, the dispute is generally for courts to decide.”
17   Granite Rock Co. v. Int’l Bhd. of Teamsters, 561 U.S. 287, 296 (2010).
18          B.     EC Does Not Have Standing to Compel Arbitration.
19          As a threshold matter, EC’s motion should be denied because EC has no standing to
20   compel Plaintiff to arbitrate. Simply put, the plain language of the arbitration clause
21   demonstrates there is no agreement to arbitrate between EC and Plaintiff.
22          Paragraph 5.2 of the Settlement Agreement, entitled “Dispute Resolution,” contains
23   the arbitration clause. It states, in relevant part:
24
     2
25   For this reason, this Court’s opinion in Guadagno v. E*Trade Bank, 592 F. Supp. 2d
   1263 (C.D. Cal. 2008), is quoted out of context. The Court indicated that challenges to
26
   the “validity” of the entire contract would be for the arbitrator, but made no ruling
27 suggesting that challenges to the “formation” or “existence” of a contract containing an
   arbitration clause are for the arbitrator. Id. at 1271.
28
                                                 -5-
                 PLAINTIFF’S OPPOSITION TO DEFENDANT ESSENTIAL CONSULTANTS, LLC’S
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 1                In recognition of the mutual benefits to DD and PP of a voluntary system of
                  alternative dispute resolution which involves binding confidential arbitration
 2                of all disputes which may arise between them, it is their intention and
 3                agreement that any and all claims or controversies arising between DD on
                  the one hand, and PP on the other hand, shall be resolved by binding
 4                confidential Arbitration to the greatest extent permitted by law.
 5   [Agreement, ¶5.2 (emphasis added).]
 6         Here, EC is not a party to the arbitration agreement nor is it even mentioned in the
 7   arbitration clause. “Generally, the contractual right to compel arbitration ‘may not be
 8   invoked by one who is not a party to the agreement and does not otherwise possess the
 9   right to compel arbitration.’” Kramer v. Toyota Motor Corp., 705 F.3d 1122, 1126 (9th
10   Cir. 2013)) (quoting Britton v. Co-op Banking Grp., 4 F.3d 742, 744 (9th Cir. 1993)); see
11   also Britton, 4 F.3d at 748 (non-party “lacked standing to enforce the arbitration clause.”);
12   Mundi v. Union Sec. Life Ins. Co., 555 F.3d 1042, 1045 (9th Cir. 2009). As a result, EC’s
13   motion must be denied.
14
           C.     Mr. Trump Does Not Petition to Compel Arbitration and Has Not Met
15                His Burden.
16         Because EC is the only moving party, Plaintiff cannot be compelled to arbitrate.
17   This is especially true because Mr. Trump has not filed his own motion to compel
18   arbitration. Rather, Mr. Trump, through his counsel, merely filed a “joinder” in support of
19   EC’s motion whereby he “consents.” [Dkt No. 21.] This “joinder,” however, does not
20   suffice under the record presently before the Court.
21         “A defendant seeking to compel arbitration has the burden of showing that an
22   agreement to arbitrate exists.” Guadagno v. E*Trade Bank, 592 F. Supp. 2d 1263, 1270
23   (C.D. Cal. 2008).    But Mr. Trump has failed to meet this burden.           The arbitration
24   agreement is between “DD” and “PP,” but Mr. Trump has not submitted any evidence
25   demonstrating he is DD. In addition, EC’s motion argues that Mr. Trump is not a party to
26   Settlement Agreement. [Dkt No. 20-1 at 7.] In fact, Mr. Trump’s counsel during meet
27   and confer discussions relating to this Motion refused to tell Plaintiff’s counsel whether
28   Mr. Trump is a party. [Avenatti Decl., ¶5.] This alone is dubious and remarkable.
                                                -6-
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 1         Further, by failing to sign the Agreement or otherwise communicate his consent to
 2   the Agreement, Mr. Trump failed to make himself a party to the Agreement—precluding
 3   the very existence of the Agreement to begin with. [See Agreement, ¶8.6; section III(D),
 4   infra.] Nor do EC or Mr. Trump contend that Mr. Trump should be deemed a third-party
 5   beneficiary of the Settlement Agreement. Mr. Trump, therefore, has not met his burden.
 6         Moreover, as noted, Mr. Trump did not file his own motion to compel arbitration.
 7   In fact, he merely “joins” in EC’s motion, and, far from actually “seeking” to compel
 8   arbitration, he states passively that he “consents” to arbitration (whatever that means).
 9   The Federal Arbitration Act, however, requires more than merely “consenting” to
10   arbitration; a party aggrieved by another’s failure to arbitrate under a written agreement
11   must “petition . . . for an order directing that such arbitration proceed in the manner
12   provided for in such agreement.” 9 U.S.C. § 4 (emphasis added); Duferco Steel Inc. v.
13   M/V Kalisti, 121 F.3d 321, 326 (7th Cir. 1997) (“[B]ecause neither party petitioned the
14   district court for an order compelling arbitration, Duferco's contention that § 4 required
15   the district court to compel arbitration has no force.”); cf. S.E.C. v. Daifotis, No. C 11-
16   00137 WHA, 2011 WL 3295139, at *6–7 (N.D. Cal. Aug. 1, 2011) (disallowing
17   defendant’s “me too” joining in, and incorporation of, other defendant’s brief). Under the
18   facts of this case, this distinction carries substantive import.
19         Mr. Trump, therefore, should not be permitted to engage in a “shell game” before
20   this Court. He should not be allowed to, on the one hand, invoke “plausible deniability”
21   by distancing himself from the Agreement and thereby avoid the myriad of consequences
22   of associating himself with the Agreement, while at the same time he attempts to enjoy the
23   possible benefits of that very Agreement he claims to have nothing to do with.
24
           D.     No Agreement Was Formed Because Mr. Trump Failed to Sign the
25                Agreement and Deliver the Promised Consideration to Plaintiff.
26                1.     No Agreement Exists Because Mr. Trump’s Signature Was an
27
                         Express Condition to the Formation of the Agreement.

28
           The well-settled rule in California is that “‘[i]f the evidence shows that the
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 1   signatures of other parties were required as one of the conditions of the completed
 2   agreement, it is incomplete and not binding upon those who sign until the others sign.’”
 3   Roth v. Garcia Marquez, 942 F.2d 617, 626 (9th Cir. 1991) (quoting 1 Witkin, Summary
 4   of Cal. Law, Contracts § 143 (9th ed. 1987))). Stated differently, “[w]hen it is clear, both
 5   from a provision that the proposed written contract would become operative only when
 6   signed by the parties as well as from any other evidence presented by the parties that both
 7   parties contemplated that acceptance of the contract’s terms would be signified by signing
 8   it, the failure to sign the agreement means no binding contract was created.” Banner
 9   Entertainment, Inc. v. Superior Court, 62 Cal. App. 4th 348, 358 (1998).          This rule is
10   repeatedly, and routinely, applied by the Ninth Circuit, 3 District Courts in California, 4 and
11   California appellate courts. 5
12
     3 Roth, 942 F.2d at 626–27 (agreement not binding where author’s signature was a
13
     condition precedent); PSM Holding Corp. v. Nat'l Farm Fin. Corp., 339 F. App’x 693, 695
14   (9th Cir. 2009) (where “plain terms of the agreement dictate that no contract was formed
15   because the signature lines for” various parties “were left blank[,]” holding that “none of
     the parties could be liable under its terms.”).
16   4 Ortiz v. America’s Servicing Co., No. EDCV 12-191 CAS SPX, 2012 WL 2160953, at

17   *3 (C.D. Cal. June 11, 2012) (“[W]hen it is clear that the proposed written contract would
     become operative only when signed by the parties, the failure to sign the agreement
18
     means no binding contract was created.”) (quoting Grill v. BAC Home Loans Servicing
19   LP., No. 10-CV-03057-FCD/GGH, 2011 WL 127891, at *3 (E.D. Cal. Jan. 14, 2011));
     J.B. Enterprises Int'l, L.L.C. v. Sid & Marty Krofft Pictures Corp., No. CV 02-7779 CBM
20
     (SHX), 2003 WL 21037837, at *2 (C.D. Cal. Mar. 3, 2003) (“When the parties
21   contemplate that acceptance of a contract’s terms would be signified in writing, no
     binding contract is created when the parties fail to sign the agreement.”); Los Angeles
22
     Rams Football Club v. Cannon, 185 F. Supp. 717, 721-22 (S.D. Cal. 1960) (no contract
23   based on express condition requiring Commissioner approval where he did not sign).
     5 Rebolledo v. Tilly’s, Inc., 228 Cal. App. 4th 900, 923 (2014) (modification to original
24
     employment agreement signed by employee was unenforceable because it did not, as
25   required, contain the signatures of three of the employer’s executives); Romo v. Y–3
     Holdings, Inc., 87 Cal. App. 4th 1153, 1159–60 (2001) (affirming denial of motion to
26
     compel arbitration where employee handbook containing the arbitration agreement
27   contemplated signature from the employee and employee did not sign); Khajavi v. Feather
     River Anesthesia Med. Grp., 84 Cal. App. 4th 32, 61–62 (2000) (“[W]here the parties
28   Continued on the next page
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 1             Here, the Settlement Agreement is unequivocal: “Each of the Parties represents
 2   and warrants . . . that this Agreement, when signed by all Parties, is a valid and
 3   binding agreement, enforceable in accordance with its terms.” [Agreement, ¶8.6
 4   (emphasis added).] Despite this clear requirement, neither the Settlement Agreement nor
 5   the Side Letter Agreement were signed by Mr. Trump.
 6             In fact, execution of the Settlement Agreement and Side Letter Agreement was
 7   deemed so important, it is repeatedly mentioned throughout both documents, including in
 8   paragraph 4.3.2 which contains an “express acknowledgment that DD is executing this
 9   Agreement in reliance on” certain agreements, warranties and representations. [See also
10   Agreement, ¶¶3.3 (requiring delivery of property “[c]oncurrently upon execution of this
11   Agreement . . .”), 4.3(a) (“[E]ach Party acknowledges that she/he is executing this
12   Agreement” in reliance on certain “agreements, warranties, and representations . . . made
13   by DD . . .”), p. 14 (“IN WITNESS WHEREOF, by their signatures below, the Parties
14
     Continued from the previous page

15   understood that the proposed agreement is not complete until reduced to formal writing
     and signed, no binding contract results until this is done.”); Beck v. American Health, 211
16
     Cal. App. 3d 1555, 1562 (1989) (“[W]here it is part of the understanding between the
17   parties that the terms of their contract are to be reduced to writing and signed by the
     parties, the assent to its terms must be evidenced in the manner agreed on or it does not
18
     become a binding or a completed contract.”); Duran v. Duran, 150 Cal. App. 3d 176, 180
19   (1983) (same); De Mott v. Amalgamated Meat Cutters & Butcher Workmen of N. Am.,
     157 Cal. App. 2d 13, 25 (1958) (“When an agreement is signed and handed over with the
20
     understanding that it will not be used or become operative until it is signed by another
21   who is expected to join therein, it does not become a contract until the additional signature
     has been obtained.”); Am. Aeronautics Corp. v. Grand Cent. Aircraft Co., 155 Cal. App.
22
     2d 69, 80 (1957) (“[W]hen it is a part of the understanding between the parties that the
23   terms of their contract are to be reduced to writing and signed by the parties, the assent to
     its terms must be evidenced in the manner agreed upon, or it does not become a binding or
24
     completed contract.”); Lyne v. Bonner, 129 Cal. App. 2d 743, 746 (1954) (contract signed
25   by three of four owners not binding on any of the owners); Helperin v. Guzzardi, 108 Cal.
     App. 2d 125, 128 (1951) (“When an agreement is signed and handed over with the
26
     understanding that it will not be used or become operative until it is signed by another
27   who is expected to join therein, it does not become a contract until the additional signature
     is obtained.”)
28
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 1   each have approved and executed this Agreement as of the effective date first set forth
 2   above.”); Side Letter Agreement, p. 2 (“By signing below, each of the Parties signifies
 3   their agreement to the terms hereof and each of their respective counsel signify their
 4   approval as to the form of this letter agreement.”).]
 5         The circumstances here are thus strikingly similar to Banner and Roth, and are
 6   indistinguishable from the litany of cases cited above. In short, Mr. Trump’s failure to
 7   sign the Settlement Agreement is fatal and ends the Court’s inquiry. No contract was ever
 8   formed, and hence, there is no agreement to arbitrate.
 9         EC’s reliance on Kaneko v. Okuda, 195 Cal. App. 2d 217 (1961), is unavailing.
10   Indeed, the very excerpt quoted by EC states “[i]n the absence of a showing that a
11   contract is not to be deemed complete unless signed by all parties, the parties signing may
12   be bound though others have not signed.”          Id. (emphasis added).   Here, unlike the
13   defendants in Kaneko, Plaintiff has made such a showing - Paragraph 8.6 of the
14   Agreement clearly provides that no agreement is formed unless signed by all parties.
15
                  2.     Mr. Trump Was Incapable of Consenting to a Contract Which
16                       Imposed Duties on Him That He Was Supposedly Unaware Of.
17          “[T]here is no contract until there has been a meeting of the minds on all material
18   points.” Banner, 62 Cal. App. 4th at 357–58. Consent is an essential element of a
19   contract. Cal. Civ. Code § 1550. The “failure to reach a meeting of the minds on all
20   material points prevents the formation of a contract even though the parties have orally
21   agreed upon some of the terms, or have taken some action related to the contract.”
22   Bustamante v. Intuit, Inc., 141 Cal. App. 4th 199, 215 (2006) (emphasis in original).
23   “Further, the consent of the parties to a contract must be communicated by each party to
24   the other.” Esparza v. Sand & Sea, Inc., 2 Cal. App. 5th 781, 788 (2016) (citing Cal. Civ.
25   Code §1565(3)).        Consequently, “where the parties to a ‘contract’ have not
26   mutually consented to be bound by their agreement, they have not formed a true contract.”
27   Casa del Caffe, 816 F.3d at 1212.
28         Here, the fundamental element of consent cannot exist. If Mr. Trump and Mr.
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 1   Cohen are to be believed (a matter that will have to be tested in discovery), Mr. Trump
 2   never consented to the Settlement Agreement because he never even knew about it. And
 3   further, without knowledge of the Agreement and his obligations under the Agreement, he
 4   could not have possibly communicated his consent. See Esparza, 2 Cal. App. 5th at 788.
 5   Indeed, if he knew nothing about the Agreement, Mr. Trump could not have possibly
 6   consented to provide the consideration he owed to Plaintiff.
 7         EC’s signature on the Settlement Agreement is insufficient to create a contract for
 8   several reasons. First, as argued above, the signature of all parties was an express
 9   condition of the contract. Second, nothing in the contract indicates that EC was acting as
10   Mr. Trump’s agent (nor do EC or Mr. Cohen argue that they were acting as such). EC is
11   described as a separate party to the Agreement and, more to the point, if Mr. Trump did
12   not even know about the Agreement or the payment, then no such agency could have been
13   created. Third, and perhaps most important, Mr. Trump is not a passive third-party
14   beneficiary of the Settlement Agreement. 6 To the contrary, Mr. Trump is a party who was
15   required to deliver material consideration to Plaintiff. Specifically:
16   x     As the title indicates, the contract is a “Settlement Agreement and Mutual Release”
17
           which recognizes the parties’ desire to avoid “potential litigation” and defines
           potential claims of Plaintiff and of Mr. Trump as the “PP Claims” and the “DD
18         Claims,” respectively. [Agreement, ¶¶2.2(a), 2.2(b), 2.5.]
19   x     Mr. Trump was required to release Plaintiff of liability for the “DD Claims.”
20         Specifically, paragraph 6.1 of the Agreement states in part that: “DD . . . discharges
           PP . . . from any and all claims, . . . actions and causes of actions of every kind and
21
22
     6 EC does not argue it was Mr. Trump’s agent, or that Mr. Trump is a third-party
     beneficiary, and Plaintiff would object to any such argument being introduced for the first
23
     time on Reply. Indeed, any arguments Defendants have failed to raise in their moving
     papers must be deemed waived. Estakhrian v. Obenstine, 320 F.R.D. 63, 91 (C.D. Cal.
24
     2017) (argument not raised in opening brief was waived). Further, a “third-party
     beneficiary is not a third-party obligor.” Comer v. Micor, Inc., 278 F.Supp.2d 1030, 1041
25
     (N.D. Cal. 2003) (emphasis in original) (citing Abraham Zion Corp. v. Lebow, 761 F.2d
     93, 103 (2d Cir.1985) (holding agreement could not be enforced against alleged third-
26
     party beneficiary of agreement); Motorsport Eng’g, Inc. v. Maserati SPA, 316 F.3d 26, 29
     (1st Cir. 2002) (“But the third-party beneficiary, who did not sign the contract, is not
27
     liable for either signatory's performance and has no contractual obligations to either.”)
     Here, Mr. Trump owed affirmative obligations to Plaintiff and thus was an intended party,
28
     and not a third-party beneficiary.
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 1         nature whatsoever, . . . from the beginning of time to the effective date of this
           Agreement . . .”
 2
     x     Mr. Trump’s release obligations are reinforced earlier in the Agreement: “[t]he
 3         Parties agree that the claims released include but are not limited to DD’s claims
 4         against PP” relating to disclosure of certain property to others and includes a release
           from “any harm suffered by DD therefrom.” [Agreement, ¶2.5.] This provision,
 5         along with others, is described as “essential, integral, and material terms of this
 6         Agreement.” [Agreement, ¶2.6.]
 7   x     Mr. Trump was also obligated to provide certain representations and warranties to
           Plaintiff, along with a covenant not to sue. Paragraph 4.3(a) of the Agreement is
 8
           titled “Representations & Warranties & Agreements By DD” and acknowledges
 9         “agreements, warranties and representations made by DD[.]”
10   x     Specifically, pursuant to paragraph 4.3(b) of the Agreement:
11                DD warrants and represents that, as relates to or in connection with any of
12                PP’s attempts to sell, exploit and/or disseminate the Property prior to the date
                  of this Agreement, DD and his counsel will refrain (i) from pursuing any civil
13
                  action against PP, and/or (ii) absent a direct inquiry from law enforcement,
14                from disclosing PP’s name to the authorities.
15   x     Paragraph 4.3(a) states that the paragraph 4.3(b) “agreements, warranties and
           representations are made by DD as material inducements to PP to enter into this
16
           Agreement, and each Party acknowledges that she/he is executing this Agreement
17         in reliance thereon[.]” [Agreement, ¶4.3(a) (emphasis added).]
18         In sum, the necessity of Mr. Trump’s consent to the Settlement Agreement, and his
19   express agreement to accept the obligations imposed on him, are self-evident.7           No
20   agreement, therefore, was ever formed. EC’s motion must be denied.
21                3.    EC’s Argument Regarding Adequacy of Consideration Is
22                      Irrelevant to this Motion.
23         EC contends that Plaintiff received adequate consideration under the Settlement
24   Agreement by her receipt of $130,000 for EC. EC’s argument is a red herring. The
25   relevant issue is not whether $130,000 is sufficient consideration to support a hypothetical
26   7
     Nor can Mr. Trump argue that the $130,000 payment was a communication of his
27 acceptance of his obligations under the Agreement. According to Mr. Trump, the payment
   was made by EC, not Mr. Trump. [Agreement, ¶3.0.1.1.]
28
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                PLAINTIFF’S OPPOSITION TO DEFENDANT ESSENTIAL CONSULTANTS, LLC’S
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 1   contract between Plaintiff and EC. That is not the contract Plaintiff understood she was
 2   entering into when she signed the Settlement Agreement. [Clifford Decl., ¶5.] Rather, the
 3   real question is whether Plaintiff received the consideration she actually bargained for
 4   under the Settlement Agreement—namely, the releases, representations and warranties,
 5   and covenant not to sue, from Mr. Trump. Recognizing she did not, EC asks the Court to
 6   ignore the Settlement Agreement and rewrite it to create a new contract. But Clifford
 7   cannot be bound to an entirely different contract than the one she assented to simply
 8   because she received something.
 9
           E.    The Presence of the Term “And/Or” in the Agreement in Connection
10               With the Parties Does Not Save the Agreement.
11         Under California law, “[i]t is essential not only that the parties to [a] contract exist,
12   but that it is possible to identify them.” Jackson v. Grant, 890 F.2d 118, 121 (9th Cir.
13   1989) (citing Cal. Civ. Code § 1558). Here, the Settlement Agreement is unintelligible as
14   to the intended parties to the Agreement. Thus, no valid contract was formed.
15         Paragraph 1.1 of the Settlement Agreement states, in part, the following:
16
                 This Settlement Agreement and Mutual Release . . . is made . . . by and
17               between “EC, LLC” and/or DAVID DENNISON, (DD), on the one part, and
                 PEGGY PETERSON, (PP), on the other part. (“EC, LLC,” “DD” and “PP”
18
                 are pseudonyms whose true identity will be acknowledged in a Side Letter
19               Agreement attached hereto as “EXHIBIT A”)
20         “The expression ‘and/or’ . . . has met with widespread condemnation.” Ex parte
21   Bell, 19 Cal. 2d 488, 499 (1942).8 Accordingly, the use of “and/or” gives “rise to
22

23   8See also Herbert H. Post & Co. v. Sidney Bitterman, Inc., 219 A.D.2d 214, 223, 639
     N.Y.S.2d 329 (1996) (the “use of ‘and/or’ has been roundly condemned as a ‘deliberate
24
     amphibology, susceptible of more than one interpretation and . . . a purposefully
25   ambiguous expression, useful in its self-evident equivocality.’”) (citation and quotation
     omitted); Bank Bldg. & Equip. Corp. of Am. v. Georgia State Bank, 132 Ga. App. 762,
26
     765, 209 S.E.2d 82, 84 (1974) (same); Ollilo v. Clatskanie Peoples’ Util. Dist., 170 Or.
27   173, 180, 132 P.2d 416, 419 (1942) (“Courts struggle with ‘and/or’ to determine what it
     means and generally end in bewilderment.”).
28
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 1   multiple meanings” and “it can mean either or it can mean both.” Dinkins v. Am. Nat’l
 2   Ins. Co., 92 Cal. App. 3d 222, 232 (1979), disapproved of on other grounds by Moore v.
 3   Am. United Life Ins. Co., 150 Cal. App. 3d 610 (1984). In California Shipbuilding Corp.
 4   v. Indus. Acc. Comm’n, 85 Cal. App. 2d 435, 436 (1948), for example, the Court held that
 5   the use of the words “and/or” in an order of a public commission rendered the
 6   commission’s finding and award in favor of the employee “indefinite, uncertain and
 7   unintelligible” because there was no way of determining if the finding was against the
 8   employer, the managing representative, or both. Similarly, in Main Line Pictures, Inc. v.
 9   Basinger, the Court held that a special verdict in favor of the plaintiff against “Basinger
10   and/or Mighty Wind” are “prejudicially ambiguous and require reversal” because it was
11   unclear whether the jury found that the contract at issue was breached by the actress Kim
12   Basinger, her “loan-out” corporation Mighty Wind, or both. No. B077509, 1994 WL
13   814244, at *6 (Cal. Ct. App. Sept. 22, 1994). 9
14         Plaintiff also proffers the declaration of Professor Lawrence Solan. [Declaration of
15   Lawrence Solan (“Solan Decl.”), ¶1.] Professor Solan is a leading expert in the field of
16   linguistic analysis and the law and is the author of the book The Language of Judges in
17   which he devotes a section discussing issues that arise concerning the interpretation of the
18   words “and” and “or.” [Id., ¶¶2-6.] According to Professor Solan, “and/or” leads to
19   “interpretive problems” and, as used in the Agreement, “it is not clear who the parties
20   actually are.” [Id., ¶11.] He explains that “read alone,” paragraph 1.1 “causes too much
21   uncertainty and ambiguity” and makes it “necessary to examine other provisions in the
22   Agreement.” [Id., ¶13.] He concludes these provisions taken together “strongly imply
23   that DD was intended to be understood to be a party to the Agreement.” [Id., ¶15.]
24         Here, read in isolation, the plain language of paragraph 1.1 provides no clarity on
25   who the parties are to the Settlement Agreement. By stating that the agreement is “by and
26
     9
27    District courts may rely on California unpublished decisions as “persuasive authority.”
     See CPR for Skid Row v. City of Los Angeles, 779 F.3d 1098, 1117 (9th Cir. 2015).
28
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 1   between ‘EC, LLC’ and/or DAVID DENNISON, (DD), on the one part,” the Agreement
 2   leaves open the question of whether (1) only EC, (2) only Mr. Trump, or (3) both EC and
 3   Mr. Trump are intended parties. Indeed, the Agreement does not specify that EC (or any
 4   individual party for that matter) holds the option of deciding who is a party, and who is
 5   not a party, to the Agreement. Significantly, DD and David Dennison’s signature lines
 6   and identities are not crossed out on the Settlement Agreement or Side Letter Agreement.
 7   Moreover, although the Settlement Agreement states that the true identities of “EC, LLC,”
 8   “DD,” and “PP” are revealed in the Side Letter Agreement, the Side Letter Agreement
 9   itself compounds the hopeless ambiguity of the identity of the parties because there is no
10   signature from Mr. Trump confirming that he is the “David Dennison” and “DD”
11   identified in the Settlement Agreement. Nor does the Side Letter Agreement, which
12   provides that it is “deemed part of” the Settlement Agreement by way of amendment, use
13   the term “and/or” to describe the parties. Instead, it lists all three parties while repeatedly
14   using the term “the Parties.” Importantly, Plaintiff understood at all times that Mr. Trump
15   was an intended party of the Settlement Agreement. [Clifford Decl., ¶6.]
16         In any event, paragraph 1.1 cannot be read in isolation. Rather, it is a well-
17   settled rule of contract interpretation that the “whole of a contract is to be taken together,
18   so as to give effect to every part, if reasonably practicable, each clause helping to interpret
19   the other.” Cal. Civ. Code § 1641; see also In re Captain Blythers, Inc., 311 B.R. 530,
20   536 (B.A.P. 9th Cir. 2004) (“[U]nder California law, ‘one phrase of a contract should not
21   be interpreted so as to render another phrase of the contract meaningless’”); Monterey
22   Bay Unified Air Pollution Control Dist. for People of State of California v. U.S. Dep’t of
23   Army, 176 F. Supp. 2d 979, 988 (N.D. Cal. 2001) (settlement agreement like any contract
24   “must be interpreted as a whole.”).
25         Applying this rule of contract interpretation to the Settlement Agreement, EC’s
26   attempted construction to exclude Mr. Trump as a party negates large, essential portions
27   of the Agreement and the consideration Plaintiff was to receive under the contemplated
28   agreement had it been finalized. As noted above, Mr. Trump was required to provide to
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 1   Plaintiff releases, representations and warranties, and a covenant not to sue. [Agreement,
 2   ¶¶2.2, 2.5, 2.6, 4.3(a), 4.3(b), 6.1.] Mr. Trump’s releases were among “essential, integral
 3   and material terms” of the Settlement Agreement [Agreement, ¶¶2.5-2.6], and the
 4   representations and warranties made by Mr. Trump were “material inducements” to
 5   Plaintiff to enter into the Settlement Agreement. [Agreement, ¶4.3(a) (emphasis added).]
 6   The presence of these provisions is inconsistent with the notion that Mr. Trump was not
 7   intended to be a party to the Settlement Agreement. Nothing in the Agreement suggests
 8   that this essential consideration could be supplied by EC rather than Mr. Trump.
 9         As further evidence that Mr. Trump is an intended party of the Settlement
10   Agreement, the Settlement Agreement also contemplates that Mr. Trump is a party by
11   acknowledging throughout the Agreement that he is “entering” into the Agreement.
12   [Agreement, ¶¶2.4, 4.3.2, 4.3.3.] The Agreement also grants remedies and enforcement
13   rights exclusively to Mr. Trump, including the right to seek damages, obtain injunctive
14   relief, and (as discussed above) to enforce the arbitration clause. [Id., ¶¶5.1-5.2.] None of
15   these rights are conferred upon EC. Further, all duties Plaintiff is contemplated to owe
16   under the Settlement Agreement extend only from Plaintiff to Mr. Trump. [See, e.g.,
17   Agreement, ¶¶3.1, 3.2, 3.3, 4.3.2, 4.3.6.] No obligations are owed to EC. Nor is EC
18   granted any rights or authorities to take action, or receive consideration, on behalf of Mr.
19   Trump.     In fact, EC is mentioned by name only six (6) times in the Settlement
20   Agreement, whereas Mr. Trump (i.e., “DD”) is mentioned over 130 times.
21         In sum, the only rational interpretation of the plain text of the Settlement
22   Agreement is that the Agreement could not possibly exist without Mr. Trump and that he
23   is therefore an intended party who was required to sign the Agreement for it to have been
24   finalized. At the very minimum, the Agreement is vague as to the identity of the parties.
25   For these additional reasons, no contract was formed in this case and thus, there is no
26   agreement to arbitrate. EC’s motion should be denied.
27         F.     Plaintiff’s Signature on the Settlement Agreement and Her Acceptance
                  of Funds Did Not Create a Contract.
28
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 1         EC argues that Plaintiff’s signature on the Settlement Agreement, her acceptance of
 2   the $130,000 payment, and her refraining from filing suit until March 2018 were sufficient
 3   to create a contract. EC’s contentions are without merit for several reasons.
 4         First, EC’s argument ignores the indisputable fact that the Settlement Agreement
 5   called upon Mr. Trump himself to provide additional consideration to Plaintiff above and
 6   beyond the $130,000 payment from EC. [Agreement, ¶¶2.2, 2.5, 2.6, 4.3(a), 4.3(b), 6.1.]
 7   In other words, the purpose of the Settlement Agreement was to resolve potential
 8   litigation, not simply to pay money to Plaintiff. Because Mr. Trump never completed the
 9   Agreement by providing his signature on the Agreement, no contract came into existence.
10         Second, EC ignores the express condition of the Settlement Agreement requiring
11   Mr. Trump to sign the Agreement. [See Agreement, ¶8.6.] This ends the inquiry. EC
12   cannot point to mere conduct to circumvent the plain language of the Agreement, and
13   further, cannot point to any case law where a court has cast aside an express condition
14   requiring signature even where acts of performance or conduct are shown. In fact, the
15   very same argument advanced by EC was rejected in J.B. Enterprises, 2003 WL
16   21037837. There, the letter of intent at issue explicitly stated that the obligation to
17   complete a stock purchase would only arise upon the signing of a purchase agreement.
18   The Court thus concluded that “[t]he parties never executed the Purchase Agreement and
19   they are not bound by the terms of the draft agreement. The Krofft Group may not look to
20   the parties’ conduct to imply that the Letter of Intent contains an obligation that
21   contradicts the express language of the Letter of Intent.” Id. at *3 (emphasis added); see
22   also PSM Holding, 339 F. App’x at 694 (“The extrinsic evidence regarding the parties’
23   behavior . . . cannot substitute for the parties' signatures on the agreement.”); Davison v.
24   Stephens Inst., No. A138953, 2014 WL 6654690, at *5 (Cal. Ct. App. Nov. 24, 2014) (the
25   defendant’s “mere acts of performance” of “allowing [the plaintiff] to teach and paying
26   him—cannot validate the agreements without the required signature.”)
27         Third, EC’s reliance on California Civil Code section 1589 is misplaced. Section
28   1589 states that “[a] voluntary acceptance of the benefit of a transaction is equivalent to a
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 1   consent to all the obligations arising from it, so far as the facts are known, or ought to be
 2   known, to the person accepting.”        Cal. Civ. Code § 1589 (emphasis added).          EC
 3   conveniently ignores the italicized portion of the statute. Here, Plaintiff understood that
 4   she was entering into a contract with Mr. Trump, was unaware that Mr. Trump did not
 5   sign the agreement, and had no idea that Mr. Trump would later claim that he was not a
 6   party. [Clifford Decl., ¶¶5-6.] Thus, it was not “known” to Plaintiff that Mr. Trump
 7   would take the position that he is not a party to the Settlement Agreement. That he now
 8   so claims after the fact is no different from EC and Mr. Trump attempting to introduce
 9   new terms of the Agreement that Plaintiff never consented to. See, e.g., Robinson v.
10   OnStar, LLC, No. 16-56412, 2018 WL 1323630, at *1 (9th Cir. Mar. 15, 2018) (applying
11   section 1589 and reversing district court decision dismissing complaint pursuant to
12   arbitration clause because the plaintiff cannot be deemed to have accepted additional
13   terms and conditions after activation of subscription); Knutson v. Sirius XM Radio Inc.,
14   771 F.3d 559, 566 (9th Cir. 2014); Perez v. DirecTV Grp. Holdings, LLC, 251 F. Supp. 3d
15   1328, 1340 (C.D. Cal. 2017).
16         Fourth, EC’s reliance on Plaintiff’s “subsequent conduct” is also unavailing.
17   Plaintiff’s conduct was based on the understanding that Mr. Trump was a party to the
18   Settlement Agreement, which included his obligations to provide consideration to
19   Plaintiff. Reliance on conduct to interpret a contract requires that “such acts must be
20   direct, positive, and deliberate, and must show that the acts so done were done in an
21   attempted compliance with the terms of the contract or agreement.” Barnhart Aircraft v.
22   Preston, 212 Cal. 19, 24–25 (1931). Relying on this principle, the Ninth Circuit rejected
23   the argument that conduct supported the defendant’s interpretation of a contract involving
24   music royalties where the plaintiff received statements for years, but only became aware
25   the parties were not interpreting the contract in the same manner after the statements were
26   audited. See F.B.T. Prods., LLC v. Aftermath Records, 621 F.3d 958, 966-67 (9th Cir.
27   2010); see also Evox Prods. LLC v. Kayak Software Corp., No. CV15-5053 PSG
28   (AGRX), 2017 WL 5634858, at *7 (C.D. Cal. Apr. 4, 2017) (post-contract conduct did not
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 1   support defendant’s interpretation when plaintiff was unaware of defendant’s breach).
 2         Finally, EC’s proposed handling of the Settlement Agreement is ill equipped to
 3   address a very important problem: If Plaintiff’s acceptance of the $130,000 and her
 4   signature created a binding settlement agreement exclusively between Plaintiff and EC
 5   (and not Mr. Trump or DD), what exactly are the terms of that agreement? In other
 6   words, if Mr. Trump is not a party to the agreement, then which parts, if any, of the
 7   Settlement Agreement survive?       As noted above, EC’s only role in the Settlement
 8   Agreement was payment of the $130,000. EC has no rights of enforcement. EC is not
 9   entitled to seek remedies. EC is not a party to the arbitration clause. Further, the
10   “Settlement Agreement” is to resolve potential litigation between Plaintiff and Mr. Trump,
11   not between Plaintiff and EC. Moreover, EC does not claim (nor can it claim) that it was
12   Mr. Trump’s agent, that it was authorized to provide releases, and representations and
13   warranties, on behalf of Mr. Trump, or that the Agreement was structured to make Mr.
14   Trump a beneficiary as opposed to a contracting party. 10
15
           G.     Defendants’ Position that Mr. Trump Was Not a Contemplated Party
16                Constitutes Fraud in the Execution Rendering the Agreement Void.
17         “California law distinguishes between fraud in the ‘execution’ or ‘inception’ of a
18   contract and fraud in the ‘inducement’ of a contract.” Duick v. Toyota Motor Sales,
19   U.S.A., Inc., 198 Cal. App. 4th 1316, 1320 (2011). “Fraud in the inception” as opposed to
20   fraud in the inducement, “will render a contract ‘wholly void, despite the parties’ apparent
21   assent to it, when, ‘without negligence on his part, a signer attaches his signature to a
22   paper assuming it to be a paper of a different character.’” Id. at 1321 (emphasis in
23   original). “[C]laims of fraud in the execution of the entire agreement are not arbitrable
24

25   10
     To the extent the Court finds it relevant to its analysis, Plaintiff notes that although not
   ripe for the Court on the present motion (and not raised by the pleadings in the case),
26
   Plaintiff makes no argument that she is entitled to both a judgment declaring the
27 Settlement Agreement void and retention of the $130,000 payment. Plaintiff is thus
   prepared to return the money if so ordered by the Court.
28
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                PLAINTIFF’S OPPOSITION TO DEFENDANT ESSENTIAL CONSULTANTS, LLC’S
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 1   under either state or federal law” because if “the entire contract is void ab initio because
 2   of fraud, the parties have not agreed to arbitrate any controversy.” Rosenthal v. Great W.
 3   Fin. Sec. Corp., 14 Cal. 4th 394, 416 (1996); see also DKS, Inc. v. Corp. Bus. Sols., Inc.,
 4   675 F. App’x 738, 739 (9th Cir. 2017) (affirming denial of motion to compel arbitration
 5   based on allegation that the contract was void due to fraud in the execution.).
 6         Here, Plaintiff believed, and was led to believe, that the contemplated Agreement
 7   was between herself and Mr. Trump to settle possible claims between the two of them.
 8   [Clifford Decl., ¶¶5-6.] This understanding was, as discussed above, reasonable based on
 9   the language of the document itself and the promises and consideration offered therein.
10   Indeed, the Agreement itself specifically represents that Mr. Trump makes certain
11   warranties and promises, and provides releases to Plaintiff, which would necessarily
12   imply that he is a party to the Agreement.
13         To the extent that EC now seeks to seize upon the ambiguity of the use of “and/or”
14   to allow Mr. Trump to evade association with the contemplated Settlement Agreement,
15   the Agreement was plainly drafted “in such a way as to conceal from [Plaintiff] the true
16   nature” of the document and the fact that EC either had no authority to bind Mr. Trump or
17   that Mr. Trump was not in fact releasing any potential claims against Plaintiff. Duick,
18   198 Cal. App. 4th at 1322. Consequently, a fraud was committed against Plaintiff and the
19   alleged agreement is void along with any arbitration clause contained therein. Id.
20   IV.   CONCLUSION
21         For the reasons set forth above, Plaintiff respectfully requests that the Court stay
22   consideration of EC’s Motion to Compel Arbitration (to which Mr. Trump “consents”) to
23   allow the completion of discovery and the FAA section 4 jury trial. In the alternative,
24   Plaintiff requests the Court deny EC’s motion (in which Mr. Trump joins) in its entirety.
25   Dated: April 9, 2018                   AVENATTI & ASSOCIATES, APC
26                                          By:        /s/ Michael J. Avenatti
                                                Michael J. Avenatti
27                                              Ahmed Ibrahim
                                                Attorneys for Plaintiff Stephanie Clifford
28                                              a.k.a. Stormy Daniels a.k.a. Peggy Peterson
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                        Exhibit 6
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Remarks


Remarks by President Trump in Press Gaggle en route
Washington, D.C.
Issued on: April 5, 2018



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    All News

Aboard Air Force One

En Route Washington, D.C.

4:22 P.M. EDT

THE PRESIDENT: (In progress) — very happy. Thought it was really great.

Q    How are you feeling about Scott Pruitt, Mr. President? Is he —

THE PRESIDENT: I think he’s done a fantastic job at EPA. I think he’s done an incredible job. He’s been very courageous. Hasn’t been
easy, but I think he’s done an absolutely fantastic job. I think he’ll be fine.

Q    (Inaudible.)

THE PRESIDENT: I think he’ll be fine. Yeah, I want to look at it. I haven’t seen the details, but I can tell you, at EPA he has done a
fantastic job.

Q    Are you bothered by the reports about him, sir?

THE PRESIDENT: On Scott?

Q    Yeah.

THE PRESIDENT: Who’s saying that? I have to look at it, and close. You know, I hear different versions of it. But I’ll make that
determination.

But he’s a good man. He’s done a terrific job. But I’ll take a look at it very closely.

Q    What did you think of his interview?

THE PRESIDENT: You know, I didn’t — with Ed Henry?

Q    Yes.

THE PRESIDENT: Which one? Ed Henry?

Q    Yes. With Fox.

THE PRESIDENT: It’s an interesting interview. (Laughs.)

Q    Are you thinking about switching him out for Attorney General?

THE PRESIDENT: No, no. No, Scott is doing a great job where he is.

Q    How many National Guard do you want to see at the border?

THE PRESIDENT: Anywhere from 2,000 to 4,000. We’re looking at a combination of from 2,000 to 4,000. We’re moving that along.

Q    How much do you think that’s going to cost?

THE PRESIDENT: We’re looking at it, but, I mean, I have a pretty good idea. But it depends on what we do. But we’re looking from
2,000 to 4,000. And we’ll probably keep them, or a large portion of them, until such time as we get the wall.

Did you enjoy the roundtable? A little different, right?

Q (Inaudible) — about Amazon. You’ve been tweeting a lot about that. Are you going to actually take some action to change the law
that would affect Amazon?
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THE PRESIDENT: Well, Amazon is just not on an even playing field. You know, they have a tremendous lobbying effort, in addition to
having The Washington Post, which is, as far as I’m concerned, another lobbyist. But they have a big lobbying effort. One of the biggest,
frankly. One of the biggest. And it’s — you know, what they have is a very uneven playing field. You look at the sales tax situation —
which is going to be taken up, I guess, very soon — it’s going to be a decision by the Supreme Court. So we’ll see what happens.

The Post Office is not doing well with Amazon, that I can tell you. But we’re going to see what happens. The playing field has to be level
for everybody. That’s very important.

Q   Would you like to make changes to make that level playing field?

THE PRESIDENT: Well, I’m going to study it and we’re going to take a look. We’re going to take a very serious look at that. But I want,
as long — hey, it’s very important for me. It’s got to be an even playing field for everybody.

Q   Mr. President, did you know about the $130,000 payment to Stormy Daniels?

THE PRESIDENT: No. No. What else?

Q   Then why did Michael Cohen make those if there was no truth to her allegations?

THE PRESIDENT: Well, you’ll have to ask Michael Cohen. Michael is my attorney. And you’ll have to ask Michael Cohen.

Q   Do you know where he got the money to make that payment?

THE PRESIDENT: No, I don’t know. No.

Q   Did you ever set up a fund of money that he could draw from?

Q   I’m sorry, I couldn’t hear your response earlier about Scott Pruitt. Are you still —

THE PRESIDENT: About who?

Q   About Pruitt. I was — I couldn’t hear it.

THE PRESIDENT: I think that Scott has done a fantastic job. I think he’s a fantastic person. I believe — you know, I just left — I just left
coal and energy country. They love Scott Pruitt. They feel very strongly about Scott Pruitt, and they love Scott Pruitt.

Thank you very much everybody. I’ll see you back in New York. Thank you.

END

4:26 P.M. EDT




The White House


      Live
      Jobs
      Get Involved
      Copyright Policy
      Privacy Policy

      Twitter
      Facebook
      Instagram
      Contact
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                        Exhibit 7
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                                    #:468


             Michael Cohen says he used his own home
             equity line for Stormy Daniels payment
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          COhen 'esponded later Frklay. saying that he regula,., used lis business email aco:u'lt fOf
          personal mane,s.




          "I sent emalls from the Tnrnp Org email address to rrI'I famlly,frlends as weD as Trump business
          emalls. I basically used II fOf werylhlng. I am certaIn most people can fe'fate," he said.

          Aveoatu, SpeaKIng 00 MSNBC, said Cotlen'S use of NS 0lISiless email 00 conooct this transaction
          cotdd be an Indication that he was acting In all ottIcIal capaclty as a legal counsel 10 Tnrnp
          wher1 he traflSterred the money 10 CIltfOfd.

          Whne this dewIopment brlr>gs the payment to Clltford closer to TnJmp h1mse~, 11 Is not proof thaI
          he kneW aboUt It AnJ IrM:l/Vemerlt b'f Trump would lndIcale the paymeIll was an 11l4lhd
          campaign contrlbutlOn whICh was not diSClOSed to the FecleIaI Electk::r1 OOrnn1Isslon, which
          WOUld be a VIolation oIl'ede<allaw. according to Paul $. Ryall, a campaign I'ol8nce attorney who
          works lor ConYnon         cause.
          The email does flO! say where the lunds originated fron1.

                                                               NBC News tlst repor1ed COhen's use 01 the emaB
                                                               .~,



                                                               The day after the email, Cotlen wh'ed money from FIrst
                                                               Republic Bank to Dav\dsorl's bank account according
                                                               to NBC News.

                                                               Davidson did not respond to a request lor commem
           Rclotod Article: Law film Ilandling Sl!"mv
           CIIrlO!ls case lor COhen al6G did legal wort        from CNN. First Republic Bank decllrled to corrment to
           wilh frunlll Olmpalgn                               the netWOrk.

                                                               Trump's 2017 rtnanclal dIscloslJres listed an account at
          FIrst Republic Bank. valued between $15.()()1 aod $50.000.

          COhen also regularly used that same email account to negotiate with Clifford last year before she
          signed a nondlsclosl.lre agreement N8C News reponed.

          Last month, COhen said he \Wed Q/l'ford $130,000 of hls own money light before the 2016
          eleCtIon In WlCOange lor her silenCe aboUt tile alleged affair,

          COhen said Friday that he Is In the IfOdst of a "witch h..... t" saying, "These Incessant attacks
          agaTnst me are mer1dess and are concocted b'f the liberal malnslream media to contir1ue to
          malgn our President and distract the country Irom his historIC ochlevements 0Jer the past year.
          Tl'Is witch hJnt has rlON gone from IlJClIcroos to Insane."

          He has denied the Trunp Organil:atlon·s Invotvernent ~ the payment. aOO both CotlenaOO !he
          White HOuse lliMl der1ieCI any sexual encounter beto.leen the Presldent and CllflOfd.

                                                               "In a prlvate transaction In 2016, I used rrI'I <mn
                                                               personal fi.,nds tolacllitale a payment of $130,000 to
                                                               MS. Stephanie ClJffOrd.· Cotlen salClln a statement In
                                                               February. "Nellhef the Trump Organlzation nor the
                                                               Trump campaign was a pany to the Iransactlon with
                                                               Ms. ClIfford, aOO roeIlher lelmbursed me lor the
                                                               payment, el1her directly or Indlrectly."
           Rel~ted flfti"'.: SlorRl)' DaIIIels' Ilttllney



          lI~iit~                              ..      CONGllSS     SHNRJT1      THl HIU     TRUlolfIURrc~     rOll

                                                               IRYOf" regarding the case. The statemenlls an
          admlsslon that the nondiSClOSure agreement ~ aoo that It directly I~ Trump. It was the
          1\"$t dme the White House had admitted the Presk\ent was InYolVed In any way with Clifford.


     01   Clifford fled suit agaJnst Trump 00 Tt!esday, alleging that he ne'Yef ggned a hUsh agreement


     o    regarding the aUege<! affair and therefOfe the agreement Is void.


     o    CIIN'S l1(l/I' BIItNr conlrillulad ro thi9 roporr.
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                        Exhibit 8
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93ÿ1ÿ64363#ÿ1ÿ267ÿ7147ÿ873899ÿ83ÿ313ÿ164ÿ1ÿ6443ÿ#62ÿ267ÿ#63ÿ84ÿ713ÿ6347
8ÿ68ÿ8ÿ7343$ÿR33ÿ37884ÿ14ÿG86714ÿ6343ÿ!67ÿ#63ÿ391#3ÿ26ÿ#234ÿ723ÿ78#
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                        Exhibit 9
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       Attorneys for Defendant
       DONALD J. TRUMP
   9
  10                        UNITED STATES DISTRICT COURT
  11                      CENTRAL DISTRICT OF CALIFORNIA
  12
       STEPHANIE CLIFFORD a.k.a.                  Case No. 2:18-CV-02217
  13   STORMY DANIELS a.k.a. PEGGY
                                                  JOINDER OF DEFENDANT
  14   PETERSON, an individual,
                                                  DONALD J. TRUMP
  15                                              IN MOTION TO COMPEL
                    Plaintiff,
                                                  ARBITRATION BY DEFENDANT
  16                                              ESSENTIAL CONSULTANTS, LLC
              v.
  17
                                                  Assigned for All Purposes to the
  18   DONALD J. TRUMP a.k.a. DAVID               Hon. S. James Otero
       DENNISON, an individual,
  19
       ESSENTIAL CONSULTANTS, LLC, a              Date:     April 30, 2018
  20   Delaware Limited Liability Company,        Time:     10:00 a.m.
       and DOES 1 through 10, inclusive,          Location: 350 West 1st Street
  21
                                                            Courtroom 10C, 10th Floor
  22                Defendants.                             Los Angeles, CA 90012
  23                                              Action Filed: March 6, 2018
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                        JOINDER IN MOTION TO COMPEL ARBITRATION
Case
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                                                                               #:355
                                    #:478



   1         Defendant Donald J. Trump hereby joins in defendant Essential Consultants,
   2 LLC’s (“EC”) Motion to Compel Arbitration and consents to arbitration of the claims
   3 against him and EC in this matter.
   4
   5 Dated: April 2, 2018                 HARDER LLP
   6
                                          By: /s/ Charles J. Harder
   7                                          CHARLES J. HARDER
   8                                         Attorneys for Defendant
                                             DONALD J. TRUMP
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                        JOINDER IN MOTION TO COMPEL ARBITRATION
